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                     EXHIBIT 1
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                                       Hormel Custodians’ Subpoena Responses and Objections

 Hormel           Using Same     Phone          Personal Cell Phone Used          Text Messages to Employee or               Current
 Custodian        Phone          Imaged?        For Work Purposes?                Representative of Pork Integrator          Hormel
                  Presently as                                                    about Supply and Demand Conditions         Employee?
                  During the                                                      In Pork Industry?
                  Relevant
                  Period ?

 Alan Meiergerd   No.            No.            Letter: “Used minimally for       Letter: “[D]id not communicate by text     No.
                                                work-related                      message for work related matters, using
                                                communications.”                  only his office phone or e-mail for that
                                                                                  type of communication.”
                                                Letter: “[D]id not
                                                communicate by text message
                                                for work related matters, using
                                                only his office phone or e-mail   Objections & Responses: Not aware of
                                                for that type of                  such text messages or related data.
                                                communication.”



 Albert           No.            No.            Letter: “Used minimally for       Letter: “[D]id not communicate by text     No.
 Lieberum                                       work-related                      with individuals outside of Hormel for
                                                communications.”                  work-related matters, using only his
                                                                                  office phone or work-provided e-mail
                                                Letter:        “[D]id       not   address for that type of communication.”
                                                communicate by text with
                                                individuals outside of Hormel     Objections & Responses: Not aware of
                                                for work-related matters, using   such text messages or related data.
                                                only his office phone or work-
                                                provided e-mail address for
                                                that type of communication.”

 Bryan            No.            No.            Letter: “Did not communicate      Objections & Responses: Not aware of       No.
 Farnsworth                                     by text for work-related          such text messages or related data.
                                                matters. Mr. Farnsworth used
                                                only his office phone or work-

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                                      Hormel Custodians’ Subpoena Responses and Objections

                                                provided e-mail address for
                                                that type of communication.”

                                                Letter:     “[U]sed        used
                                                minimally, if at all, for work-
                                                related communications.”

 Cory Bollum     No.            No.             Letter: “[U]sed minimally for      Letter: “[R]arely communicated by text   Yes, upon
                                                work-related                       message for work-related matters, and    information
                                                communications.”                   recalls no text communications of the    and belief.
                                                                                   nature sought by the subpoena.”
                                                Letter: “[D]oes not use any
                                                other messaging applications       Objections & Responses: Not aware
                                                for work communications.           of such text messages or related data.
                                                With the possible exception of
                                                occasional      calls     when
                                                travelling or out of the office,
                                                Mr. Bollum used only his
                                                office phone or work-provided
                                                e-mail address for that type of
                                                communication.”



 Donald          No.            No.             “Letter: Mr. Temperley’s           Letter: “Mr. Temperley rarely            Yes, upon
 Temperley                                      personal cell phone, which was     communicated by text message for         information
                                                used minimally, if at all, for     work-related matters. Such text          and belief.
                                                work-related communications .      messaging was limited to other Hormel
                                                . .”                               employees and partners. Mr. Temperley
                                                                                   recalls no text communications of the
                                                Letter: “With the possible         nature sought by the subpoena.”
                                                exception of occasional calls or
                                                checking      e-mail      when     Objections & Responses: Not aware of
                                                travelling or out of the office,   such text messages or related data.
                                                Mr. Temperley used only his
                                                office phone or work-provided


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                                      Hormel Custodians’ Subpoena Responses and Objections

                                                   e-mail address for       work
                                                   communications.”

 Eric Steinbach   No.           No.                Letter:     “Mr.    Steinbach    Letter: “Mr. Steinbach communicated          Yes, upon
                                                   communicated very little by      very little by text message for work-        information
                                                   text message for work-related    related matters, using primarily phone or    and belief.
                                                   matters, using primarily phone   e-mail for that type of communication,
                                                   or e-mail for that type of       and recalls no text communications of the
                                                   communication, and recalls no    nature sought by the subpoena.”
                                                   text communications of the
                                                   nature    sought     by    the   Objections & Responses: Not aware of
                                                   subpoena.”                       such text messages or related data.

 Glenn Leitch     No            Yes,       2021.   Letter: “Us[ed] primarily his    Letter: His personal cell phone was          No.
                                Phone that was     phone or work-provided e-        “used minimally, if at all, for work-
                                imaged is not      mail address for [work-related   related text communications.”
                                the one he         matters].”
                                currently uses.                                     Letter: “[R]arely communicated by text
                                                                                    with individuals outside of Hormel for
                                                                                    work-related matters.”

                                                                                    Objections & Responses: Not aware of
                                                                                    such text messages or related data.

 Holly LaVallie   No.           No.                Letter: “Ms. LaVallie did not    Letter: Her personal cell phone was          Yes, upon
                                                   routinely communicate by text    “used minimally, if at all, for work-        information
                                                   message for work-related         related text communications.”                and belief.
                                                   matters, using primarily phone
                                                   or e-mail for that type of       Letter: Ms. LaVallie did not routinely
                                                   communication.”                  communicate by text
                                                                                    message for work-related matters, using
                                                                                    primarily phone or e-mail for that type of
                                                                                    communication.”

                                                                                    Objections & Responses: Not aware of
                                                                                    such text messages or related data.

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custodians by their attorneys, Rock Hutchinson PLLP, in response to the subpoenas Plaintiffs served. The text in the chart following
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                                      Hormel Custodians’ Subpoena Responses and Objections

 James Fiala     No.            No.             Letter: “[U]sed minimally for      Letter: “[R]arely communicated by text     Yes, upon
                                                work-related                       message for work-related matters, using    information
                                                communications.”                   primarily his office phone or e-mail for   and belief.
                                                                                   that type of communication.”
                                                Letter:               “[R]arely
                                                communicated by text message       Objections & Responses: Objects to
                                                for work-related matters, using    request seeking text messages sent or
                                                primarily his office phone or e-   received during the Relevant Time Period
                                                mail for that type of              with an Employee or Representative of a
                                                communication.”                    Pork Integrator on the grounds that the
                                                                                   information is equally available from
                                                                                   another source that is less burdensome
                                                                                   and more appropriate under the
                                                                                   circumstances.

 James Snee      No.            Yes, 2018.      N/A                                Letter: “Mr. Snee did not engage in any    Yes, upon
                                                                                   text communications of the nature          information
                                                                                   targeted by the subpoena.”                 and belief.

                                                                                   Objections & Responses: Not aware of
                                                                                   such text messages or related data.


 Jana Haynes     No.            No.             Letter: “[U]sed minimally, if      Letter:   “Ms.     Haynes   did    not     Yes, upon
                                                at all, for work-related           communicate by text message for work-      information
                                                communications.”                   related matters, using only her office     and belief.
                                                                                   phone or e-mail for that type of
                                                Letter: “Ms. Haynes did not        communication.”
                                                communicate by text message
                                                for work-related matters, using    Objections & Responses: Not aware of
                                                only her office phone or e-mail    such text messages
                                                for      that      type      of
                                                communication.”




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custodians by their attorneys, Rock Hutchinson PLLP, in response to the subpoenas Plaintiffs served. The text in the chart following
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                                      Hormel Custodians’ Subpoena Responses and Objections

 Jeffrey Ettinger   No.         No.             N/A                               Letter: “Mr. Ettinger did not engage in   No.
                                                                                  any text communications of the nature
                                                                                  targeted by the subpoena.”

                                                                                  Objections & Responses: Not aware of
                                                                                  such text messages or related data.

 Jennifer           No.         No.             Letter: “[U]sed minimally, if     Letter: “Ms. Johnson did not              Yes, upon
 Johnson                                        at all, for work-related          communicate by text message               information
                                                communications.”                  for work-related matters, using only      and belief.
                                                                                  telephone or e-mail for that type of
                                                Letter: “Ms. Johnson did not      communication.”
                                                communicate by text message
                                                for work-related matters, using   Objections & Responses: Not aware of
                                                only telephone or e-mail for      such text messages or related data.
                                                that type of communication.”

 Jerry Adwell       No.         No.             Letter: “[Mr. Adwell] used        Letter:   “Mr.  Adwell    did    not      No.
                                                only his office phone or work-    communicate by text with individuals
                                                provided e-mail address for       outside of Hormel for work-related
                                                external              business    matters”
                                                communication.”
                                                                                  Objections & Responses: Not aware of
                                                                                  such text messages or related data.

 Jesse Hyland       No.         No.             Letter: “Used minimally for       Letter: Mr. Hyland did not                No.
                                                work-related                      communicate by text for work-related
                                                communications.”                  matters and had no communications of
                                                                                  the nature targeted by the subpoena.
                                                Letter: “Mr. Hyland used his
                                                office phone or work-provided     Objections & Responses: Not aware of
                                                e-mail address for work-          text messages or related data.
                                                related communication.”




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                                      Hormel Custodians’ Subpoena Responses and Objections

 Jessica         No.            No.                Letter: “Ms. Chenoweth did        Objections & Responses: Not aware of          Yes, upon
 Chenoweth                                         not use her personal cell         text messages or related data.                information
                                                   phone for work-related                                                          and belief.
                                                   matters during the relevant
                                                   time period, and her role at
                                                   that time did not involve
                                                   communication with
                                                   individuals outside of Hormel.
                                                   All of Ms. Chenoweth’s work-
                                                   related communication at that
                                                   time was via her office phone
                                                   or work-provided e-mail
                                                   address.”
 Jim Sheehan     No.            Yes,       2018.   N/A                               Letter: “Mr. Sheehan did not engage in        Yes, upon
                                Phone that was                                       any text communications of the nature         information
                                imaged is not                                        targeted by the subpoena.”                    and belief.
                                the phone he
                                currently uses.                                      Objections & Responses: Not aware of
                                                                                     such text messages or related data.

 Jody Feragen    No.            No.                Letter: “[Ms. Feragen] only       Letter: “Ms. Feragen did not use text         No.
                                                   used her office phone or work-    messaging of any type for any work-
                                                   issued e-mail address for         related communications.”
                                                   business communications.”
                                                                                     Objections & Responses: Does not
                                                                                     have text messages or related data.

 Jose Rojas      No.            No.                Letter: “Mr. Rojas did not        Letter: Personal cell phone was “used         Yes, upon
                                                   routinely communicate by text     minimally    for   work-related   text        information
                                                   message for work-related          communications.”                              and belief.
                                                   matters, using primarily his
                                                   office phone or e-mail for that   Letter: “Mr. Rojas did not routinely
                                                   type of communication.”           communicate by text message for work-
                                                                                     related matters, using primarily his office
                                                                                     phone or e-mail for that type of
                                                                                     communication.”

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custodians by their attorneys, Rock Hutchinson PLLP, in response to the subpoenas Plaintiffs served. The text in the chart following
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                                      Hormel Custodians’ Subpoena Responses and Objections

                                                                                   Objections & Responses: Not aware of
                                                                                   such text messages or related data.

 Lance Hoefflin   No.           No.             Letter:     “Mr.     Hoefflin’s    Letter: “Mr. Hoefflin did not                 Yes, upon
                                                personal cell phone, which was     communicate by text message for work-         information
                                                not used for work-related          related matters, and did not use his cell     and belief.
                                                communications . . .”              phone at all for work-related matters prior
                                                                                   to 2020.”
                                                Letter: “[D]id not use his cell
                                                phone at all for work-related      Letter: Mr. Hoefflin recalls no text
                                                matters prior to 2020.”            communications of the nature sought by
                                                                                   the subpoena.”
                                                Letter: “Mr. Hoefflin used
                                                only his office phone or work-     Objections & Responses: Not aware of
                                                provided e-mail address for        such text messages or related data.
                                                work communications during
                                                the relevant time period.”

 Mark Coffey      No.           No.             Letter: “Mr. Coffey did not        Letter:     “Mr.     Coffey    did     not    Yes, upon
                                                communicate by text message        communicate by text message for work-         information
                                                for work-related matters with      related matters with any contacts external    and belief.
                                                any contacts external to           to Hormel, using only his office phone or
                                                Hormel, using only his office      e-mail for that type of communication.”
                                                phone or e-mail for that type of
                                                communication.”                    Objections & Responses: Not aware of
                                                                                   such text messages or related data.

 Michael          No.           No.             Letter: “Mr. Gyarmarty’s           Letter: “Mr. Gyarmarty did not                Yes, upon
 Gyarmarty                                      personal cell phone . . . was      communicate by text message for work-         information
                                                not used for work-related          related                                       and belief.
                                                communications.”                   matters, using only his office phone or e-
                                                                                   mail for that type of communication”

                                                                                   Letter: “Mr. Gyarmarty’s personal cell
                                                                                   phone . . . was not used for work-related
                                                                                   communications.”

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                                      Hormel Custodians’ Subpoena Responses and Objections

                                                                                   Objections & Responses: Not aware of
                                                                                   such text messages or related data.

 Nathan Annis    No.            No.             Letter: “Mr. Annis did not         Letter: “Mr. Annis’s personal cell          Yes, upon
                                                communicate by text message        phone . . . was not used for work-related   information
                                                with individuals outside of        text communications external to Hormel”     and belief.
                                                Hormel     for    work-related
                                                matters, using only his office
                                                phone or e-mail for that type of
                                                communication.”



 Neal Hull       No.            No.             Letter: “[Mr. Hull’s] role did     Letter: “Mr. Hull did not communicate       Yes, upon
                                                not involve communication          by text with individuals outside of         information
                                                with industry competitors at       Hormel for work-related matters.”           and belief.
                                                all.”
                                                                                   Objections & Responses: Not aware of
                                                                                   such text messages or related data.

 Paul Bogle      No.            No.             Letter: “[U] used minimally,       Letter: “Mr. Bogle did not communicate      Yes, upon
                                                if at all, for work-related        by text with individuals outside of         information
                                                communications.”                   Hormel for work-related matters.”           and belief.

                                                Letter: “With the possible         Objections & Responses: Not aware of
                                                exception of occasional calls      such text messages or related data.
                                                when travelling or out of the
                                                office, Mr. Bogle used only his
                                                office phone or work-provided
                                                e-mail address for that type of
                                                communication.”

 Paul Peil       No.            No.             Letter: “[U]sed minimally, if      Letter: “Mr. Peil did not communicate       Yes, upon
                                                at all, for work-related           by text message for work-related matters,   information
                                                communications.”                   using only his office phone or e-mail for   and belief.
                                                                                   that type of communication”

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                                      Hormel Custodians’ Subpoena Responses and Objections

                                                   Letter: “Mr. Peil did not           Objections & Responses: Not aware of
                                                   communicate by text message         such text messages or related data.
                                                   for work-related matters, using
                                                   only his office phone or e-mail
                                                   for      that      type      of
                                                   communication.”

 Steven Binder    No.           Yes,       2018.   N/A                                 Letter: “Prior to his retirement in 2018,   No.
                                Phone that was                                         Mr. Binder rarely communicated by text
                                imaged is not                                          with individuals outside of Hormel for
                                the one he                                             work-related matters, and never engaged
                                currently uses.                                        in text communications of the nature
                                                                                       targeted by the subpoena.”

                                                                                       Objections & Responses: Not aware of
                                                                                       any text messages or related data.

 Steven Venenga   No.           No.                Letter:     “Mr.     Venenga’s      Letter: “Mr. Venenga did not                Yes, upon
                                                   personal cell phone . . . was not   communicate by text message with            information
                                                   used      for     work-related      individuals outside of Hormel for work-     and belief.
                                                   communications external to          related matters, using only his office
                                                   Hormel.”                            phone or e-mail for that type of
                                                                                       communication.”
                                                   Letter: “Mr. Venenga did not
                                                   communicate by text message         Objections & Responses: Not aware of
                                                   with individuals outside of         text messages or related data.
                                                   Hormel     for    work-related
                                                   matters, using only his office
                                                   phone or e-mail for that type of
                                                   communication.”

 Thomas Day       No.           Yes, 2018.         Letter: “Mr. Day used               “Letter: Mr. Day did not engage in any      No.
                                                   primarily his work provided e-      text communications of the nature
                                                   mail address for work-related       targeted by the subpoena.”
                                                   communications outside of
                                                   Hormel.”


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                                      Hormel Custodians’ Subpoena Responses and Objections

                                                                                   Objections & Responses: Not aware of
                                                                                   such text messages or related data.

 William Snyder   No.           No.             Letter: “[U]sed minimally for      Letter: “Prior to his retirement in 2014,   No.
                                                work-related                       Mr. Snyder did not communicate by text
                                                communications.”                   with individuals outside of Hormel for
                                                                                   work-related matters, using his work-
                                                Letter: “Prior to his retirement   provided e-mail address for that type of
                                                in 2014, Mr. Snyder did not        communication.”
                                                communicate by text with
                                                individuals outside of Hormel
                                                for work-related matters, using
                                                his work-provided e-mail           Objections & Responses: Not aware of
                                                address for that type of           such text messages or related data.
                                                communication.”




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                      EXHIBIT 2
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                                                     Canadian Pacific Plaza              John Rock, Esq.
                                                     Suite 2050                         (612) 573-3682
                                                     120 South Sixth Street         FAX (612) 330-0959
                                                     Minneapolis, MN 55402    jrock@rockhutchinson.com


May 18, 2021


 VIA U.S. MAIL and E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

      Re:      Subpoena to Jessica Chenoweth In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Jessica Chenoweth in connection with
the recently issued subpoena seeking production of data from her personal cell phone in the
above-referenced litigation. Ms. Chenoweth objects to the Subpoena for the reasons stated
herein and in the enclosed Exhibit A.

As an initial matter, Ms. Chenoweth objects to the Subpoena as imposing an unreasonable
burden on a non-party that is both personally intrusive and burdensome, particularly given
the unreasonably long time period covered by the requests. Ms. Chenoweth’s personal cell
phone contains extensive amounts of private personal information and data completely
unrelated to any matter at issue in the above-referenced litigation. Ms. Chenoweth did not
use her personal cell phone for work-related matters during the relevant time period, and
her role at that time did not involve communication with individuals outside of Hormel. All
of Ms. Chenoweth’s work-related communication at that time was via her office phone or
work-provided e-mail address. Given the other measures in place for preservation and
discovery of relevant and potentially responsive material, if any, the subpoena directed to
Ms. Chenoweth is improper and unnecessary.

In addition, Ms. Chenoweth has not been provided with a copy of any applicable Protective
Order in this matter, and objects to the production of any documents or information without
an appropriate protective order in place to adequately protect private and potentially
confidential third-party documents and information.

Ms. Chenoweth also objects generally to the definition of “Pork Integrator” as overbroad,
unduly burdensome and disproportionate to the circumstances.
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Ms. Chenoweth has been advised of the need to preserve any work-related communications
on her personal device for some time and has fully complied with that obligation to the extent
that any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation and responsive to these subpoena requests uniquely resides on Ms. Chenoweth’s
personal cell phone. The cell phone Ms. Chenoweth is currently using is not the same phone
that she had or would have been using for the majority of the relevant time period. In
addition, Ms. Chenoweth has not sent or received any text communications of the nature
sought by the subpoena and no further response should be required of her.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Ms. Chenoweth reserves the right to assert additional objections based on any
grounds revealed by any further investigation or review of potentially responsive
documents. If you would like to discuss the substance of these objections or any potential
further response, please feel free to give me a call.

                                           Sincerely,




                                           John Rock, Esq.
                                           Managing Partner


cc: Counsel of record (via email only)




                                              2
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                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
               Permit Inspection of Premises Directed to Jessica Chenoweth
                                   DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Ms. Chenoweth objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Ms.

Chenoweth objects to this request to the extent it imposes an undue burden on a non-party by

seeking “each Text Message” exchanged with the identified individuals over a ten-year period

that ended three years ago. Ms. Chenoweth further objects to this request to the extent it seeks

information equally available from another source that would be less burdensome and more

appropriate under the circumstances. Subject to and without waiving the foregoing objections,

Ms. Chenoweth is not aware of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Ms. Chenoweth objects to this request as overbroad and unduly

burdensome to the extent it seeks information not relevant to any party’s claims or defenses in

this litigation, and is disproportionate to the needs of the case. Ms. Chenoweth objects to this

request to the extent it imposes an undue burden on a non-party. Ms. Chenoweth further objects

to this request as vague and ambiguous as the phrase “about supply and demand conditions in the

Pork industry” is unclear.
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REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Ms. Chenoweth objects to this request as overbroad and unduly

burdensome to the extent it seeks information not relevant to any party’s claims or defenses in

this litigation, and is disproportionate to the needs of the case. Ms. Chenoweth objects to this

request to the extent it imposes an undue burden on a non-party. Subject to and without waiving

the foregoing objections, after conducting a reasonable investigation, Ms. Chenoweth is not

aware of any documents responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Ms. Chenoweth objects to this request as overbroad and unduly

burdensome to the extent it seeks information not relevant to any party’s claims or defenses in

this litigation. Subject to and without waiving the foregoing objections, Ms. Chenoweth will

produce documents responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Ms. Chenoweth objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Ms.

Chenoweth objects to this request to the extent it imposes an undue burden on a non-party by

seeking all archived cellphone data over an unreasonably long period of time.

REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
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OBJECTION:             Ms. Chenoweth objects to this request as overbroad and unduly

burdensome to the extent it seeks information not relevant to any party’s claims or defenses in

this litigation, and is disproportionate to the needs of the case. Ms. Chenoweth objects to this

request to the extent it imposes an undue burden on a non-party by seeking information related to

devices no longer in her possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Ms. Chenoweth objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Subject to

and without waiving the foregoing objections, after conducting a reasonable investigation, Ms.

Chenoweth responds that she is not aware of the existence of any documents responsive to this

request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 18 of 639
                                                       Canadian Pacific Plaza              John Rock, Esq.
                                                       Suite 2050                         (612) 573-3682
                                                       120 South Sixth Street         FAX (612) 330-0959
                                                       Minneapolis, MN 55402    jrock@rockhutchinson.com


May 18, 2021


 VIA U.S. MAIL and E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:     Subpoena to Paul Bogle In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Paul Bogle in connection with the
recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Bogle objects to the Subpoena for the reasons stated herein
and in the enclosed Exhibit A.

As an initial matter, Mr. Bogle objects to the Subpoena as imposing an unreasonable burden
on a non-party that is both personally intrusive and burdensome, particularly given the
unreasonably long time period covered by the requests. Mr. Bogle’s personal cell phone,
which was used minimally, if at all, for work-related communications, contains extensive
amounts of private personal information and data completely unrelated to any matter at
issue in the above-referenced litigation. Mr. Bogle did not communicate by text with
individuals outside of Hormel for work-related matters. With the possible exception of
occasional calls when travelling or out of the office, Mr. Bogle used only his office phone or
work-provided e-mail address for that type of communication. Given the other measures in
place for preservation and discovery of relevant and potentially responsive material, if any,
the subpoena directed to Mr. Bogle is improper and unnecessary.

In addition, Mr. Bogle has not been provided with a copy of any applicable Protective Order
in this matter, and objects to the production of any documents or information without an
appropriate protective order in place to adequately protect private and potentially
confidential third-party documents and information.

Mr. Bogle also objects generally to the definition of “Pork Integrator” as overbroad, unduly
burdensome and disproportionate to the circumstances.
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Mr. Bogle has been advised of the need to preserve any work-related communications on his
personal device for some time and has fully complied with that obligation to the extent that
any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation and responsive to these subpoena requests uniquely resides on Mr. Bogle’s
personal cell phone. The cell phone Mr. Bogle is currently using is not the same phone that
he had or would have been using for the majority of the relevant time period. In addition, Mr.
Bogle has previously provided his cellular service provider with a notice and request to
preserve records in the providers’ possession with respect to his personal cell phone for the
relevant time period. Given these circumstances, any responsive information is equally
obtainable from the service provider and should not require further response from Mr. Bogle
individually.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Bogle reserves the right to assert additional objections based on any grounds
revealed by any further investigation or review of potentially responsive documents. If you
would like to discuss the substance of these objections or any potential further response,
please feel free to give me a call.

                                           Sincerely,




                                           John Rock, Esq.
                                           Managing Partner


cc: Counsel of record (via email only)




                                              2
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                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                    Permit Inspection of Premises Directed to Paul Bogle
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Bogle objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Bogle objects to

this request to the extent it imposes an undue burden on a non-party by seeking “each Text

Message” exchanged with the identified individuals over a ten-year period that ended three years

ago. Mr. Bogle further objects to this request to the extent it seeks information equally available

from another source that would be less burdensome and more appropriate under the

circumstances. Subject to and without waiving the foregoing objections, Mr. Bogle is not aware

of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Bogle objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Bogle objects to this request to the extent it

imposes an undue burden on a non-party. Mr. Bogle further objects to this request as vague and

ambiguous as the phrase “about supply and demand conditions in the Pork industry” is unclear.
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REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Bogle objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Bogle objects to this request to the extent it

imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Mr. Bogle is not aware of any documents

responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Bogle objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Mr. Bogle will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Bogle objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Bogle objects to

this request to the extent it imposes an undue burden on a non-party by seeking all archived

cellphone data over an unreasonably long period of time.

REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
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OBJECTION:             Mr. Bogle objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Bogle objects to this request to the extent it

imposes an undue burden on a non-party by seeking information related to devices no longer in

his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Bogle objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Subject to and without

waiving the foregoing objections, after conducting a reasonable investigation, Mr. Bogle

responds that he is not aware of the existence of any documents responsive to this request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 23 of 639
                                                        Canadian Pacific Plaza              John Rock, Esq.
                                                        Suite 2050                         (612) 573-3682
                                                        120 South Sixth Street         FAX (612) 330-0959
                                                        Minneapolis, MN 55402    jrock@rockhutchinson.com


May 19, 2021


 VIA U.S. MAIL and E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:     Subpoena to Cory Bollum In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Cory Bollum in connection with the
recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Bollum objects to the Subpoena for the reasons stated herein
and in the enclosed Exhibit A.

As an initial matter, Mr. Bollum objects to the Subpoena as imposing an unreasonable burden
on a non-party that is both personally intrusive and burdensome, particularly given the
unreasonably long time period covered by the requests. Mr. Bollum’s personal cell phone,
which he used minimally for work-related communications, contains extensive amounts of
private personal information and data completely unrelated to any matter at issue in the
above-referenced litigation. Mr. Bollum rarely communicated by text message for work-
related matters, and recalls no text communications of the nature sought by the subpoena.
Mr. Bollum does not use any other messaging applications for work communications. With
the possible exception of occasional calls when travelling or out of the office, Mr. Bollum used
only his office phone or work-provided e-mail address for that type of communication. Given
the other measures in place for preservation and discovery of relevant and potentially
responsive material, if any, the subpoena directed to Mr. Bollum is improper and
unnecessary.

In addition, Mr. Bollum has not been provided with a copy of any applicable Protective Order
in this matter, and objects to the production of any documents or information without an
appropriate protective order in place to adequately protect private and potentially
confidential third-party documents and information.
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Mr. Bollum also objects generally to the definition of “Pork Integrator” as overbroad, unduly
burdensome and disproportionate to the circumstances.

Mr. Bollum has been advised of the need to preserve any work-related communications on
his personal device for some time and has fully complied with that obligation to the extent
that any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation and responsive to these subpoena requests uniquely resides on Mr. Bollum’s
personal cell phone. The cell phone Mr. Bollum is currently using is not the same phone that
he had or would have been using for the majority of the relevant time period. In addition, Mr.
Bollum has previously provided his cellular service provider with a notice and request to
preserve records in the providers’ possession with respect to his personal cell phone for the
relevant time period. Given these circumstances, any responsive information is equally
obtainable from the service provider and should not require further response from Mr.
Bollum individually.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Bollum reserves the right to assert additional objections based on any
grounds revealed by any further investigation or review of potentially responsive
documents. If you would like to discuss the substance of these objections or any potential
further response, please feel free to give me a call.

                                           Sincerely,




                                           John Rock, Esq.
                                           Managing Partner


cc: Counsel of record (via email only)




                                              2
      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 25 of 639




                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                Permit Inspection of Premises Directed to Corwyn Bollum
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Bollum objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Bollum objects to

this request to the extent it imposes an undue burden on a non-party by seeking “each Text

Message” exchanged with the identified individuals over a ten-year period that ended three years

ago. Mr. Bollum further objects to this request to the extent it seeks information equally

available from another source that would be less burdensome and more appropriate under the

circumstances. Subject to and without waiving the foregoing objections, Mr. Bollum is not aware

of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Bollum objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Bollum objects to this request to the extent it

imposes an undue burden on a non-party. Mr. Bollum further objects to this request as vague and

ambiguous as the phrase “about supply and demand conditions in the Pork industry” is unclear.
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REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Bollum objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Bollum objects to this request to the extent it

imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Mr. Bollum is not aware of any

documents responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Bollum objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Mr. Bollum will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Bollum objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Bollum objects to

this request to the extent it imposes an undue burden on a non-party by seeking all archived

cellphone data over an unreasonably long period of time.

REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
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OBJECTION:             Mr. Bollum objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Bollum objects to this request to the extent it

imposes an undue burden on a non-party by seeking information related to devices no longer in

his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Bollum objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Subject to and without

waiving the foregoing objections, after conducting a reasonable investigation, Mr. Bollum

responds that he is not aware of the existence of any documents responsive to this request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 28 of 639
                                                       Canadian Pacific Plaza              John Rock, Esq.
                                                       Suite 2050                         (612) 573-3682
                                                       120 South Sixth Street         FAX (612) 330-0959
                                                       Minneapolis, MN 55402    jrock@rockhutchinson.com


May 19, 2021


 VIA U.S. MAIL and E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:     Subpoena to Paul Peil In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Paul Peil in connection with the
recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Peil objects to the Subpoena for the reasons stated herein
and in the enclosed Exhibit A.

As an initial matter, Mr. Peil objects to the Subpoena as imposing an unreasonable burden
on a non-party that is both personally intrusive and burdensome, particularly given the
unreasonably long time period covered by the requests. Mr. Peil’s personal cell phone, which
was used minimally, if at all, for work-related communications, contains extensive amounts
of private personal information and data completely unrelated to any matter at issue in the
above-referenced litigation. Mr. Peil did not communicate by text message for work-related
matters, using only his office phone or e-mail for that type of communication. Given the other
measures in place for preservation and discovery of relevant and potentially responsive
material, if any, the subpoena directed to Mr. Peil is improper and unnecessary.

In addition, Mr. Peil has not been provided with a copy of any applicable Protective Order in
this matter, and objects to the production of any documents or information without an
appropriate protective order in place to adequately protect private and potentially
confidential third-party documents and information.

Mr. Peil also objects generally to the definition of “Pork Integrator” as overbroad, unduly
burdensome and disproportionate to the circumstances.

Mr. Peil has been advised of the need to preserve any work-related communications on his
personal device for some time and has fully complied with that obligation to the extent that
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 29 of 639




any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation and responsive to these subpoena requests uniquely resides on Mr. Peil’s personal
cell phone. The cell phone Mr. Peil is currently using is not the same phone that he had or
would have been using for the majority of the relevant time period. In addition, Mr. Peil has
previously provided his cellular service provider with a notice and request to preserve
records in the providers’ possession with respect to his personal cell phone for the relevant
time period. Given these circumstances, any responsive information is equally obtainable
from the service provider and should not require further response from Mr. Peil individually.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Peil reserves the right to assert additional objections based on any grounds
revealed by any further investigation or review of potentially responsive documents. If you
would like to discuss the substance of these objections or any potential further response,
please feel free to give me a call.

                                          Sincerely,




                                          John Rock, Esq.
                                          Managing Partner


cc: Counsel of record (via email only)




                                             2
      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 30 of 639




                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                    Permit Inspection of Premises Directed to Paul Peil
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Peil objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Peil objects to this

request to the extent it imposes an undue burden on a non-party by seeking “each Text Message”

exchanged with the identified individuals over a ten-year period that ended three years ago. Mr.

Peil further objects to this request to the extent it seeks information equally available from

another source that would be less burdensome and more appropriate under the circumstances.

Subject to and without waiving the foregoing objections, Mr. Peil is not aware of any documents

responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Peil objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Peil objects to this request to the extent it

imposes an undue burden on a non-party. Mr. Peil further objects to this request as vague and

ambiguous as the phrase “about supply and demand conditions in the Pork industry” is unclear.
      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 31 of 639




REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Peil objects to this request as overbroad and unduly burdensome to the

extent it seeks information not relevant to any party’s claims or defenses in this litigation, and is

disproportionate to the needs of the case. Mr. Peil objects to this request to the extent it imposes

an undue burden on a non-party. Subject to and without waiving the foregoing objections, after

conducting a reasonable investigation, Mr. Peil is not aware of any documents responsive to this

request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Peil objects to this request as overbroad and unduly burdensome to the

extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Mr. Peil will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Peil objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Peil objects to this

request to the extent it imposes an undue burden on a non-party by seeking all archived

cellphone data over an unreasonably long period of time.

REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 32 of 639




OBJECTION:             Mr. Peil objects to this request as overbroad and unduly burdensome to the

extent it seeks information not relevant to any party’s claims or defenses in this litigation, and is

disproportionate to the needs of the case. Mr. Peil objects to this request to the extent it imposes

an undue burden on a non-party by seeking information related to devices no longer in his

possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Peil objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Subject to and without

waiving the foregoing objections, after conducting a reasonable investigation, Mr. Peil responds

that he is not aware of the existence of any documents responsive to this request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 33 of 639
                                                       Canadian Pacific Plaza              John Rock, Esq.
                                                       Suite 2050                         (612) 573-3682
                                                       120 South Sixth Street         FAX (612) 330-0959
                                                       Minneapolis, MN 55402    jrock@rockhutchinson.com


June 7, 2021


 VIA U.S. MAIL and E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:     Subpoena to Donald Temperley In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Donald Temperley in connection with
the recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Temperley objects to the Subpoena for the reasons stated
herein and in the enclosed Exhibit A.

As an initial matter, Mr. Temperley objects to the Subpoena as imposing an unreasonable
burden on a non-party that is both personally intrusive and burdensome, particularly given
the unreasonably long time period covered by the requests. Mr. Temperley’s personal cell
phone, which was used minimally, if at all, for work-related communications, contains
extensive amounts of private personal information and data completely unrelated to any
matter at issue in the above-referenced litigation. Mr. Temperley rarely communicated by
text message for work-related matters. Such text messaging was limited to other Hormel
employees and partners. Mr. Temperley recalls no text communications of the nature sought
by the subpoena. With the possible exception of occasional calls or checking e-mail when
travelling or out of the office, Mr. Temperley used only his office phone or work-provided e-
mail address for work communications. Given the other measures in place for preservation
and discovery of relevant and potentially responsive material, if any, the subpoena directed
to Mr. Temperley is improper and unnecessary.

Mr. Temperley also objects generally to the definition of “Pork Integrator” as overbroad,
unduly burdensome and disproportionate to the circumstances.

Mr. Temperley has been advised of the need to preserve any work-related communications
on his personal device for some time and has fully complied with that obligation to the extent
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that any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation and responsive to these subpoena requests uniquely resides on Mr. Temperley’s
personal cell phone. The cell phone Mr. Temperley is currently using is not the same phone
that he had or would have been using for the majority of the relevant time period. In addition,
Mr. Temperley has previously provided his cellular service provider with a notice and
request to preserve records in the providers’ possession with respect to his personal cell
phone for the relevant time period. Given these circumstances, any responsive information
is equally obtainable from the service provider and should not require further response from
Mr. Temperley individually.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Temperley reserves the right to assert additional objections based on any
grounds revealed by any further investigation or review of potentially responsive
documents. If you would like to discuss the substance of these objections or any potential
further response, please feel free to give me a call.

                                           Sincerely,




                                           John Rock, Esq.
                                           Managing Partner


cc: Counsel of record (via email only)




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                                            EXHIBIT A
  Specific Objections to Subpoenas to Produce Documents, Information, or Objects or to
               Permit Inspection of Premises Directed to Donald Temperley
                                   DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Temperley objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Mr.

Temperley objects to this request to the extent it imposes an undue burden on a non-party by

seeking “each Text Message” exchanged with the identified individuals over a ten-year period

that ended three years ago. Mr. Temperley further objects to this request to the extent it seeks

information equally available for another source that would be less burdensome and more

appropriate under the circumstances. Subject to and without waiving the foregoing objections,

Mr. Temperley is not aware of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Temperley objects to this request as overbroad and unduly

burdensome to the extent it seeks information not relevant to any party’s claims or defenses in

this litigation, and is disproportionate to the needs of the case. Mr. Temperley objects to this

request to the extent it imposes an undue burden on a non-party. Mr. Temperley further objects

to this request as vague and ambiguous as the phrase “about supply and demand conditions in the

Pork industry” is unclear.
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REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Temperley objects to this request as overbroad and unduly

burdensome to the extent it seeks information not relevant to any party’s claims or defenses in

this litigation, and is disproportionate to the needs of the case. Mr. Temperley objects to this

request to the extent it imposes an undue burden on a non-party. Subject to and without waiving

the foregoing objections, after conducting a reasonable investigation, Mr. Temperley is not

aware of any documents responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Temperley objects to this request as overbroad and unduly

burdensome to the extent it seeks information not relevant to any party’s claims or defenses in

this litigation. Subject to and without waiving the foregoing objections, Mr. Temperley will

produce documents responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Temperley objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Mr.

Temperley objects to this request to the extent it imposes an undue burden on a non-party by

seeking all archived cellphone data over an unreasonably long period of time.

REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
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OBJECTION:             Mr. Temperley objects to this request as overbroad and unduly

burdensome to the extent it seeks information not relevant to any party’s claims or defenses in

this litigation, and is disproportionate to the needs of the case. Mr. Temperley objects to this

request to the extent it imposes an undue burden on a non-party by seeking information related to

devices no longer in his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Temperley objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Subject to

and without waiving the foregoing objections, after conducting a reasonable investigation, Mr.

Temperley responds that he is not aware of the existence of any documents responsive to this

request.
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                                                       Canadian Pacific Plaza              John Rock, Esq.
                                                       Suite 2050                         (612) 573-3682
                                                       120 South Sixth Street         FAX (612) 330-0959
                                                       Minneapolis, MN 55402    jrock@rockhutchinson.com


June 7, 2021


 VIA U.S. MAIL and E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:     Subpoena to Lace Hoefflin In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Lance Hoefflin in connection with the
recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Hoefflin objects to the Subpoena for the reasons stated
herein and in the enclosed Exhibit A.

As an initial matter, Mr. Hoefflin objects to the Subpoena as imposing an unreasonable
burden on a non-party that is both personally intrusive and burdensome, particularly given
the unreasonably long time period covered by the requests. Mr. Hoefflin’s personal cell
phone, which was not used for work-related communications, contains extensive amounts
of private personal information and data completely unrelated to any matter at issue in the
above-referenced litigation. Mr. Hoefflin did not communicate by text message for work-
related matters, and did not use his cell phone at all for work-related matters prior to 2020.
Mr. Hoefflin recalls no text communications of the nature sought by the subpoena. Mr.
Hoefflin used only his office phone or work-provided e-mail address for work
communications during the relevant time period. Given the other measures in place for
preservation and discovery of relevant and potentially responsive material, if any, the
subpoena directed to Mr. Hoefflin is improper and unnecessary.

Mr. Hoefflin also objects generally to the definition of “Pork Integrator” as overbroad, unduly
burdensome and disproportionate to the circumstances.

Mr. Hoefflin has been advised of the need to preserve any work-related communications on
his personal device for some time and has fully complied with that obligation to the extent
that any such communications exist. Based upon our investigation following receipt of the
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subpoena, we have no reason to believe that any information potentially relevant to the
litigation and responsive to these subpoena requests uniquely resides on Mr. Hoefflin’s
personal cell phone. The cell phone Mr. Hoefflin is currently using is not the same phone that
he had or would have been using for the majority of the relevant time period. In addition, Mr.
Hoefflin has previously provided his cellular service provider with a notice and request to
preserve records in the providers’ possession with respect to his personal cell phone for the
relevant time period. Given these circumstances, any responsive information is equally
obtainable from the service provider and should not require further response from Mr.
Hoefflin individually.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Hoefflin reserves the right to assert additional objections based on any
grounds revealed by any further investigation or review of potentially responsive
documents. If you would like to discuss the substance of these objections or any potential
further response, please feel free to give me a call.

                                           Sincerely,




                                           John Rock, Esq.
                                           Managing Partner


cc: Counsel of record (via email only)




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                                            EXHIBIT A
  Specific Objections to Subpoenas to Produce Documents, Information, or Objects or to
                Permit Inspection of Premises Directed to Lance Hoefflin
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Hoefflin objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Mr. Hoefflin

objects to this request to the extent it imposes an undue burden on a non-party by seeking “each

Text Message” exchanged with the identified individuals over a ten-year period that ended three

years ago. Mr. Hoefflin further objects to this request to the extent it seeks information equally

available for another source that would be less burdensome and more appropriate under the

circumstances. Subject to and without waiving the foregoing objections, Mr. Hoefflin is not

aware of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Hoefflin objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Hoefflin objects to this request to the extent

it imposes an undue burden on a non-party. Mr. Hoefflin further objects to this request as vague

and ambiguous as the phrase “about supply and demand conditions in the Pork industry” is

unclear.
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REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Hoefflin objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Hoefflin objects to this request to the extent

it imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Mr. Hoefflin is not aware of any

documents responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Hoefflin objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Mr. Hoefflin will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Hoefflin objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Mr. Hoefflin

objects to this request to the extent it imposes an undue burden on a non-party by seeking all

archived cellphone data over an unreasonably long period of time.

REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
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OBJECTION:             Mr. Hoefflin objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Hoefflin objects to this request to the extent

it imposes an undue burden on a non-party by seeking information related to devices no longer in

his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Hoefflin objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Subject to

and without waiving the foregoing objections, after conducting a reasonable investigation, Mr.

Hoefflin responds that he is not aware of the existence of any documents responsive to this

request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 43 of 639
                                                       Canadian Pacific Plaza              John Rock, Esq.
                                                       Suite 2050                         (612) 573-3682
                                                       120 South Sixth Street         FAX (612) 330-0959
                                                       Minneapolis, MN 55402    jrock@rockhutchinson.com


June 9, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:     Production Subpoena to Alan Meiergerd In Re Pork Antitrust Subpoena
               matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Alan Meiergerd in connection with
the recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Meiergerd objects to the Subpoena for the reasons stated
herein and in the enclosed Exhibit A.

As an initial matter, Mr. Meiergerd objects to the Subpoena as imposing an unreasonable
burden on a non-party that is both personally intrusive and inconvenient, particularly given
the unreasonably long time period covered by the requests. Mr. Meiergerd’s personal cell
phone, which was used minimally for work-related communications, contains extensive
amounts of personal information and data completely unrelated to any matter at issue in the
above-referenced litigation. Mr. Meiergerd did not communicate by text message for work-
related matters, using only his office phone or e-mail for that type of communication. Given
the other measures in place for preservation of any relevant and potentially responsive
material, the subpoena directed to Mr. Meiergerd is excessive.

Mr. Meiergerd also objects generally to the definition of “Pork Integrator” as overbroad,
unduly burdensome and disproportionate to the circumstances.

Mr. Meiergerd has been advised of the need to preserve any work-related communications
on his personal device for some time and has fully complied with that obligation to the extent
that any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation uniquely resides on Mr. Meiergerd’s personal cell phone. The cell phone Mr.
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Meiergerd is currently using is not the same phone that he had or would have been using for
the majority of the relevant time period. In addition, Mr. Meiergerd’s role at Hormel did not
involve communications with individuals outside of Hormel. Accordingly, he does not engage
in the type of communication addressed by the subpoena. Given these circumstances, no
further response should be required from Mr. Meiergerd individually.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Meiergerd reserves the right to assert additional objections based on any
grounds revealed by any further investigation or review of potentially responsive
documents. If you would like to discuss the substance of these objections or any potential
further response, please feel free to give me a call.

                                           Sincerely,




                                           John Rock, Esq.
                                           Managing Partner


cc: Counsel of record (via email only)




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                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                Permit Inspection of Premises Directed to Alan Meiergerd
                                   DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Meiergerd objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Mr.

Meiergerd objects to this request to the extent it imposes an undue burden on a non-party by

seeking “each Text Message” exchanged with the identified individuals over a ten-year period

that ended three years ago. Mr. Meiergerd further objects to this request to the extent it seeks

information equally available from another source that would be less burdensome and more

appropriate under the circumstances. Subject to and without waiving the foregoing objections,

Mr. Meiergerd is not aware of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Meiergerd objects to this request as overbroad and unduly

burdensome to the extent it seeks information not relevant to any party’s claims or defenses in

this litigation, and is disproportionate to the needs of the case. Mr. Meiergerd objects to this

request to the extent it imposes an undue burden on a non-party. Mr. Meiergerd further objects to

this request as vague and ambiguous as the phrase “about supply and demand conditions in the

Pork industry” is unclear.
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REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Meiergerd objects to this request as overbroad and unduly

burdensome to the extent it seeks information not relevant to any party’s claims or defenses in

this litigation, and is disproportionate to the needs of the case. Mr. Meiergerd objects to this

request to the extent it imposes an undue burden on a non-party. Subject to and without waiving

the foregoing objections, after conducting a reasonable investigation, Mr. Meiergerd is not aware

of any documents responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Meiergerd objects to this request as overbroad and unduly

burdensome to the extent it seeks information not relevant to any party’s claims or defenses in

this litigation. Subject to and without waiving the foregoing objections, Mr. Meiergerd will

produce documents responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Meiergerd objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Mr.

Meiergerd objects to this request to the extent it imposes an undue burden on a non-party by

seeking all archived cellphone data over an unreasonably long period of time.

REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
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OBJECTION:             Mr. Meiergerd objects to this request as overbroad and unduly

burdensome to the extent it seeks information not relevant to any party’s claims or defenses in

this litigation, and is disproportionate to the needs of the case. Mr. Meiergerd objects to this

request to the extent it imposes an undue burden on a non-party by seeking information related to

devices no longer in his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Meiergerd objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Subject to

and without waiving the foregoing objections, after conducting a reasonable investigation, Mr.

Meiergerd responds that he is not aware of the existence of any documents responsive to this

request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 48 of 639
                                                       Canadian Pacific Plaza              John Rock, Esq.
                                                       Suite 2050                         (612) 573-3682
                                                       120 South Sixth Street         FAX (612) 330-0959
                                                       Minneapolis, MN 55402    jrock@rockhutchinson.com


June 9, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:     Production Subpoena to Eric Steinbach In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Eric Steinbach in connection with the
recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Steinbach objects to the Subpoena for the reasons stated
herein and in the enclosed Exhibit A.

As an initial matter, Mr. Steinbach objects to the Subpoena as imposing an unreasonable
burden on a non-party that is both personally intrusive and inconvenient, particularly given
the unreasonably long time period covered by the requests. Mr. Steinbach’s personal cell
phone contains extensive amounts of personal information and data completely unrelated
to any matter at issue in the above-referenced litigation. Mr. Steinbach communicated very
little by text message for work-related matters, using primarily phone or e-mail for that type
of communication, and recalls no text communications of the nature sought by the subpoena.
Given the other measures in place for preservation of any relevant and potentially
responsive material, the subpoena directed to Mr. Steinbach is excessive.

Mr. Steinbach also objects generally to the definition of “Pork Integrator” as overbroad,
unduly burdensome and disproportionate to the circumstances.

Mr. Steinbach has been advised of the need to preserve any work-related communications
on his personal device for some time and has fully complied with that obligation to the extent
that any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation uniquely resides on Mr. Steinbach’s personal cell phone. The cell phone Mr.
Steinbach is currently using is not the same phone that he had or would have been using for
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the majority of the relevant time period. Given these circumstances, any responsive
information is equally obtainable from the service provider and should not require further
response from Mr. Steinbach individually.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Steinbach reserves the right to assert additional objections based on any
grounds revealed by any further investigation or review of potentially responsive
documents. If you would like to discuss the substance of these objections or any potential
further response, please feel free to give me a call.

                                           Sincerely,




                                           John Rock, Esq.
                                           Managing Partner


cc: Counsel of record (via email only)




                                             2
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                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                 Permit Inspection of Premises Directed to Eric Steinbach
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Steinbach objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Mr.

Steinbach objects to this request to the extent it imposes an undue burden on a non-party by

seeking “each Text Message” exchanged with the identified individuals over a ten-year period

that ended three years ago. Mr. Steinbach further objects to this request to the extent it seeks

information equally available from another source that would be less burdensome and more

appropriate under the circumstances. Subject to and without waiving the foregoing objections,

Mr. Steinbach is not aware of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Steinbach objects to this request as overbroad and unduly

burdensome to the extent it seeks information not relevant to any party’s claims or defenses in

this litigation, and is disproportionate to the needs of the case. Mr. Steinbach objects to this

request to the extent it imposes an undue burden on a non-party. Mr. Steinbach further objects to

this request as vague and ambiguous as the phrase “about supply and demand conditions in the

Pork industry” is unclear.
      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 51 of 639




REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Steinbach objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Steinbach objects to this request to the

extent it imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Mr. Steinbach is not aware of any

documents responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Steinbach objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Mr. Steinbach will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Steinbach objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Mr.

Steinbach objects to this request to the extent it imposes an undue burden on a non-party by

seeking all archived cellphone data over an unreasonably long period of time.

REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
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OBJECTION:             Mr. Steinbach objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Steinbach objects to this request to the

extent it imposes an undue burden on a non-party by seeking information related to devices no

longer in his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Steinbach objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Subject to

and without waiving the foregoing objections, after conducting a reasonable investigation, Mr.

Steinbach responds that he is not aware of the existence of any documents responsive to this

request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 53 of 639
                                                       Canadian Pacific Plaza              John Rock, Esq.
                                                       Suite 2050                         (612) 573-3682
                                                       120 South Sixth Street         FAX (612) 330-0959
                                                       Minneapolis, MN 55402    jrock@rockhutchinson.com


June 9, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:     Production Subpoena to Holly LaVallie In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Holly LaVallie in connection with the
recently issued subpoena seeking production of data from her personal cell phone in the
above-referenced litigation. Ms. LaVallie objects to the Subpoena for the reasons stated
herein and in the enclosed Exhibit A.

As an initial matter, Ms. LaVallie objects to the Subpoena as imposing an unreasonable
burden on a non-party that is both personally intrusive and inconvenient, particularly given
the unreasonably long time period covered by the requests. Ms. LaVallie’s personal cell
phone, which was used minimally, if at all, for work-related text communications, contains
extensive amounts of personal information and data completely unrelated to any matter at
issue in the above-referenced litigation. Ms. LaVallie did not routinely communicate by text
message for work-related matters, using primarily phone or e-mail for that type of
communication. Given the other measures in place for preservation of any relevant and
potentially responsive material, the subpoena directed to Ms. LaVallie is excessive.

Ms. LaVallie also objects generally to the definition of “Pork Integrator” as overbroad, unduly
burdensome and disproportionate to the circumstances.

Ms. LaVallie has been advised of the need to preserve any work-related communications on
her personal device for some time and has fully complied with that obligation to the extent
that any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation uniquely resides on Ms. LaVallie’s personal cell phone. The cell phone Ms. LaVallie
is currently using is not the same phone that she had or would have been using for the
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majority of the relevant time period. Given these circumstances, any responsive information
is equally obtainable from the service provider and should not require further response from
Ms. LaVallie individually.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Ms. LaVallie reserves the right to assert additional objections based on any
grounds revealed by any further investigation or review of potentially responsive
documents. If you would like to discuss the substance of these objections or any potential
further response, please feel free to give me a call.

                                           Sincerely,




                                           John Rock, Esq.
                                           Managing Partner


cc: Counsel of record (via email only)




                                             2
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                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                 Permit Inspection of Premises Directed to Holly LaVallie
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Ms. LaVallie objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Ms. LaVallie

objects to this request to the extent it imposes an undue burden on a non-party by seeking “each

Text Message” exchanged with the identified individuals over a ten-year period that ended three

years ago. Ms. LaVallie further objects to this request to the extent it seeks information equally

available from another source that would be less burdensome and more appropriate under the

circumstances. Subject to and without waiving the foregoing objections, Ms. LaVallie is not

aware of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Ms. LaVallie objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Ms. LaVallie objects to this request to the extent

it imposes an undue burden on a non-party. Ms. LaVallie further objects to this request as vague

and ambiguous as the phrase “about supply and demand conditions in the Pork industry” is
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unclear. Subject to and without waiving the foregoing objections, Ms. LaVallie is not aware of

any documents responsive to this Request.

REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Ms. LaVallie objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Ms. LaVallie objects to this request to the extent

it imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Ms. LaVallie is not aware of any

documents responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Ms. LaVallie objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Ms. LaVallie will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Ms. LaVallie objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Ms. LaVallie

objects to this request to the extent it imposes an undue burden on a non-party by seeking all

archived cellphone data over an unreasonably long period of time.
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REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
OBJECTION:             Ms. LaVallie objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Ms. LaVallie objects to this request to the extent

it imposes an undue burden on a non-party by seeking information related to devices no longer in

her possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Ms. LaVallie objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Subject to

and without waiving the foregoing objections, after conducting a reasonable investigation, Ms.

LaVallie responds that she is not aware of the existence of any documents responsive to this

request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 58 of 639
                                                      Canadian Pacific Plaza              John Rock, Esq.
                                                      Suite 2050                         (612) 573-3682
                                                      120 South Sixth Street         FAX (612) 330-0959
                                                      Minneapolis, MN 55402    jrock@rockhutchinson.com


June 9, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:     Production Subpoena to James Fiala In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent James Fiala in connection with the
recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Fiala objects to the Subpoena for the reasons stated herein
and in the enclosed Exhibit A.

As an initial matter, Mr. Fiala objects to the Subpoena as imposing an unreasonable burden
on a non-party that is both personally intrusive and inconvenient, particularly given the
unreasonably long time period covered by the requests. Mr. Fiala’s personal cell phone,
which was used minimally for work-related communications, contains extensive amounts of
personal information and data completely unrelated to any matter at issue in the above-
referenced litigation. Mr. Fiala rarely communicated by text message for work-related
matters, using primarily his office phone or e-mail for that type of communication. Given the
other measures in place for preservation of any relevant and potentially responsive material,
the subpoena directed to Mr. Fiala is excessive.

Mr. Fiala also objects generally to the definition of “Pork Integrator” as overbroad, unduly
burdensome and disproportionate to the circumstances.

Mr. Fiala has been advised of the need to preserve any work-related communications on his
personal device for some time and has fully complied with that obligation to the extent that
any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation uniquely resides on Mr. Fiala’s personal cell phone. The cell phone Mr. Fiala is
currently using is not the same phone that he had or would have been using for the majority
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of the relevant time period. Given these circumstances, any responsive information is equally
obtainable from the service provider and should not require further response from Mr. Fiala
individually.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Fiala reserves the right to assert additional objections based on any grounds
revealed by any further investigation or review of potentially responsive documents. If you
would like to discuss the substance of these objections or any potential further response,
please feel free to give me a call.

                                          Sincerely,




                                          John Rock, Esq.
                                          Managing Partner


cc: Counsel of record (via email only)




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                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                   Permit Inspection of Premises Directed to James Fiala
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Fiala objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Fiala objects to

this request to the extent it imposes an undue burden on a non-party by seeking “each Text

Message” exchanged with the identified individuals over a ten-year period that ended three years

ago. Mr. Fiala further objects to this request to the extent it seeks information equally available

from another source that would be less burdensome and more appropriate under the

circumstances.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Fiala objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Fiala objects to this request to the extent it

imposes an undue burden on a non-party. Mr. Fiala further objects to this request as vague and

ambiguous as the phrase “about supply and demand conditions in the Pork industry” is unclear.

REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 61 of 639




OBJECTION:             Mr. Fiala objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Fiala objects to this request to the extent it

imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Mr. Fiala is not aware of any documents

responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Fiala objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Mr. Fiala will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Fiala objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Fiala objects to

this request to the extent it imposes an undue burden on a non-party by seeking all archived

cellphone data over an unreasonably long period of time.

REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
OBJECTION:             Mr. Fiala objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Fiala objects to this request to the extent it
      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 62 of 639




imposes an undue burden on a non-party by seeking information related to devices no longer in

his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Fiala objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Subject to and without

waiving the foregoing objections, after conducting a reasonable investigation, Mr. Fiala responds

that he is not aware of the existence of any documents responsive to this request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 63 of 639
                                                      Canadian Pacific Plaza              John Rock, Esq.
                                                      Suite 2050                         (612) 573-3682
                                                      120 South Sixth Street         FAX (612) 330-0959
                                                      Minneapolis, MN 55402    jrock@rockhutchinson.com


June 9, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:     Production Subpoena to Jana Haynes In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Jana Haynes in connection with the
recently issued subpoena seeking production of data from her personal cell phone in the
above-referenced litigation. Ms. Haynes objects to the Subpoena for the reasons stated
herein and in the enclosed Exhibit A.

As an initial matter, Ms. Haynes objects to the Subpoena as imposing an unreasonable burden
on a non-party that is both personally intrusive and inconvenient, particularly given the
unreasonably long time period covered by the requests. Ms. Haynes’s personal cell phone,
which was used minimally, if at all, for work-related communications, contains extensive
amounts of personal information and data completely unrelated to any matter at issue in the
above-referenced litigation. Ms. Haynes did not communicate by text message for work-
related matters, using only her office phone or e-mail for that type of communication. Given
the other measures in place for preservation of any relevant and potentially responsive
material, the subpoena directed to Ms. Haynes is excessive.

Ms. Haynes also objects generally to the definition of “Pork Integrator” as overbroad, unduly
burdensome and disproportionate to the circumstances.

Ms. Haynes has been advised of the need to preserve any work-related communications on
her personal device for some time and has fully complied with that obligation to the extent
that any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation uniquely resides on Ms. Haynes’s personal cell phone. The cell phone Ms. Haynes is
currently using is not the same phone that she had or would have been using for the majority
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 64 of 639




of the relevant time period. Given these circumstances, any responsive information is equally
obtainable from the service provider and should not require further response from Ms.
Haynes individually.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Ms. Haynes reserves the right to assert additional objections based on any
grounds revealed by any further investigation or review of potentially responsive
documents. If you would like to discuss the substance of these objections or any potential
further response, please feel free to give me a call.

                                           Sincerely,




                                           John Rock, Esq.
                                           Managing Partner


cc: Counsel of record (via email only)




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      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 65 of 639




                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                  Permit Inspection of Premises Directed to Jana Haynes
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Ms. Haynes objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Ms. Haynes

objects to this request to the extent it imposes an undue burden on a non-party by seeking “each

Text Message” exchanged with the identified individuals over a ten-year period that ended three

years ago. Ms. Haynes further objects to this request to the extent it seeks information equally

available from another source that would be less burdensome and more appropriate under the

circumstances. Subject to and without waiving the foregoing objections, Ms. Haynes is not aware

of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Ms. Haynes objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Ms. Haynes objects to this request to the extent it

imposes an undue burden on a non-party. Ms. Haynes further objects to this request as vague and

ambiguous as the phrase “about supply and demand conditions in the Pork industry” is unclear.
      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 66 of 639




REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Ms. Haynes objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Ms. Haynes objects to this request to the extent it

imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Ms. Haynes is not aware of any

documents responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Ms. Haynes objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Ms. Haynes will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Ms. Haynes objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Ms. Haynes

objects to this request to the extent it imposes an undue burden on a non-party by seeking all

archived cellphone data over an unreasonably long period of time.

REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 67 of 639




OBJECTION:             Ms. Haynes objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Ms. Haynes objects to this request to the extent it

imposes an undue burden on a non-party by seeking information related to devices no longer in

her possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Ms. Haynes objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Subject to

and without waiving the foregoing objections, after conducting a reasonable investigation, Ms.

Haynes responds that she is not aware of the existence of any documents responsive to this

request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 68 of 639
                                                       Canadian Pacific Plaza              John Rock, Esq.
                                                       Suite 2050                         (612) 573-3682
                                                       120 South Sixth Street         FAX (612) 330-0959
                                                       Minneapolis, MN 55402    jrock@rockhutchinson.com


June 9, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:     Production Subpoena to Jennifer Johnson In Re Pork Antitrust Subpoena
               matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Jennifer Johnson in connection with
the recently issued subpoena seeking production of data from her personal cell phone in the
above-referenced litigation. Ms. Johnson objects to the Subpoena for the reasons stated
herein and in the enclosed Exhibit A.

As an initial matter, Ms. Johnson objects to the Subpoena as imposing an unreasonable
burden on a non-party that is both personally intrusive and inconvenient, particularly given
the unreasonably long time period covered by the requests. Ms. Johnson’s personal cell
phone, which was used minimally, if at all, for work-related communications, contains
extensive amounts of personal information and data completely unrelated to any matter at
issue in the above-referenced litigation. Ms. Johnson did not communicate by text message
for work-related matters, using only telephone or e-mail for that type of communication.
Given the other measures in place for preservation of any relevant and potentially
responsive material, the subpoena directed to Ms. Johnson is excessive.

Ms. Johnson also objects generally to the definition of “Pork Integrator” as overbroad, unduly
burdensome and disproportionate to the circumstances.

Ms. Johnson has been advised of the need to preserve any work-related communications on
her personal device for some time and has fully complied with that obligation to the extent
that any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation uniquely resides on Ms. Johnson’s personal cell phone. The cell phone Ms. Johnson
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 69 of 639




is currently using is not the same phone that she had or would have been using during the
relevant time period. Given these circumstances, any responsive information is equally
obtainable from the service provider and should not require further response from Ms.
Johnson individually.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Ms. Johnson reserves the right to assert additional objections based on any
grounds revealed by any further investigation or review of potentially responsive
documents. If you would like to discuss the substance of these objections or any potential
further response, please feel free to give me a call.

                                          Sincerely,




                                          John Rock, Esq.
                                          Managing Partner


cc: Counsel of record (via email only)




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      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 70 of 639




                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                Permit Inspection of Premises Directed to Jennifer Johnson
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Ms. Johnson objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Ms. Johnson

objects to this request to the extent it imposes an undue burden on a non-party by seeking “each

Text Message” exchanged with the identified individuals over a ten-year period that ended three

years ago. Ms. Johnson further objects to this request to the extent it seeks information equally

available from another source that would be less burdensome and more appropriate under the

circumstances. Subject to and without waiving the foregoing objections, Ms. Johnson is not

aware of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Ms. Johnson objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Ms. Johnson objects to this request to the extent

it imposes an undue burden on a non-party. Ms. Johnson further objects to this request as vague

and ambiguous as the phrase “about supply and demand conditions in the Pork industry” is
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unclear. Subject to and without waiving the foregoing objections, Ms. Johnson has no documents

responsive to this Request.

REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Ms. Johnson objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Ms. Johnson objects to this request to the extent

it imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Ms. Johnson is not aware of any

documents responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Ms. Johnson objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Ms. Johnson will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Ms. Johnson objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Ms. Johnson

objects to this request to the extent it imposes an undue burden on a non-party by seeking all

archived cellphone data over an unreasonably long period of time.
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REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
OBJECTION:             Ms. Johnson objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Ms. Johnson objects to this request to the extent

it imposes an undue burden on a non-party by seeking information related to devices no longer in

her possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Ms. Johnson objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Subject to

and without waiving the foregoing objections, after conducting a reasonable investigation, Ms.

Johnson responds that she is not aware of the existence of any documents responsive to this

request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 73 of 639
                                                      Canadian Pacific Plaza              John Rock, Esq.
                                                      Suite 2050                         (612) 573-3682
                                                      120 South Sixth Street         FAX (612) 330-0959
                                                      Minneapolis, MN 55402    jrock@rockhutchinson.com


June 9, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:     Production Subpoena to Jose Rojas In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Jose Rojas in connection with the
recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Rojas objects to the Subpoena for the reasons stated herein
and in the enclosed Exhibit A.

As an initial matter, Mr. Rojas objects to the Subpoena as imposing an unreasonable burden
on a non-party that is both personally intrusive and inconvenient, particularly given the
unreasonably long time period covered by the requests. Mr. Rojas’s personal cell phone,
which was used minimally for work-related text communications, contains extensive
amounts of personal information and data completely unrelated to any matter at issue in the
above-referenced litigation. Mr. Rojas did not routinely communicate by text message for
work-related matters, using primarily his office phone or e-mail for that type of
communication. Given the other measures in place for preservation of any relevant and
potentially responsive material, the subpoena directed to Mr. Rojas is excessive.

Mr. Rojas also objects generally to the definition of “Pork Integrator” as overbroad, unduly
burdensome and disproportionate to the circumstances.

Mr. Rojas has been advised of the need to preserve any work-related communications on his
personal device for some time and has fully complied with that obligation to the extent that
any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation uniquely resides on Mr. Rojas’s personal cell phone. The cell phone Mr. Rojas is
currently using is not the same phone that he had or would have been using for the majority
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of the relevant time period. In addition, Mr. Rojas has previously provided his cellular service
provider with a notice and request to preserve records in the providers’ possession with
respect to his personal cell phone for the relevant time period. Given these circumstances,
any responsive information is equally obtainable from the service provider and should not
require further response from Mr. Rojas individually.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Rojas reserves the right to assert additional objections based on any grounds
revealed by any further investigation or review of potentially responsive documents. If you
would like to discuss the substance of these objections or any potential further response,
please feel free to give me a call.

                                            Sincerely,




                                            John Rock, Esq.
                                            Managing Partner


cc: Counsel of record (via email only)




                                               2
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                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                    Permit Inspection of Premises Directed to Jose Rojas
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Rojas objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Rojas objects to

this request to the extent it imposes an undue burden on a non-party by seeking “each Text

Message” exchanged with the identified individuals over a ten-year period that ended three years

ago. Mr. Rojas further objects to this request to the extent it seeks information equally available

from another source that would be less burdensome and more appropriate under the

circumstances. Subject to and without waiving the foregoing objections, Mr. Rojas is not aware

of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Rojas objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Rojas objects to this request to the extent it

imposes an undue burden on a non-party. Mr. Rojas further objects to this request as vague and

ambiguous as the phrase “about supply and demand conditions in the Pork industry” is unclear.
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REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Rojas objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Rojas objects to this request to the extent it

imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Mr. Rojas is not aware of any documents

responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Rojas objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Mr. Rojas will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Rojas objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Rojas objects to

this request to the extent it imposes an undue burden on a non-party by seeking all archived

cellphone data over an unreasonably long period of time.

REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
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OBJECTION:             Mr. Rojas objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Rojas objects to this request to the extent it

imposes an undue burden on a non-party by seeking information related to devices no longer in

his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Rojas objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Subject to and without

waiving the foregoing objections, after conducting a reasonable investigation, Mr. Rojas

responds that he is not aware of the existence of any documents responsive to this request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 78 of 639
                                                      Canadian Pacific Plaza              John Rock, Esq.
                                                      Suite 2050                         (612) 573-3682
                                                      120 South Sixth Street         FAX (612) 330-0959
                                                      Minneapolis, MN 55402    jrock@rockhutchinson.com


June 9, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:     Production Subpoena to Mark Coffey In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Mark Coffey in connection with the
recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Coffey objects to the Subpoena for the reasons stated herein
and in the enclosed Exhibit A.

As an initial matter, Mr. Coffey objects to the Subpoena as imposing an unreasonable burden
on a non-party that is both personally intrusive and inconvenient, particularly given the
unreasonably long time period covered by the requests. Mr. Coffey’s personal cell phone
contains extensive amounts of personal information and data completely unrelated to any
matter at issue in the above-referenced litigation. Mr. Coffey did not communicate by text
message for work-related matters with any contacts external to Hormel, using only his office
phone or e-mail for that type of communication. Given the other measures in place for
preservation of any relevant and potentially responsive material, the subpoena directed to
Mr. Coffey is excessive.

Mr. Coffey also objects generally to the definition of “Pork Integrator” as overbroad, unduly
burdensome and disproportionate to the circumstances.

Mr. Coffey has been advised of the need to preserve any work-related communications on
his personal device for some time and has fully complied with that obligation to the extent
that any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation uniquely resides on Mr. Coffey’s personal cell phone. The cell phone Mr. Coffey is
currently using is not the same phone that he had or would have been using for the majority
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of the relevant time period. Given these circumstances, any responsive information is equally
obtainable from the service provider and should not require further response from Mr.
Coffey individually.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Coffey reserves the right to assert additional objections based on any grounds
revealed by any further investigation or review of potentially responsive documents. If you
would like to discuss the substance of these objections or any potential further response,
please feel free to give me a call.

                                          Sincerely,




                                          John Rock, Esq.
                                          Managing Partner


cc: Counsel of record (via email only)




                                             2
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                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                  Permit Inspection of Premises Directed to Mark Coffey
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Coffey objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Coffey objects to

this request to the extent it imposes an undue burden on a non-party by seeking “each Text

Message” exchanged with the identified individuals over a ten-year period that ended three years

ago. Mr. Coffey further objects to this request to the extent it seeks information equally available

from another source that would be less burdensome and more appropriate under the

circumstances. Subject to and without waiving the foregoing objections, Mr. Coffey is not aware

of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Coffey objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Coffey objects to this request to the extent it

imposes an undue burden on a non-party. Mr. Coffey further objects to this request as vague and

ambiguous as the phrase “about supply and demand conditions in the Pork industry” is unclear.
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REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Coffey objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Coffey objects to this request to the extent it

imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Mr. Coffey is not aware of any

documents responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Coffey objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Mr. Coffey will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Coffey objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Coffey objects to

this request to the extent it imposes an undue burden on a non-party by seeking all archived

cellphone data over an unreasonably long period of time.

REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
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OBJECTION:             Mr. Coffey objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Coffey objects to this request to the extent it

imposes an undue burden on a non-party by seeking information related to devices no longer in

his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Coffey objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Subject to and without

waiving the foregoing objections, after conducting a reasonable investigation, Mr. Coffey

responds that he is not aware of the existence of any documents responsive to this request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 83 of 639
                                                       Canadian Pacific Plaza              John Rock, Esq.
                                                       Suite 2050                         (612) 573-3682
                                                       120 South Sixth Street         FAX (612) 330-0959
                                                       Minneapolis, MN 55402    jrock@rockhutchinson.com


June 9, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:     Production Subpoena to Michael Gyarmaty In Re Pork Antitrust Subpoena
               matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Michael Gyarmaty in connection with
the recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Gyarmaty objects to the Subpoena for the reasons stated
herein and in the enclosed Exhibit A.

As an initial matter, Mr. Gyarmaty objects to the Subpoena as imposing an unreasonable
burden on a non-party that is both personally intrusive and inconvenient, particularly given
the unreasonably long time period covered by the requests. Mr. Gyarmaty’s personal cell
phone, which was not used for work-related text communications, contains extensive
amounts of personal information and data completely unrelated to any matter at issue in the
above-referenced litigation. Mr. Gyarmaty did not communicate by text message for work-
related matters, using only his office phone or e-mail for that type of communication. Given
the other measures in place for preservation of any relevant and potentially responsive
material, the subpoena directed to Mr. Gyarmaty is excessive.

Mr. Gyarmaty also objects generally to the definition of “Pork Integrator” as overbroad,
unduly burdensome and disproportionate to the circumstances.

Mr. Gyarmaty has been advised of the need to preserve any work-related communications
on his personal device for some time and has fully complied with that obligation to the extent
that any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation uniquely resides on Mr. Gyarmaty’s personal cell phone. The cell phone Mr.
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Gyarmaty is currently using is not the same phone that he had or would have been using for
the majority of the relevant time period. Given these circumstances, any responsive
information is equally obtainable from the service provider and should not require further
response from Mr. Gyarmaty individually.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Gyarmaty reserves the right to assert additional objections based on any
grounds revealed by any further investigation or review of potentially responsive
documents. If you would like to discuss the substance of these objections or any potential
further response, please feel free to give me a call.

                                           Sincerely,




                                           John Rock, Esq.
                                           Managing Partner


cc: Counsel of record (via email only)




                                             2
      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 85 of 639




                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
               Permit Inspection of Premises Directed to Michael Gyarmaty
                                   DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Gyarmaty objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Mr.

Gyarmaty objects to this request to the extent it imposes an undue burden on a non-party by

seeking “each Text Message” exchanged with the identified individuals over a ten-year period

that ended three years ago. Mr. Gyarmaty further objects to this request to the extent it seeks

information equally available from another source that would be less burdensome and more

appropriate under the circumstances. Subject to and without waiving the foregoing objections,

Mr. Gyarmaty is not aware of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Gyarmaty objects to this request as overbroad and unduly

burdensome to the extent it seeks information not relevant to any party’s claims or defenses in

this litigation, and is disproportionate to the needs of the case. Mr. Gyarmaty objects to this

request to the extent it imposes an undue burden on a non-party. Mr. Gyarmaty further objects to

this request as vague and ambiguous as the phrase “about supply and demand conditions in the

Pork industry” is unclear.
      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 86 of 639




REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Gyarmaty objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Gyarmaty objects to this request to the

extent it imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Mr. Gyarmaty is not aware of any

documents responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Gyarmaty objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Mr. Gyarmaty will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Gyarmaty objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Mr.

Gyarmaty objects to this request to the extent it imposes an undue burden on a non-party by

seeking all archived cellphone data over an unreasonably long period of time.

REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 87 of 639




OBJECTION:             Mr. Gyarmaty objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Gyarmaty objects to this request to the

extent it imposes an undue burden on a non-party by seeking information related to devices no

longer in his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Gyarmaty objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Subject to

and without waiving the foregoing objections, after conducting a reasonable investigation, Mr.

Gyarmaty responds that he is not aware of the existence of any documents responsive to this

request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 88 of 639
                                                      Canadian Pacific Plaza              John Rock, Esq.
                                                      Suite 2050                         (612) 573-3682
                                                      120 South Sixth Street         FAX (612) 330-0959
                                                      Minneapolis, MN 55402    jrock@rockhutchinson.com


June 9, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:     Production Subpoena to Nathan Annis In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Nathan Annis in connection with the
recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Annis objects to the Subpoena for the reasons stated herein
and in the enclosed Exhibit A.

As an initial matter, Mr. Annis objects to the Subpoena as imposing an unreasonable burden
on a non-party that is both personally intrusive and inconvenient, particularly given the
unreasonably long time period covered by the requests. Mr. Annis’s personal cell phone,
which was not used for work-related text communications external to Hormel, contains
extensive amounts of personal information and data completely unrelated to any matter at
issue in the above-referenced litigation. Mr. Annis did not communicate by text message with
individuals outside of Hormel for work-related matters, using only his office phone or e-mail
for that type of communication. Given the other measures in place for preservation of any
relevant and potentially responsive material, the subpoena directed to Mr. Annis is
excessive.

Mr. Annis also objects generally to the definition of “Pork Integrator” as overbroad, unduly
burdensome and disproportionate to the circumstances.

Mr. Annis has been advised of the need to preserve any work-related communications on his
personal device for some time and has fully complied with that obligation to the extent that
any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation uniquely resides on Mr. Annis’s personal cell phone. The cell phone Mr. Annis is
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 89 of 639




currently using is not the same phone that he had or would have been using during the
relevant time period. Given these circumstances, any responsive information is equally
obtainable from the service provider and should not require further response from Mr. Annis
individually.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Annis reserves the right to assert additional objections based on any grounds
revealed by any further investigation or review of potentially responsive documents. If you
would like to discuss the substance of these objections or any potential further response,
please feel free to give me a call.

                                          Sincerely,




                                          John Rock, Esq.
                                          Managing Partner


cc: Counsel of record (via email only)




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                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                  Permit Inspection of Premises Directed to Nathan Annis
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Annis objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Annis objects to

this request to the extent it imposes an undue burden on a non-party by seeking “each Text

Message” exchanged with the identified individuals over a ten-year period that ended three years

ago. Mr. Annis further objects to this request to the extent it seeks information equally available

from another source that would be less burdensome and more appropriate under the

circumstances. Subject to and without waiving the foregoing objections, Mr. Annis is not aware

of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Annis objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Annis objects to this request to the extent it

imposes an undue burden on a non-party. Mr. Annis further objects to this request as vague and

ambiguous as the phrase “about supply and demand conditions in the Pork industry” is unclear.
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REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Annis objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Annis objects to this request to the extent it

imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Mr. Annis is not aware of any documents

responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Annis objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Mr. Annis will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Annis objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Annis objects to

this request to the extent it imposes an undue burden on a non-party by seeking all archived

cellphone data over an unreasonably long period of time.

REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
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OBJECTION:             Mr. Annis objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Annis objects to this request to the extent it

imposes an undue burden on a non-party by seeking information related to devices no longer in

his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Annis objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Subject to and without

waiving the foregoing objections, after conducting a reasonable investigation, Mr. Annis

responds that he is not aware of the existence of any documents responsive to this request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 93 of 639
                                                     Canadian Pacific Plaza              John Rock, Esq.
                                                     Suite 2050                         (612) 573-3682
                                                     120 South Sixth Street         FAX (612) 330-0959
                                                     Minneapolis, MN 55402    jrock@rockhutchinson.com


June 9, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:     Production Subpoena to Steven Venenga In Re Pork Antitrust Subpoena
               matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Steven Venenga in connection with
the recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Venenga objects to the Subpoena for the reasons stated
herein and in the enclosed Exhibit A.

As an initial matter, Mr. Venenga objects to the Subpoena as imposing an unreasonable
burden on a non-party that is both personally intrusive and inconvenient, particularly given
the unreasonably long time period covered by the requests. Mr. Venenga’s personal cell
phone, which was not used for work-related communications external to Hormel, contains
extensive amounts of personal information and data completely unrelated to any matter at
issue in the above-referenced litigation. Mr. Venenga did not communicate by text message
with individuals outside of Hormel for work-related matters, using only his office phone or
e-mail for that type of communication. Given the other measures in place for preservation of
any relevant and potentially responsive material, the subpoena directed to Mr. Venenga is
excessive.

Mr. Venenga also objects generally to the definition of “Pork Integrator” as overbroad,
unduly burdensome and disproportionate to the circumstances.

Mr. Venenga has been advised of the need to preserve any work-related communications on
his personal device for some time and has fully complied with that obligation to the extent
that any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
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litigation uniquely resides on Mr. Venenga’s personal cell phone. The cell phone Mr. Venenga
is currently using is not the same phone that he had or would have been using for the
majority of the relevant time period. Given these circumstances, any responsive information
is equally obtainable from the service provider and should not require further response from
Mr. Venenga individually.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Venenga reserves the right to assert additional objections based on any
grounds revealed by any further investigation or review of potentially responsive
documents. If you would like to discuss the substance of these objections or any potential
further response, please feel free to give me a call.

                                           Sincerely,




                                           John Rock, Esq.
                                           Managing Partner


cc: Counsel of record (via email only)




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      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 95 of 639




                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                Permit Inspection of Premises Directed to Steven Venenga
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Venenga objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Mr. Venenga

objects to this request to the extent it imposes an undue burden on a non-party by seeking “each

Text Message” exchanged with the identified individuals over a ten-year period that ended three

years ago. Mr. Venenga further objects to this request to the extent it seeks information equally

available from another source that would be less burdensome and more appropriate under the

circumstances. Subject to and without waiving the foregoing objections, Mr. Venenga is not

aware of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Venenga objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Venenga objects to this request to the extent

it imposes an undue burden on a non-party. Mr. Venenga further objects to this request as vague

and ambiguous as the phrase “about supply and demand conditions in the Pork industry” is
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unclear. Subject to and without waiving the foregoing objections, Mr. Venenga is not aware of

any documents responsive to this Request.

REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Venenga objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Venenga objects to this request to the extent

it imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Mr. Venenga is not aware of any

documents responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Venenga objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Mr. Venenga will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Venenga objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Mr. Venenga

objects to this request to the extent it imposes an undue burden on a non-party by seeking all

archived cellphone data over an unreasonably long period of time.
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REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
OBJECTION:             Mr. Venenga objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Venenga objects to this request to the extent

it imposes an undue burden on a non-party by seeking information related to devices no longer in

his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Venenga objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Subject to

and without waiving the foregoing objections, after conducting a reasonable investigation, Mr.

Venenga responds that he is not aware of the existence of any documents responsive to this

request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 98 of 639
                                                       Canadian Pacific Plaza              John Rock, Esq.
                                                       Suite 2050                         (612) 573-3682
                                                       120 South Sixth Street         FAX (612) 330-0959
                                                       Minneapolis, MN 55402    jrock@rockhutchinson.com


June 10, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:      Production Subpoena to Jim Sheehan In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Jim Sheehan in connection with the
recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Sheehan objects to the Subpoena for the reasons stated
herein and in the enclosed Exhibit A.

As an initial matter, Mr. Sheehan objects to the Subpoena as imposing an unreasonable
burden on a non-party that is both personally intrusive and inconvenient, particularly given
the unreasonably long time period covered by the requests. Mr. Sheehan’s personal cell
phone contains extensive amounts of personal information and data completely unrelated
to any matter at issue in the above-referenced litigation. Mr. Sheehan did not engage in any
text communications of the nature targeted by the subpoena. Given the other measures in
place for preservation of any relevant and potentially responsive material, the subpoena
directed to Mr. Sheehan is excessive.

Mr. Sheehan also objects generally to the definition of “Pork Integrator” as overbroad, unduly
burdensome and disproportionate to the circumstances.

Mr. Sheehan has been advised of the need to preserve any work-related communications on
his personal device for some time and has fully complied with that obligation to the extent
that any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation uniquely resides on Mr. Sheehan’s current personal cell phone that has not been
previously captured by other preservation measures. The cell phone Mr. Sheehan is
currently using is not the same phone that he had or would have been using for the majority
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of the relevant time period. In addition, a digital image of Mr. Sheehan’s cell phone was
captured in 2018 so there is no concern regarding data loss. He has upgraded his phone to a
newer model since that image was created.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Sheehan reserves the right to assert additional objections based on any
grounds revealed by any further investigation or review of potentially responsive
documents. If you would like to discuss the substance of these objections or any potential
further response, please feel free to give me a call.

                                          Sincerely,




                                          John Rock, Esq.
                                          Managing Partner


cc: Counsel of record (via email only)




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     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 100 of 639




                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                  Permit Inspection of Premises Directed to Jim Sheehan
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Sheehan objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Mr. Sheehan

objects to this request to the extent it imposes an undue burden on a non-party by seeking “each

Text Message” exchanged with the identified individuals over a ten-year period that ended three

years ago. Mr. Sheehan further objects to this request to the extent it seeks information equally

available from another source that would be less burdensome and more appropriate under the

circumstances. Subject to and without waiving the foregoing objections, Mr. Sheehan is not

aware of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Sheehan objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Sheehan objects to this request to the extent

it imposes an undue burden on a non-party. Mr. Sheehan further objects to this request as vague

and ambiguous as the phrase “about supply and demand conditions in the Pork industry” is
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unclear. Subject to and without waiving the foregoing objections, Mr. Sheehan has no documents

responsive to this Request.

REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Sheehan objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Sheehan objects to this request to the extent

it imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Mr. Sheehan is not aware of any

documents responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Sheehan objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Mr. Sheehan will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Sheehan objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Mr. Sheehan

objects to this request to the extent it imposes an undue burden on a non-party by seeking all

archived cellphone data over an unreasonably long period of time.
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REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
OBJECTION:             Mr. Sheehan objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Sheehan objects to this request to the extent

it imposes an undue burden on a non-party by seeking information related to devices no longer in

his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Sheehan objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Subject to

and without waiving the foregoing objections, after conducting a reasonable investigation, Mr.

Sheehan responds that he is not aware of the existence of any documents responsive to this

request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 103 of 639
                                                       Canadian Pacific Plaza              John Rock, Esq.
                                                       Suite 2050                         (612) 573-3682
                                                       120 South Sixth Street         FAX (612) 330-0959
                                                       Minneapolis, MN 55402    jrock@rockhutchinson.com


June 21, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:      Production Subpoena to Steven Binder In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Steven Binder in connection with the
recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Binder objects to the Subpoena for the reasons stated herein
and in the enclosed Exhibit A.

As an initial matter, Mr. Binder objects to the Subpoena as imposing an unreasonable burden
on a non-party that is both personally intrusive and inconvenient, particularly given the
unreasonably long time period covered by the requests. Mr. Binder’s personal cell phone
contains extensive amounts of personal information and data completely unrelated to any
matter at issue in the above-referenced litigation. Prior to his retirement in 2018, Mr. Binder
rarely communicated by text with individuals outside of Hormel for work-related matters,
and never engaged in text communications of the nature targeted by the subpoena. Given the
other measures in place for preservation of any relevant and potentially responsive material,
the subpoena directed to Mr. Binder is excessive.

Mr. Binder also objects generally to the definition of “Pork Integrator” as overbroad, unduly
burdensome and disproportionate to the circumstances.

Mr. Binder has been advised of the need to preserve any work-related communications on
his personal device for some time and has fully complied with that obligation to the extent
that any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation uniquely resides on Mr. Binder’s personal cell phone that has not been previously
captured by other preservation measures. The cell phone Mr. Binder is currently using is not
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 104 of 639




the same phone that he had or would have been using during the relevant time period. In
addition, a digital image of Mr. Binder’s cell phone was captured in 2018 prior to his
retirement, so there is no concern regarding data loss. Mr. Binder has upgraded his phone to
a newer model since that image was created. Given these circumstances, no further response
from Mr. Binder individually should be required.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Binder reserves the right to assert additional objections based on any
grounds revealed by any further investigation or review of potentially responsive
documents. If you would like to discuss the substance of these objections or any potential
further response, please feel free to give me a call.

                                           Sincerely,




                                           John Rock, Esq.
                                           Managing Partner


cc: Counsel of record (via email only)




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     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 105 of 639




                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                 Permit Inspection of Premises Directed to Steven Binder
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Binder objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Binder objects to

this request to the extent it imposes an undue burden on a non-party by seeking “each Text

Message” exchanged with the identified individuals over a ten-year period that ended three years

ago. Mr. Binder further objects to this request to the extent it seeks information equally available

from another source that would be less burdensome and more appropriate under the

circumstances. Subject to and without waiving the foregoing objections, Mr. Binder is not aware

of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Binder objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Binder objects to this request to the extent it

imposes an undue burden on a non-party. Mr. Binder further objects to this request as vague and

ambiguous as the phrase “about supply and demand conditions in the Pork industry” is unclear.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 106 of 639




Subject to and without waiving the foregoing objections, Mr. Binder is not aware of any

documents responsive to this Request.

REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Binder objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Binder objects to this request to the extent it

imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Mr. Binder is not aware of any

documents responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Binder objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Mr. Binder will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Binder objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Binder objects to

this request to the extent it imposes an undue burden on a non-party by seeking all archived

cellphone data over an unreasonably long period of time.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 107 of 639




REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
OBJECTION:             Mr. Binder objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Binder objects to this request to the extent it

imposes an undue burden on a non-party by seeking information related to devices no longer in

his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Binder objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Subject to and without

waiving the foregoing objections, after conducting a reasonable investigation, Mr. Binder

responds that he is not aware of the existence of any documents responsive to this request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 108 of 639
                                                      Canadian Pacific Plaza              John Rock, Esq.
                                                      Suite 2050                         (612) 573-3682
                                                      120 South Sixth Street         FAX (612) 330-0959
                                                      Minneapolis, MN 55402    jrock@rockhutchinson.com


June 21, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:      Production Subpoena to Thomas Day In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Thomas Day in connection with the
recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Day objects to the Subpoena for the reasons stated herein
and in the enclosed Exhibit A.

As an initial matter, Mr. Day objects to the Subpoena as imposing an unreasonable burden
on a non-party that is both personally intrusive and inconvenient, particularly given the
unreasonably long time period covered by the requests. Mr. Day’s personal cell phone
contains extensive amounts of personal information and data completely unrelated to any
matter at issue in the above-referenced litigation. Mr. Day did not engage in any text
communications of the nature targeted by the subpoena. Mr. Day used primarily his work-
provided e-mail address for work-related communications outside of Hormel. Given the
other measures in place for preservation of any relevant and potentially responsive material,
the subpoena directed to Mr. Day is excessive.

Mr. Day also objects generally to the definition of “Pork Integrator” as overbroad, unduly
burdensome and disproportionate to the circumstances.

Mr. Day has been advised of the need to preserve any work-related communications on his
personal device for some time and has fully complied with that obligation to the extent that
any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation uniquely resides on Mr. Day’s personal cell phone that has not been previously
captured by other preservation measures. The cell phone Mr. Day is currently using is not
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the same phone that he had or would have been using for the majority of the relevant time
period. In addition, a digital image of Mr. Day’s cell phone was captured in 2018 prior to his
retirement so there is no concern regarding data loss. Given these circumstances, no further
response from Mr. Day individually should be required.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Day reserves the right to assert additional objections based on any grounds
revealed by any further investigation or review of potentially responsive documents. If you
would like to discuss the substance of these objections or any potential further response,
please feel free to give me a call.

                                           Sincerely,




                                           John Rock, Esq.
                                           Managing Partner


cc: Counsel of record (via email only)




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                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                  Permit Inspection of Premises Directed to Thomas Day
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Day objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Day objects to this

request to the extent it imposes an undue burden on a non-party by seeking “each Text Message”

exchanged with the identified individuals over a ten-year period that ended three years ago. Mr.

Day further objects to this request to the extent it seeks information equally available from

another source that would be less burdensome and more appropriate under the circumstances.

Subject to and without waiving the foregoing objections, Mr. Day is not aware of any documents

responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Day objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Day objects to this request to the extent it

imposes an undue burden on a non-party. Mr. Day further objects to this request as vague and

ambiguous as the phrase “about supply and demand conditions in the Pork industry” is unclear.
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Subject to and without waiving the foregoing objections, Mr. Day is not aware of any documents

responsive to this Request.

REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Day objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Day objects to this request to the extent it

imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Mr. Day is not aware of any documents

responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Day objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Mr. Day will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Day objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Day objects to this

request to the extent it imposes an undue burden on a non-party by seeking all archived

cellphone data over an unreasonably long period of time.
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REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
OBJECTION:             Mr. Day objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Day objects to this request to the extent it

imposes an undue burden on a non-party by seeking information related to devices no longer in

his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Day objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Subject to and without

waiving the foregoing objections, after conducting a reasonable investigation, Mr. Day responds

that he is not aware of the existence of any documents responsive to this request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 113 of 639
                                                       Canadian Pacific Plaza              John Rock, Esq.
                                                       Suite 2050                         (612) 573-3682
                                                       120 South Sixth Street         FAX (612) 330-0959
                                                       Minneapolis, MN 55402    jrock@rockhutchinson.com


June 21, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:      Production Subpoena to Jeff Ettinger In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Jeff Ettinger in connection with the
recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Ettinger objects to the Subpoena for the reasons stated
herein and in the enclosed Exhibit A.

As an initial matter, Mr. Ettinger objects to the Subpoena as imposing an unreasonable
burden on a non-party that is both personally intrusive and inconvenient, particularly given
the unreasonably long time period covered by the requests. Mr. Ettinger’s personal cell
phone contains extensive amounts of personal information and data completely unrelated
to any matter at issue in the above-referenced litigation. Prior to his retirement in 2016, Mr.
Ettinger did not engage in any text communications of the nature targeted by the subpoena.
Given the other measures in place for preservation of any relevant and potentially
responsive material, the subpoena directed to Mr. Ettinger is excessive.

Mr. Ettinger also objects generally to the definition of “Pork Integrator” as overbroad, unduly
burdensome and disproportionate to the circumstances.

Mr. Ettinger has been advised of the need to preserve any work-related communications on
his personal device for some time and has fully complied with that obligation to the extent
that any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation uniquely resides on Mr. Ettinger’s personal cell phone. The cell phone Mr. Ettinger
is currently using is not the same phone that he had or would have been using during the
relevant time period. Given these circumstances, any responsive information is equally
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obtainable from the service provider and should not require further response from Mr.
Ettinger individually.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Ettinger reserves the right to assert additional objections based on any
grounds revealed by any further investigation or review of potentially responsive
documents. If you would like to discuss the substance of these objections or any potential
further response, please feel free to give me a call.

                                           Sincerely,




                                           John Rock, Esq.
                                           Managing Partner


cc: Counsel of record (via email only)




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                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                  Permit Inspection of Premises Directed to Jeff Ettinger
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Ettinger objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Mr. Ettinger

objects to this request to the extent it imposes an undue burden on a non-party by seeking “each

Text Message” exchanged with the identified individuals over a ten-year period that ended three

years ago. Mr. Ettinger further objects to this request to the extent it seeks information equally

available from another source that would be less burdensome and more appropriate under the

circumstances. Subject to and without waiving the foregoing objections, Mr. Ettinger is not

aware of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Ettinger objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Ettinger objects to this request to the extent

it imposes an undue burden on a non-party. Mr. Ettinger further objects to this request as vague

and ambiguous as the phrase “about supply and demand conditions in the Pork industry” is
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unclear. Subject to and without waiving the foregoing objections, Mr. Ettinger is not aware of

any documents responsive to this Request.

REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Ettinger objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Ettinger objects to this request to the extent

it imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Mr. Ettinger is not aware of any

documents responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Ettinger objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Mr. Ettinger will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Ettinger objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Mr. Ettinger

objects to this request to the extent it imposes an undue burden on a non-party by seeking all

archived cellphone data over an unreasonably long period of time.
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REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
OBJECTION:             Mr. Ettinger objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Ettinger objects to this request to the extent

it imposes an undue burden on a non-party by seeking information related to devices no longer in

his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Ettinger objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Subject to

and without waiving the foregoing objections, after conducting a reasonable investigation, Mr.

Ettinger responds that he is not aware of the existence of any documents responsive to this

request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 118 of 639
                                                       Canadian Pacific Plaza              John Rock, Esq.
                                                       Suite 2050                         (612) 573-3682
                                                       120 South Sixth Street         FAX (612) 330-0959
                                                       Minneapolis, MN 55402    jrock@rockhutchinson.com


June 21, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:      Production Subpoena to Bryan Farnsworth In Re Pork Antitrust Subpoena
                matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Bryan Farnsworth in connection with
the recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Farnsworth objects to the Subpoena for the reasons stated
herein and in the enclosed Exhibit A.

As an initial matter, Mr. Farnsworth objects to the Subpoena as imposing an unreasonable
burden on a non-party that is both personally intrusive and inconvenient, particularly given
the unreasonably long time period covered by the requests. Mr. Farnsworth’s personal cell
phone, which he used minimally, if at all, for work-related communications, contains
extensive amounts of personal information and data completely unrelated to any matter at
issue in the above-referenced litigation. Prior to his retirement in 2017, Mr. Farnsworth did
not communicate by text for work-related matters. Mr. Farnsworth used only his office
phone or work-provided e-mail address for that type of communication. Given the other
measures in place for preservation of any relevant and potentially responsive material, the
subpoena directed to Mr. Farnsworth is excessive.

Mr. Farnsworth also objects generally to the definition of “Pork Integrator” as overbroad,
unduly burdensome and disproportionate to the circumstances.

Mr. Farnsworth has been advised of the need to preserve any work-related communications
on his personal device for some time and has fully complied with that obligation to the extent
that any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
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litigation uniquely resides on Mr. Farnsworth’s personal cell phone. The cell phone Mr.
Farnsworth is currently using is not the same phone that he had or would have been using
during the relevant time period. Given these circumstances, any responsive information is
equally obtainable from the service provider and should not require further response from
Mr. Farnsworth individually.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Farnsworth reserves the right to assert additional objections based on any
grounds revealed by any further investigation or review of potentially responsive
documents. If you would like to discuss the substance of these objections or any potential
further response, please feel free to give me a call.

                                           Sincerely,




                                           John Rock, Esq.
                                           Managing Partner


cc: Counsel of record (via email only)




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                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
               Permit Inspection of Premises Directed to Bryan Farnsworth
                                   DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Farnsworth objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Mr.

Farnsworth objects to this request to the extent it imposes an undue burden on a non-party by

seeking “each Text Message” exchanged with the identified individuals over a ten-year period

that ended three years ago. Mr. Farnsworth further objects to this request to the extent it seeks

information equally available from another source that would be less burdensome and more

appropriate under the circumstances. Subject to and without waiving the foregoing objections,

Mr. Farnsworth is not aware of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Farnsworth objects to this request as overbroad and unduly

burdensome to the extent it seeks information not relevant to any party’s claims or defenses in

this litigation, and is disproportionate to the needs of the case. Mr. Farnsworth objects to this

request to the extent it imposes an undue burden on a non-party. Mr. Farnsworth further objects

to this request as vague and ambiguous as the phrase “about supply and demand conditions in the
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Pork industry” is unclear. Subject to and without waiving the foregoing objections, Mr.

Farnsworth is not aware of any documents responsive to this Request.

REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Farnsworth objects to this request as overbroad and unduly

burdensome to the extent it seeks information not relevant to any party’s claims or defenses in

this litigation, and is disproportionate to the needs of the case. Mr. Farnsworth objects to this

request to the extent it imposes an undue burden on a non-party. Subject to and without waiving

the foregoing objections, after conducting a reasonable investigation, Mr. Farnsworth is not

aware of any documents responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Farnsworth objects to this request as overbroad and unduly

burdensome to the extent it seeks information not relevant to any party’s claims or defenses in

this litigation. Subject to and without waiving the foregoing objections, Mr. Farnsworth will

produce documents responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Farnsworth objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Mr.

Farnsworth objects to this request to the extent it imposes an undue burden on a non-party by

seeking all archived cellphone data over an unreasonably long period of time.
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REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
OBJECTION:             Mr. Farnsworth objects to this request as overbroad and unduly

burdensome to the extent it seeks information not relevant to any party’s claims or defenses in

this litigation, and is disproportionate to the needs of the case. Mr. Farnsworth objects to this

request to the extent it imposes an undue burden on a non-party by seeking information related to

devices no longer in his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Farnsworth objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Subject to

and without waiving the foregoing objections, after conducting a reasonable investigation, Mr.

Farnsworth responds that he is not aware of the existence of any documents responsive to this

request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 123 of 639
                                                      Canadian Pacific Plaza              John Rock, Esq.
                                                      Suite 2050                         (612) 573-3682
                                                      120 South Sixth Street         FAX (612) 330-0959
                                                      Minneapolis, MN 55402    jrock@rockhutchinson.com


June 21, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:      Production Subpoena to Jesse Hyland In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Jesse Hyland in connection with the
recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Hyland objects to the Subpoena for the reasons stated herein
and in the enclosed Exhibit A.

As an initial matter, Mr. Hyland objects to the Subpoena as imposing an unreasonable burden
on a non-party that is both personally intrusive and inconvenient, particularly given the
unreasonably long time period covered by the requests. Mr. Hyland’s personal cell phone,
which was used minimally for work-related communications, contains extensive amounts of
personal information and data completely unrelated to any matter at issue in the above-
referenced litigation. Prior to his retirement in 2016, Mr. Hyland did not communicate by
text for work-related matters and had no communications of the nature targeted by the
subpoena. Mr. Hyland used his office phone or work-provided e-mail address for work-
related communication. Given the other measures in place for preservation of any relevant
and potentially responsive material, the subpoena directed to Mr. Hyland is excessive.

Mr. Hyland also objects generally to the definition of “Pork Integrator” as overbroad, unduly
burdensome and disproportionate to the circumstances.

Mr. Hyland has been advised of the need to preserve any work-related communications on
his personal device for some time and has fully complied with that obligation to the extent
that any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation uniquely resides on Mr. Hyland’s personal cell phone. The cell phone Mr. Hyland is
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currently using is not the same phone that he had or would have been using during the
relevant time period. Given these circumstances, any responsive information is equally
obtainable from the service provider and should not require further response from Mr.
Hyland individually.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Hyland reserves the right to assert additional objections based on any
grounds revealed by any further investigation or review of potentially responsive
documents. If you would like to discuss the substance of these objections or any potential
further response, please feel free to give me a call.

                                           Sincerely,




                                           John Rock, Esq.
                                           Managing Partner


cc: Counsel of record (via email only)




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     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 125 of 639




                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                  Permit Inspection of Premises Directed to Jesse Hyland
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Hyland objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Hyland objects to

this request to the extent it imposes an undue burden on a non-party by seeking “each Text

Message” exchanged with the identified individuals over a ten-year period that ended three years

ago. Mr. Hyland further objects to this request to the extent it seeks information equally available

from another source that would be less burdensome and more appropriate under the

circumstances. Subject to and without waiving the foregoing objections, Mr. Hyland is not aware

of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Hyland objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Hyland objects to this request to the extent it

imposes an undue burden on a non-party. Mr. Hyland further objects to this request as vague and

ambiguous as the phrase “about supply and demand conditions in the Pork industry” is unclear.
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Subject to and without waiving the foregoing objections, Mr. Hyland has no documents

responsive to this Request.

REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Hyland objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Hyland objects to this request to the extent it

imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Mr. Hyland is not aware of any

documents responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Hyland objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Mr. Hyland will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Hyland objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Hyland objects to

this request to the extent it imposes an undue burden on a non-party by seeking all archived

cellphone data over an unreasonably long period of time.
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REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
OBJECTION:             Mr. Hyland objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Hyland objects to this request to the extent it

imposes an undue burden on a non-party by seeking information related to devices no longer in

his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Hyland objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Subject to and without

waiving the foregoing objections, after conducting a reasonable investigation, Mr. Hyland

responds that he is not aware of the existence of any documents responsive to this request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 128 of 639
                                                      Canadian Pacific Plaza              John Rock, Esq.
                                                      Suite 2050                         (612) 573-3682
                                                      120 South Sixth Street         FAX (612) 330-0959
                                                      Minneapolis, MN 55402    jrock@rockhutchinson.com


June 21, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:      Production Subpoena to Glenn Leitch In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Glenn Leitch in connection with the
recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Leitch objects to the Subpoena for the reasons stated herein
and in the enclosed Exhibit A.

As an initial matter, Mr. Leitch objects to the Subpoena as imposing an unreasonable burden
on a non-party that is both personally intrusive and inconvenient, particularly given the
unreasonably long time period covered by the requests. Mr. Leitch’s personal cell phone,
which he used minimally, if at all, for work-related text communications, contains extensive
amounts of personal information and data completely unrelated to any matter at issue in the
above-referenced litigation. Prior to his retirement earlier this year, Mr. Leitch rarely
communicated by text with individuals outside of Hormel for work-related matters, using
primarily his office phone or work-provided e-mail address for that type of communication.
Given the other measures in place for preservation of any relevant and potentially
responsive material, the subpoena directed to Mr. Leitch is excessive.

Mr. Leitch also objects generally to the definition of “Pork Integrator” as overbroad, unduly
burdensome and disproportionate to the circumstances.

Mr. Leitch has been advised of the need to preserve any work-related communications on
his personal device for some time and has fully complied with that obligation to the extent
that any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation uniquely resides on Mr. Leitch’s personal cell phone that has not been previously
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captured by other preservation measures. The cell phone Mr. Leitch is currently using is not
the same phone that he had or would have been using for the majority of the relevant time
period. In addition, a digital image of Mr. Leitch’s cell phone was captured in 2021 so there
is no concern regarding data loss. The cell phone he is currently using is not the same phone
that was imaged in 2021.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Leitch reserves the right to assert additional objections based on any grounds
revealed by any further investigation or review of potentially responsive documents. If you
would like to discuss the substance of these objections or any potential further response,
please feel free to give me a call.

                                          Sincerely,




                                          John Rock, Esq.
                                          Managing Partner


cc: Counsel of record (via email only)




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     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 130 of 639




                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                  Permit Inspection of Premises Directed to Glenn Leitch
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Leitch objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Leitch objects to

this request to the extent it imposes an undue burden on a non-party by seeking “each Text

Message” exchanged with the identified individuals over a ten-year period that ended three years

ago. Mr. Leitch further objects to this request to the extent it seeks information equally available

from another source that would be less burdensome and more appropriate under the

circumstances. Subject to and without waiving the foregoing objections, Mr. Leitch is not aware

of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Leitch objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Leitch objects to this request to the extent it

imposes an undue burden on a non-party. Mr. Leitch further objects to this request as vague and

ambiguous as the phrase “about supply and demand conditions in the Pork industry” is unclear.
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Subject to and without waiving the foregoing objections, Mr. Leitch is not aware of any

documents responsive to this Request.

REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Leitch objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Leitch objects to this request to the extent it

imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Mr. Leitch is not aware of any documents

responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Leitch objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Mr. Leitch will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Leitch objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Leitch objects to

this request to the extent it imposes an undue burden on a non-party by seeking all archived

cellphone data over an unreasonably long period of time.
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REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
OBJECTION:             Mr. Leitch objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Leitch objects to this request to the extent it

imposes an undue burden on a non-party by seeking information related to devices no longer in

his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Leitch objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Subject to and without

waiving the foregoing objections, after conducting a reasonable investigation, Mr. Leitch

responds that he is not aware of the existence of any documents responsive to this request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 133 of 639
                                                       Canadian Pacific Plaza              John Rock, Esq.
                                                       Suite 2050                         (612) 573-3682
                                                       120 South Sixth Street         FAX (612) 330-0959
                                                       Minneapolis, MN 55402    jrock@rockhutchinson.com


June 21, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:      Production Subpoena to Al Lieberum In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Al Lieberum in connection with the
recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Lieberum objects to the Subpoena for the reasons stated
herein and in the enclosed Exhibit A.

As an initial matter, Mr. Lieberum objects to the Subpoena as imposing an unreasonable
burden on a non-party that is both personally intrusive and inconvenient, particularly given
the unreasonably long time period covered by the requests. Mr. Lieberum’s personal cell
phone, which was used minimally for work-related communications, contains extensive
amounts of personal information and data completely unrelated to any matter at issue in the
above-referenced litigation. Prior to his retirement in 2016, Mr. Lieberum did not
communicate by text with individuals outside of Hormel for work-related matters, using only
his office phone or work-provided e-mail address for that type of communication. Given the
other measures in place for preservation of any relevant and potentially responsive material,
the subpoena directed to Mr. Lieberum is excessive.

Mr. Lieberum also objects generally to the definition of “Pork Integrator” as overbroad,
unduly burdensome and disproportionate to the circumstances.

Mr. Lieberum has been advised of the need to preserve any work-related communications
on his personal device for some time and has fully complied with that obligation to the extent
that any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation uniquely resides on Mr. Lieberum’s personal cell phone. The cell phone Mr.
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Lieberum is currently using is not the same phone that he had or would have been using
during the relevant time period. Given these circumstances, any responsive information is
equally obtainable from the service provider and should not require further response from
Mr. Lieberum individually.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Lieberum reserves the right to assert additional objections based on any
grounds revealed by any further investigation or review of potentially responsive
documents. If you would like to discuss the substance of these objections or any potential
further response, please feel free to give me a call.

                                           Sincerely,




                                           John Rock, Esq.
                                           Managing Partner


cc: Counsel of record (via email only)




                                             2
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 135 of 639




                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                  Permit Inspection of Premises Directed to Al Lieberum
                                   DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Lieberum objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Mr.

Lieberum objects to this request to the extent it imposes an undue burden on a non-party by

seeking “each Text Message” exchanged with the identified individuals over a ten-year period

that ended three years ago. Mr. Lieberum further objects to this request to the extent it seeks

information equally available from another source that would be less burdensome and more

appropriate under the circumstances. Subject to and without waiving the foregoing objections,

Mr. Lieberum is not aware of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Lieberum objects to this request as overbroad and unduly

burdensome to the extent it seeks information not relevant to any party’s claims or defenses in

this litigation, and is disproportionate to the needs of the case. Mr. Lieberum objects to this

request to the extent it imposes an undue burden on a non-party. Mr. Lieberum further objects to

this request as vague and ambiguous as the phrase “about supply and demand conditions in the
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Pork industry” is unclear. Subject to and without waiving the foregoing objections, Mr.

Lieberum is not aware of any documents responsive to this Request.

REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Lieberum objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Lieberum objects to this request to the extent

it imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Mr. Lieberum is not aware of any

documents responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Lieberum objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Mr. Lieberum will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Lieberum objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Mr.

Lieberum objects to this request to the extent it imposes an undue burden on a non-party by

seeking all archived cellphone data over an unreasonably long period of time.
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REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
OBJECTION:             Mr. Lieberum objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Lieberum objects to this request to the extent

it imposes an undue burden on a non-party by seeking information related to devices no longer in

his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Lieberum objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Subject to

and without waiving the foregoing objections, after conducting a reasonable investigation, Mr.

Lieberum responds that he is not aware of the existence of any documents responsive to this

request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 138 of 639
                                                      Canadian Pacific Plaza              John Rock, Esq.
                                                      Suite 2050                         (612) 573-3682
                                                      120 South Sixth Street         FAX (612) 330-0959
                                                      Minneapolis, MN 55402    jrock@rockhutchinson.com


June 21, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:      Production Subpoena to William Snyder In Re Pork Antitrust Subpoena
                matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent William Snyder in connection with
the recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Snyder objects to the Subpoena for the reasons stated herein
and in the enclosed Exhibit A.

As an initial matter, Mr. Snyder objects to the Subpoena as imposing an unreasonable burden
on a non-party that is both personally intrusive and inconvenient, particularly given the
unreasonably long time period covered by the requests. Mr. Snyder’s personal cell phone,
which was used minimally for work-related communications, contains extensive amounts of
personal information and data completely unrelated to any matter at issue in the above-
referenced litigation. Prior to his retirement in 2014, Mr. Snyder did not communicate by
text with individuals outside of Hormel for work-related matters, using his work-provided
e-mail address for that type of communication. Given the other measures in place for
preservation of any relevant and potentially responsive material, the subpoena directed to
Mr. Snyder is excessive.

Mr. Snyder also objects generally to the definition of “Pork Integrator” as overbroad, unduly
burdensome and disproportionate to the circumstances.

Mr. Snyder has been advised of the need to preserve any work-related communications on
his personal device for some time and has fully complied with that obligation to the extent
that any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 139 of 639




litigation uniquely resides on Mr. Snyder’s personal cell phone. The cell phone Mr. Snyder is
currently using is not the same phone that he had or would have been using during the
relevant time period. Given these circumstances, any responsive information is equally
obtainable from the service provider and should not require further response from Mr.
Snyder individually.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Snyder reserves the right to assert additional objections based on any
grounds revealed by any further investigation or review of potentially responsive
documents. If you would like to discuss the substance of these objections or any potential
further response, please feel free to give me a call.

                                           Sincerely,




                                           John Rock, Esq.
                                           Managing Partner


cc: Counsel of record (via email only)




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     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 140 of 639




                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                 Permit Inspection of Premises Directed to William Snyder
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Snyder objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Snyder objects to

this request to the extent it imposes an undue burden on a non-party by seeking “each Text

Message” exchanged with the identified individuals over a ten-year period that ended three years

ago. Mr. Snyder further objects to this request to the extent it seeks information equally available

from another source that would be less burdensome and more appropriate under the

circumstances. Subject to and without waiving the foregoing objections, Mr. Snyder is not aware

of any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Snyder objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Snyder objects to this request to the extent it

imposes an undue burden on a non-party. Mr. Snyder further objects to this request as vague and

ambiguous as the phrase “about supply and demand conditions in the Pork industry” is unclear.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 141 of 639




Subject to and without waiving the foregoing objections, Mr. Snyder is not aware of any

documents responsive to this Request.

REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Snyder objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Snyder objects to this request to the extent it

imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Mr. Snyder is not aware of any

documents responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Snyder objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Mr. Snyder will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Snyder objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Snyder objects to

this request to the extent it imposes an undue burden on a non-party by seeking all archived

cellphone data over an unreasonably long period of time.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 142 of 639




REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
OBJECTION:             Mr. Snyder objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Snyder objects to this request to the extent it

imposes an undue burden on a non-party by seeking information related to devices no longer in

his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Snyder objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Subject to and without

waiving the foregoing objections, after conducting a reasonable investigation, Mr. Snyder

responds that he is not aware of the existence of any documents responsive to this request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 143 of 639
                                                       Canadian Pacific Plaza              John Rock, Esq.
                                                       Suite 2050                         (612) 573-3682
                                                       120 South Sixth Street         FAX (612) 330-0959
                                                       Minneapolis, MN 55402    jrock@rockhutchinson.com


June 23, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:      Production Subpoena to Jody Feragen In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Jody Feragen in connection with the
recently issued subpoena seeking production of data from her personal cell phone in the
above-referenced litigation. Ms. Feragen objects to the Subpoena for the reasons stated
herein and in the enclosed Exhibit A.

As an initial matter, Ms. Feragen objects to the Subpoena as imposing an unreasonable
burden on a non-party that is both personally intrusive and inconvenient, particularly given
the unreasonably long time period covered by the requests. Ms. Feragen’s personal cell
phone contains extensive amounts of personal information and data completely unrelated
to any matter at issue in the above-referenced litigation. Prior to her retirement in 2017, Ms.
Feragen did not use text messaging of any type for any work-related communications. She
only used her office phone or work-issued e-mail address for business communications. In
addition, her role and job functions for Hormel did not involve any communications with
representatives of Hormel’s competitors or any “Pork Integrators.” Given the other measures
in place for preservation of any relevant and potentially responsive material, the subpoena
directed to Ms. Feragen is excessive.

Ms. Feragen also objects generally to the definition of “Pork Integrator” as overbroad, unduly
burdensome and disproportionate to the circumstances.

Based upon our investigation following receipt of the subpoena, we have no reason to believe
that any information potentially relevant to the litigation uniquely resides on Ms. Feragen’s
current personal cell phone. The cell phone Ms. Feragen is currently using is not the same
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 144 of 639




phone that she had or would have been using during the relevant time period. She no longer
has possession of her prior cell phones.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Ms. Feragen reserves the right to assert additional objections based on any
grounds revealed by any further investigation or review of potentially responsive
documents. If you would like to discuss the substance of these objections or any potential
further response, please feel free to give me a call.

                                           Sincerely,




                                           John Rock, Esq.
                                           Managing Partner


cc: Counsel of record (via email only)




                                             2
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 145 of 639




                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                  Permit Inspection of Premises Directed to Jody Feragen
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Ms. Feragen objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Ms. Feragen

objects to this request to the extent it imposes an undue burden on a non-party by seeking “each

Text Message” exchanged with the identified individuals over a ten-year period that ended three

years ago. Ms. Feragen further objects to this request to the extent it seeks information equally

available from another source that would be less burdensome and more appropriate under the

circumstances. Subject to and without waiving the foregoing objections, Ms. Feragen has no

documents responsive to this Request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Ms. Feragen objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Ms. Feragen objects to this request to the extent

it imposes an undue burden on a non-party. Ms. Feragen further objects to this request as vague

and ambiguous as the phrase “about supply and demand conditions in the Pork industry” is
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unclear. Subject to and without waiving the foregoing objections, Ms. Feragen has no documents

responsive to this Request.

REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Ms. Feragen objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Ms. Feragen objects to this request to the extent

it imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Ms. Feragen is not aware of any

documents responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Ms. Feragen objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Ms. Feragen is not aware of any

documents responsive to this request.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Ms. Feragen objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Ms. Feragen

objects to this request to the extent it imposes an undue burden on a non-party by seeking all

archived cellphone data over an unreasonably long period of time.
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REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
OBJECTION:             Ms. Feragen objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Ms. Feragen objects to this request to the extent

it imposes an undue burden on a non-party by seeking information related to devices no longer in

her possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Ms. Feragen objects to this request as vague and ambiguous, and

overbroad and unduly burdensome to the extent it seeks information not relevant to any party’s

claims or defenses in this litigation, and is disproportionate to the needs of the case. Subject to

and without waiving the foregoing objections, after conducting a reasonable investigation, Ms.

Feragen has no documents responsive to this Request.
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                                                       Canadian Pacific Plaza              John Rock, Esq.
                                                       Suite 2050                         (612) 573-3682
                                                       120 South Sixth Street         FAX (612) 330-0959
                                                       Minneapolis, MN 55402    jrock@rockhutchinson.com


June 29, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:      Production Subpoena to Jerry Adwell In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Jerry Adwell in connection with the
recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Adwell objects to the Subpoena for the reasons stated herein
and in the enclosed Exhibit A.

As an initial matter, Mr. Adwell objects to the Subpoena as imposing an unreasonable burden
on a non-party that is both personally intrusive and inconvenient, particularly given the
unreasonably long time period covered by the requests. Mr. Adwell’s personal cell phone
contains extensive amounts of personal information and data completely unrelated to any
matter at issue in the above-referenced litigation. Prior to his retirement in 2012, Mr. Adwell
did not communicate by text with individuals outside of Hormel for work-related matters.
He used only his office phone or work-provided e-mail address for external business
communication. In addition, his role and job functions at Hormel did not involve any
communications of the type targeted by the subpoena. Given the other measures in place for
preservation of any relevant and potentially responsive material, the subpoena directed to
Mr. Adwell is excessive.

Mr. Adwell also objects generally to the definition of “Pork Integrator” as overbroad, unduly
burdensome and disproportionate to the circumstances.

Based upon our investigation following receipt of the subpoena, we have no reason to believe
that any information potentially relevant to the litigation uniquely resides on Mr. Adwell’s
personal cell phone. The cell phone Mr. Adwell is currently using is not the same phone that
he had or would have been using during the relevant time period.
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Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Adwell reserves the right to assert additional objections based on any
grounds revealed by any further investigation or review of potentially responsive
documents. If you would like to discuss the substance of these objections or any potential
further response, please feel free to give me a call.

                                           Sincerely,




                                           John Rock, Esq.
                                           Managing Partner


cc: Counsel of record (via email only)




                                             2
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                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                  Permit Inspection of Premises Directed to Jerry Adwell
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Adwell objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Adwell objects to

this request to the extent it imposes an undue burden on a non-party by seeking “each Text

Message” exchanged with the identified individuals over a ten-year period that ended three years

ago. Mr. Adwell further objects to this request to the extent it seeks information equally available

from another source that would be less burdensome and more appropriate under the

circumstances. Subject to and without waiving the foregoing objections, Mr. Adwell has no

documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Adwell objects to this request as overbroad and unduly burdensome

to the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Adwell objects to this request to the extent it

imposes an undue burden on a non-party. Mr. Adwell further objects to this request as vague and

ambiguous as the phrase “about supply and demand conditions in the Pork industry” is unclear.
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Subject to and without waiving the foregoing objections, Mr. Adwell is not aware of any

documents responsive to this Request.

REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Adwell objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Adwell objects to this request to the extent it

imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Mr. Adwell is not aware of any

documents responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Adwell objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Mr. Adwell will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Adwell objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Adwell objects to

this request to the extent it imposes an undue burden on a non-party by seeking all archived

cellphone data over an unreasonably long period of time.
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REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
OBJECTION:             Mr. Adwell objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Adwell objects to this request to the extent it

imposes an undue burden on a non-party by seeking information related to devices no longer in

his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Adwell objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Subject to and without

waiving the foregoing objections, after conducting a reasonable investigation, Mr. Adwell has no

documents responsive to this request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 153 of 639
                                                     Canadian Pacific Plaza              John Rock, Esq.
                                                     Suite 2050                         (612) 573-3682
                                                     120 South Sixth Street         FAX (612) 330-0959
                                                     Minneapolis, MN 55402    jrock@rockhutchinson.com


July 2, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:     Production Subpoena to James Snee In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent James Snee in connection with the
recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Snee objects to the Subpoena for the reasons stated herein
and in the enclosed Exhibit A.

As an initial matter, Mr. Snee objects to the Subpoena as imposing an unreasonable burden
on a non-party that is both personally intrusive and inconvenient, particularly given the
unreasonably long time period covered by the requests. Mr. Snee’s personal cell phone
contains extensive amounts of personal information and data completely unrelated to any
matter at issue in the above-referenced litigation. Mr. Snee did not engage in any text
communications of the nature targeted by the subpoena. Given the other measures in place
for preservation of any relevant and potentially responsive material, the subpoena directed
to Mr. Snee is excessive.

Mr. Snee also objects generally to the definition of “Pork Integrator” as overbroad, unduly
burdensome and disproportionate to the circumstances.

Mr. Snee has been advised of the need to preserve any work-related communications on his
personal device for some time and has fully complied with that obligation to the extent that
any such communications exist. Based upon our investigation following receipt of the
subpoena, we have no reason to believe that any information potentially relevant to the
litigation uniquely resides on Mr. Snee’s personal cell phone. The cell phone Mr. Snee is
currently using is not the same phone that he had or would have been using during the
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relevant time period. In addition, a digital image of Mr. Snee’s cell phone was captured in
2018 so there is no concern regarding data loss.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Snee reserves the right to assert additional objections based on any grounds
revealed by any further investigation or review of potentially responsive documents. If you
would like to discuss the substance of these objections or any potential further response,
please feel free to give me a call.

                                          Sincerely,




                                          John Rock, Esq.
                                          Managing Partner


cc: Counsel of record (via email only)




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                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                   Permit Inspection of Premises Directed to James Snee
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Snee objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Snee objects to

this request to the extent it imposes an undue burden on a non-party by seeking “each Text

Message” exchanged with the identified individuals over a ten-year period that ended three years

ago. Mr. Snee further objects to this request to the extent it seeks information equally available

from another source that would be less burdensome and more appropriate under the

circumstances. Subject to and without waiving the foregoing objections, Mr. Snee is not aware of

any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Snee objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Snee objects to this request to the extent it

imposes an undue burden on a non-party. Mr. Snee further objects to this request as vague and

ambiguous as the phrase “about supply and demand conditions in the Pork industry” is unclear.
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Subject to and without waiving the foregoing objections, Mr. Snee is not aware of any

documents responsive to this Request.

REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Snee objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Snee objects to this request to the extent it

imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Mr. Snee is not aware of any documents

responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Snee objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Mr. Snee will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Snee objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Snee objects to

this request to the extent it imposes an undue burden on a non-party by seeking all archived

cellphone data over an unreasonably long period of time.
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REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
OBJECTION:             Mr. Snee objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Snee objects to this request to the extent it

imposes an undue burden on a non-party by seeking information related to devices no longer in

his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Snee objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Subject to and without

waiving the foregoing objections, after conducting a reasonable investigation, Mr. Snee responds

that he is not aware of the existence of any documents responsive to this request.
     CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 158 of 639
                                                      Canadian Pacific Plaza              John Rock, Esq.
                                                      Suite 2050                         (612) 573-3682
                                                      120 South Sixth Street         FAX (612) 330-0959
                                                      Minneapolis, MN 55402    jrock@rockhutchinson.com


August 4, 2021


 VIA E-MAIL
 Brian D. Clark
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. South
 Suite 2200
 Minneapolis, MN 55401
 bdclark@locklaw.com

       Re:    Production Subpoena to Neal Hull In Re Pork Antitrust Subpoena matter

Dear Mr. Clark:

Rock Hutchinson, PLLP has been retained to represent Neal Hull in connection with the
recently issued subpoena seeking production of data from his personal cell phone in the
above-referenced litigation. Mr. Hull objects to the Subpoena for the reasons stated herein
and in the enclosed Exhibit A.

As an initial matter, Mr. Hull objects to the Subpoena as imposing an unreasonable burden
on a non-party that is both personally intrusive and inconvenient, particularly given the
unreasonably long time period covered by the requests. Mr. Hull’s personal cell phone
contains extensive amounts of personal information and data completely unrelated to any
matter at issue in the above-referenced litigation. Mr. Hull did not communicate by text with
individuals outside of Hormel for work-related matters. In fact, his role with Hormel did not
involve communication with industry competitors at all. Given the other measures in place
for preservation of any relevant and potentially responsive material, the subpoena directed
to Mr. Hull is excessive.

Mr. Hull also objects generally to the definition of “Pork Integrator” as overbroad, unduly
burdensome and disproportionate to the circumstances.

Based upon our investigation following receipt of Mr. Hull’s subpoena, we have no reason to
believe that any information potentially relevant to the litigation uniquely resides on Mr.
Hull’s personal cell phone. The cell phone Mr. Hull is currently using is not the same phone
that he had or would have been using during the relevant time period. He no longer has
possession of his prior cell phones. Given these circumstances, any responsive information
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is equally obtainable from the service provider and should not require further response from
Mr. Hull individually.

Enclosed as Exhibit A are additional, specific objections to each of the individual document
requests. Mr. Hull reserves the right to assert additional objections based on any grounds
revealed by any further investigation or review of potentially responsive documents. If you
would like to discuss the substance of these objections or any potential further response,
please feel free to give me a call.

                                          Sincerely,




                                          John Rock, Esq.
                                          Managing Partner


cc: Counsel of record (via email only)




                                             2
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                                            EXHIBIT A
   Specific Objections to Subpoena to Produce Documents, Information, or Objects or to
                    Permit Inspection of Premises Directed to Neal Hull
                                    DOCUMENT REQUESTS
REQUEST 1:           Produce a copy of each Text Message that you sent or received during the
Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:             Mr. Hull objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Hull objects to

this request to the extent it imposes an undue burden on a non-party by seeking “each Text

Message” exchanged with the identified individuals over a ten-year period that ended three years

ago. Mr. Hull further objects to this request to the extent it seeks information equally available

from another source that would be less burdensome and more appropriate under the

circumstances. Subject to and without waiving the foregoing objections, Mr. Hull is not aware of

any documents responsive to this request.

REQUEST 2:           Produce a copy of each contact (e.g., the contact “card”) on your
cellphone who is or was an Employee or Representative of a Pork Integrator, or any other
individual with whom you communicated about supply and demand conditions in the Pork
industry.
OBJECTION:              Mr. Hull objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Hull objects to this request to the extent it

imposes an undue burden on a non-party. Mr. Hull further objects to this request as vague and

ambiguous as the phrase “about supply and demand conditions in the Pork industry” is unclear.
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Subject to and without waiving the foregoing objections, Mr. Hull is not aware of any documents

responsive to this Request.

REQUEST 3:             Documents sufficient to show a list of the installed communications-
related application on Your cellphone, including ephemeral messaging applications (e.g.,
SnapChat, Confide, and Signal), Facebook Messenger, and other such applications.
OBJECTION:             Mr. Hull objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Hull objects to this request to the extent it

imposes an undue burden on a non-party. Subject to and without waiving the foregoing

objections, after conducting a reasonable investigation, Mr. Hull is not aware of any documents

responsive to this request.

REQUEST 4:             Documents sufficient to show any steps you took to preserve data on Your
cellphone(s) since the filing of this lawsuit on June 29, 2018.
OBJECTION:             Mr. Hull objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation.

Subject to and without waiving the foregoing objections, Mr. Hull will produce documents

responsive to this request, if any, identified upon reasonable investigation.

REQUEST 5:             Documents sufficient to show, and provide access to the forensic vendor
for collection purposes, the location, date, and scope of any archived copies of your cellphone
data, such as iTunes archives or iCloud archives.
OBJECTION:             Mr. Hull objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Mr. Hull objects to

this request to the extent it imposes an undue burden on a non-party by seeking all archived

cellphone data over an unreasonably long period of time.
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REQUEST 6:           Documents sufficient to show the type of cellphone, including brand and
model number, of each cellphone you used from [sic] during the Relevant Time Period.
OBJECTION:             Mr. Hull objects to this request as overbroad and unduly burdensome to

the extent it seeks information not relevant to any party’s claims or defenses in this litigation,

and is disproportionate to the needs of the case. Mr. Hull objects to this request to the extent it

imposes an undue burden on a non-party by seeking information related to devices no longer in

his possession or use over an unreasonably long period of time.

REQUEST 7:             If any text messages requested in Request No. 1 above have been deleted
or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances
surrounding such deletion or loss.
OBJECTION:             Mr. Hull objects to this request as vague and ambiguous, and overbroad

and unduly burdensome to the extent it seeks information not relevant to any party’s claims or

defenses in this litigation, and is disproportionate to the needs of the case. Subject to and without

waiving the foregoing objections, after conducting a reasonable investigation, Mr. Hull responds

that he is not aware of the existence of any documents responsive to this request.
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                      EXHIBIT 3
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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


IN RE PORK ANTITRUST                       Civil No. 18-1776 (JRT/HB)
LITIGATION

                                           DIRECT PURCHASER PLAINTIFFS,
                                           CONSUMER INDIRECT
                                           PURCHASER PLAINTIFFS, AND
                                           COMMERCIAL AND
                                           INSTITUTIONAL INDIRECT
                                           PURCHASER PLAINTIFFS’ FIRST
                                           SET OF INTERROGATORIES TO
                                           THE PORK INTEGRATOR
                                           DEFENDANTS
This Document Relates to:

Direct Purchaser, Consumer Indirect
Purchaser, and Commercial and
Institutional Indirect Purchaser Actions




554069.1
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        Pursuant to Federal Rule of Civil Procedure 33, Direct Purchaser Plaintiffs,

Consumer Indirect Purchaser Plaintiffs, and Commercial and Institutional Indirect

Purchaser Plaintiffs (collectively, “Plaintiffs”) hereby request that Defendants Clemens

Food Group, LLC; The Clemens Family Corporation; Hormel Foods Corporation;

Hormel Foods, LLC; Mitsubishi Corporation (Americas); JBS USA Food Company; JBS

USA Food Company Holdings; Seaboard Foods LLC; Seaboard Corporation; Smithfield

Foods, Inc.; Triumph Foods, LLC; Tyson Foods, Inc.; Tyson Prepared Foods, Inc.; and

Tyson Fresh Meats, Inc. (collectively, “Pork Integrator Defendants”) answer the

following Interrogatories separately and fully, in writing and under oath, and in

accordance with the following definitions and instructions, within 30 days of the date of

service.

I.      DEFINITIONS

        The following definitions shall apply to these Interrogatories:

        1.     “And” and “or” are to be read interchangeably so as to give the broadest

possible meaning to a particular Interrogatory or definition in which either or both is

used.

        2.     “Benchmarking Service” means a company to whom You submitted data

on a regular basis concerning the breeding, growing, processing, production, distribution,

or sale of Pork. Examples of some currently known Benchmarking Services include Agri

Stats, Inc. and Agrimetrics.

        3.     “Defendant” means any company, organization, entity or person presently

or subsequently named as a Defendant in this litigation including its predecessors, wholly
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owned or controlled subsidiaries or affiliates, successors, parents, other subsidiaries,

departments, divisions, joint ventures, other affiliates and any organization or entity

managed or controlled by a named Defendant, including those merged with or acquired,

together with all present and former directors, officers, employees, agents, attorneys,

representatives or any persons acting or purporting to act on behalf of a Defendant. The

currently named Defendants in this litigation are: Agri Stats, Inc.; Clemens Food Group,

LLC; The Clemens Family Corporation; Hormel Foods Corporation; Hormel Foods,

LLC; Mitsubishi Corporation (Americas); JBS USA Food Company; JBS USA Food

Company Holdings; Seaboard Foods LLC; Seaboard Corporation; Smithfield Foods, Inc.;

Triumph Foods, LLC; Tyson Foods, Inc.; Tyson Prepared Foods, Inc.; and Tyson Fresh

Meats, Inc.

       4.     “Document” shall have the same meaning as used in Rule 34 of the Federal

Rules of Civil Procedure, and shall be construed in its broadest sense to include, without

limitation, the final form and all drafts and revisions of any paper or other substance or

thing, original or reproduced, and all copies thereof that are different in any way from the

original, on which any words, letters, numbers, symbols, pictures, graphics, or any other

form of information is written, typed, printed, inscribed, or otherwise visibly shown, and

also every other form of stored or recorded information, whether on film, tape, disks,

cards, computer memories, cloud storage, mobile phones or devices, or any other medium

and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not
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to limit) the breadth of this definition, “Document” in this sense includes papers or

objects bearing handwritten notes, material written in Braille, contracts, letters, bills,

telegrams, notes, email, voice mail, text messages, books, desk calendars, memoranda,

envelopes, drafts or partial copies of anything, signs, photographic negatives and prints,

video and audio recordings of all kinds, and the contents of storage media used in data-

processing systems. Documents include “Electronically Stored Information” or “ESI.”

       5.     “Document Custodian” refers to Your employees and/or representatives

who the parties agree, or the Court orders, must have Documents in Your, the

employee’s, and/or representative’s possession, custody, or control collected and

produced in this matter.

       6.     “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on

computers, file servers, disks, the cloud, tape, or other real or virtualized devices or

media, including (without limitation) all examples identified in the definition of “ESI” set

forth in All Plaintiffs’ First Set of Requests for Production of Documents to the Pork

Integrator Defendants, served on November 1, 2018.

       7.     “Identify” means to provide the requested information with particularity.

When used with respect to any entity(ies), “Identify” shall mean to name the entity(ies)

and provide address, contact information, and relevant time period for each, including

sufficient information to identify all individuals affiliated with or participating with the

entity(ies) on Your behalf. When used with respect to a person, “Identify” shall mean to

give the person’s full name, professional title, present or last known address, and
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telephone number. Once a person has been identified in accordance with this instruction,

only the name of that person need be listed in response to subsequent Interrogatories

requesting the identification of that person.

       8.     “Including” should not be construed as limiting an Interrogatory in any way

and therefore means “including, but not limited to,” or “including without limitation.”

       9.     “Industry Meeting” means a Meeting for companies in the Pork industry

and at which the Pork industry is discussed, organized or hosted by an entity other than a

named Defendant, a Defendant’s parent, a Defendant’s subsidiary, or another Pork

Integrator, including at least one named Defendant.

       10.    “Meeting” means, without limitation, any assembly, convocation,

encounter, communication or contemporaneous presence (whether in person or via any

electronic, computer-assisted, digital, analog, video, or telephonic method of

communication) of two or more persons for any purpose, whether planned or arranged,

schedule or not.

       11.    “Person” means, without limitation, any individual, corporation,

partnership or any variation thereof (e.g., limited partnership, limited liability

partnership), limited liability company, proprietorship, joint venture, association, group

or other form of legal entity or business existing under the laws of the United States, any

state, or any foreign country.

       12.    “Pork” means pig or swine meat sold or purchased fresh or frozen, smoked

ham, sausage, and bacon.
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       13.    “Pork Integrator” means Defendants (except Agri Stats), and any non-

Defendant entity that raises, buys, slaughters, and processes pigs to make Pork.

       14.    “Price or Supply Index” refers to a measure of Pork pricing or supply, such

as those run by the United States Department of Agriculture, Express Markets, Inc., and

Urner Barry, including (without limitation) Urner Barry’s COMTELL service.

       15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning”

mean without limitation the following concepts: concerning, constituting, discussing,

describing, reflecting, dealing with, pertaining to, analyzing, evaluating, estimating,

constituting, studying, surveying, projecting, assessing, recording, summarizing,

criticizing, reporting, commenting, or otherwise involving, in whole or in part, directly or

indirectly.

       16.    “Trade Association” means an association of business organizations—or

committee, subcommittee thereof— that promotes the interests of Pork Integrators

relating to Pork and in which two or more Pork Integrators are members, including the

Pork Act Delegate Body, the National Pork Board, the National Pork Producers Council

(“NPPC”), the National Conference (“NPIC”), the 21st Century Pork Club, the North

American Meat Institute (“NAMI”), and the American Meat Institute (“AMI”).

       17.    “You,” “Your” or “Your Company” means the responding Defendant,

including any predecessors, wholly-owned or controlled subsidiaries or affiliates,

successors, parents, other subsidiaries, departments, divisions, joint ventures, other

affiliates and any organization or entity that the responding Defendant manages or

controls, including those merged with or acquired, together with all present and former
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directors, officers, employees, agents, attorneys, representatives or any persons acting or

purporting to act on their behalf.

II.    INSTRUCTIONS

       In addition to the requirements set forth in the Federal Rules of Civil Procedure,

which Plaintiffs incorporate herein, the following instructions apply to the Interrogatories

set forth below, and are incorporated into the Interrogatories as though fully set forth

therein:

       1.      The Interrogatories are continuing in nature and require supplemental

responses if additional information becomes available or is discovered after Your

responses thereto, pursuant to Rule 26(e) of the Federal Rules of Civil Procedure. Each

supplemental response shall be served on Plaintiffs no later than thirty (30) days after the

discovery of the subsequently discovered or obtained information, and in no event shall

any supplemental response be served later than thirty (30) days before the first day of

trial, absent leave of court.

       2.      If You elect to refer to or produce Documents in response to an

Interrogatory pursuant to Federal Rule of Civil Procedure 33(d), You shall identify such

Documents by control or Bates number and shall produce the records as they are kept in

the usual course of business or, alternatively, shall organize and label them to correspond

with the Interrogatory. If the Document is being produced in its native electronic format

(allowing the Document to retain its metadata), You shall identify the Document using its

hash or other appropriate electronic identification and also identify which Interrogatory

or Interrogatories to which the Document is responsive. If the Document is not being
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produced in electronic form, identify the Document using the applicable Bates numbers

or specifically identify the type of Document being produced (e.g., letter, memorandum,

telegram, contract, invoice, etc.), its date and author(s), its custodian, and every person to

whom such Document or any copy thereof was given or sent. For all Documents

produced pursuant to Rule 33(d), identify the name of the employee, officer, or agent

certifying the Documents as business records.

        3.    The Interrogatories shall be answered separately and fully in writing under

oath, unless they are objected to, in whole or in part. If an objection is made to an

Interrogatory or to a part of the Interrogatory, the specific ground for the objection shall

be set forth clearly. If an objection is based on a claim of privilege or other protection,

the particular privilege or protection invoked shall be clearly stated.

        4.    If only a part of the Interrogatory is objected to, the remainder of the

Interrogatory shall be answered in full.

        5.    If an Interrogatory cannot be answered completely, it must be answered to

the fullest extent possible. If You do not have personal knowledge sufficient to respond

fully to the Interrogatory, You shall so state, but shall make a reasonable and good faith

effort to obtain the information by inquiry to other natural persons or organizations.

III.    INTERROGATORIES

        Unless otherwise indicated, the Relevant Time Period for each of the requests

below is from January 1, 2008 through the present.
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INTERROGATORY NO. 1:

       Identify Your corporate structure and ownership, including the names and relevant

ownership interests related to all of Your subsidiaries, parents, and owners.

INTERROGATORY NO. 2:

       Identify any and all joint ventures, alliances, co-packing agreements, partnerships,

or other business agreements in which You participated, that relate to the buying,

processing, packaging, marketing, or selling of Pork.

INTERROGATORY NO. 3:

       Identify each entity or Person who owns 1% or more of You and/or Your

subsidiaries or from whom You collectively borrowed or received funds totaling in

excess of $10 million during the Relevant Time Period, including the amount of such

ownership or funds borrowed or received and the applicable time periods.

INTERROGATORY NO. 4:

       For each Benchmarking Service or Price or Supply Index in which You

participated, describe in detail all information relating to your participation, including

who was involved, the date range of participation, whether participation was voluntary

or mandatory, a description of precisely what information and/or reports You provided

and/or received (and any changes to that information over time), the method by which

you sent or received such data or information, any terms or contractual obligations

relating to Your participation, and how much money you paid to participate in such a

service.
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INTERROGATORY NO. 5:

       Describe any information You received from Agri Stats, Inc. relating to other Pork

Integrators’ breeding, processing, slaughter, production, distribution, or sales data that

was not anonymized or through which you were informed and/or determined the identity

of specific data submitted by another Pork Integrators including, but not limited to, any

unique numeric identifiers or descriptors that permitted the identification of another Pork

Integrator’s data.

INTERROGATORY NO. 6:

       Identify every Industry Meeting and Meeting of a Trade Association attended by a

Document Custodian, including when and where it occurred, the entity or organization

that arranged the meeting, who from Your Company attended, and any documents (e.g.,

agendas, minutes, or notes) that relate to the content of what was discussed at the

meeting.

INTERROGATORY NO. 7:

       Explain in detail any circumstance in which You cancelled, commenced, or altered

a subscription to any of Agri Stats, Inc.’s Pork-related services from January 1, 2003

through the present.

INTERROGATORY NO. 8:

       Explain the process by which the price You sell Pork is determined and identify by

name and title the Persons involved in making that determination, including any

employees and/or representatives.
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INTERROGATORY NO. 9:

       For each of Your Document Custodians, Identify All email addresses, social or

industrial/business web-based media accounts (e.g., Facebook®, Twitter®, LinkedIn®

Instagram®, Snapchat®, Cluster, or WhatsApp), cellular phone numbers, office phone,

and facsimile numbers, or other telephone numbers (and applicable phone carriers for

each telephone number) used by each such employee regarding or relating to his work for

You.

INTERROGATORY NO. 10:

       For each of Your Document Custodians, Identify the device manufacturer, device

model, and IMEI (where applicable) of all cellphone devices, personal computer(s), and

similar devices (iPad, Microsoft Surface, etc.) used by each such Document Custodians

regarding or relating to his or her work for You during the Relevant Time Period,

specifying the date range when each device was in use, the method by which its data was

backed up or archived (if any), and whether or not the device still exists.
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DATED: November 20, 2020


/s/ Bobby Pouya                          /s/ Arielle S. Wagner
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Clifford H. Pearson (Pro Hac Vice)        W. Joseph Bruckner (MN #0147758)
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   CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 176 of 639




/s/ Shana E. Scarlett                     /s/ Shawn M. Raiter
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Co-Lead Counsel for Consumer Indirect
Purchaser Plaintiffs
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                      DECLARATION OF SERVICE BY E-MAIL
       I, the undersigned, declare:
       That declarant is and was, at all times herein mentioned, a resident of the United
States and employed in the City of Berkeley, in the County of Alameda, over the age of
18 years, and not a party to or interested party in the within action; that declarant’s
business address is 715 Hearst Avenue, Suite 202, Berkeley, California 94710.
       That on November 20, 2020, I served by e-mail, DIRECT PURCHASER
PLAINTIFFS, CONSUMER INDIRECT PURCHASER PLAINTIFFS, AND
COMMERCIAL AND INSTITUTIONAL INDIRECT PURCHASER PLAINTIFFS’
FIRST SET OF INTERROGATORIES TO THE PORK INTEGRATOR DEFENDANTS
to the parties listed on the attached Service List.
       I declare under penalty of perjury that the foregoing is true and correct. Executed
this 20th day of November 2020, at Berkeley, California.

                                                          s/ Jeaneth Decena
                                                          JEANETH DECENA
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     Defendant                Name                            Email Address
Agri Stats          Justin Bernick         justin.bernick@hoganlovells.com
                    Tripp Monts            william.monts@hoganlovells.com
                    Peter Walsh            peter.walsh@hoganlovells.com
                    Liam Phibbs            liam.phibbs@hoganlovells.com
                    Olga Fleysh            olga.fleysh@hoganlovells.com
Clemens             Dan Laytin             dlaytin@kirkland.com
                    Christa Cottrell       ccottrell@kirkland.com
                    Christina Briesacher   christina.briesacher@kirkland.com
                    Christina Sharkey      christina.sharkey@kirkland.com
                    Adam Collins           adam.collins@kirkland.com
                    Mark Johnson           mjohnson@greeneespel.com
                    Virginia McCalmont     vmccalmont@greeneespel.com
Hormel              Richard Duncan         Richard.Duncan@FaegreDrinker.com
                    Aaron Van Oort         Aaron.VanOort@FaegreDrinker.com
                    Craig Coleman          Craig.Coleman@FaegreDrinker.com
                    Emily Chow             Emily.Chow@FaegreDrinker.com
                    Isaac Hall             Isaac.Hall@FaegreDrinker.com
                    Anna Sallstrom         anna.sallstrom@FaegreDrinker.com
                    Bryan Washburn         Bryan.Washburn@FaegreDrinker.com
Indiana Packers     Britt Miller           BMiller@mayerbrown.com
                    William Stallings      WStallings@mayerbrown.com
                    Bob Entwisle           rentwisle@mayerbrown.com
                    Priya Desai            PDesai@mayerbrown.com
                    Jaime Stilson          stilson.jaime@dorsey.com
JBS                 Stephen Neuwirth       stephenneuwirth@quinnemanuel.com
                    Michael Carlinsky      michaelcarlinsky@quinnemanuel.com
                    Sami Rashid            samirashid@quinnemanuel.com
                    Richard Vagas          richardvagas@quinnemanuel.com
                    Robert Vance, Jr.      bobbyvance@quinnemanuel.com
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                    Anais Berland          anaisberland@quinnemanuel.com
                    Michael Guerrero       michaelguerrero@quinnemanuel.com
                    Donald Heeman          dheeman@spencerfane.com
                    Jessica Nelson         jnelson@spencerfane.com
                    Randi Winter           rwinter@spencerfane.com
                    Angela McClintic       amcclintic@spencerfane.com
Seaboard            William Greene         william.greene@stinson.com
                    Nicci Warr             nicci.warr@stinson.com
                    Peter Schwingler       peter.schwingler@stinson.com
                    Zach Hemenway          zachary.hemenway@stinson.com
                    Jon Woodruff           jon.woodruff@stinson.com
Smithfield          Richard G. Parker      rparker@gibsondunn.com
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    Defendant              Name                           Email Address
                  Josh Lipton           jlipton@gibsondunn.com
                  Brian Robison         brobison@gibsondunn.com
                  Rachel Robertson      rrobertson@gibsondunn.com
                  Stephanie Pearl       spearl@gibsondunn.com
                  Pooja Patel           PPatel@gibsondunn.com
                  John Cotter           jcotter@larkinhoffman.com
                  John Kvinge           jkvinge@larkinhoffman.com
                  Cara Fitzgerald       cfitzgerald@gibsondunn.com
Triumph           Aaron Chapin          aaron.chapin@huschblackwell.com
                  Gene Summerlin        gene.summerlin@huschblackwell.com
                  Marnie Jensen         marnie.jensen@huschblackwell.com
                  Ryann Glenn           ryann.glenn@huschblackwell.com
                  Kamron Hasan          kamron.hasan@huschblackwell.com
                  Sierra Faler          sierra.faler@huschblackwell.com
                  Administration        LegalSupportTeam-Law-
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Tyson             Rachel Adcox          radcox@axinn.com
                  Tiffany Rider         trider@axinn.com
                  Lindsey Strang        lstrang@axinn.com
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                  David Graham          DGraham@dykema.com
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                  Madeline Greathouse   mgreathouse@axinn.com
                  Jarod Taylor          jtaylor@axinn.com
                  Daniel Leon           dleon@axinn.com
                  Jetta Sandin          jsandin@axinn.com
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                      EXHIBIT 5
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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


In re Pork Antitrust Litigation          Case No. 0:18-cv-01776-JRT-HB


                                       ALL PLAINTIFFS’ FIRST SET OF
This Document Relates To:              REQUESTS FOR PRODUCTION OF
                                       DOCUMENTS TO THE PORK
All Actions                            INTEGRATOR DEFENDANTS




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           Pursuant to Federal Rules of Civil Procedure 26 and 34, Direct Purchaser

Plaintiffs, Consumer Indirect Purchaser Plaintiffs, and Commercial and Institutional

Indirect Purchaser Plaintiffs (collectively, “Plaintiffs”) hereby request that Defendants

Clemens Food Group, LLC; The Clemens Family Corporation; Hormel Foods

Corporation; Hormel Foods, LLC; Indiana Packers Corporation; Mitsubishi Corporation

(Americas); JBS USA Food Company; JBS USA Food Company Holdings; Seaboard

Foods LLC; Seaboard Corporation; Smithfield Foods, Inc.; Triumph Foods, LLC; Tyson

Foods, Inc.; Tyson Prepared Foods, Inc.; and Tyson Fresh Meats, Inc. produce the

documents and things herein requested within 30 days at the offices of Lockridge Grindal

Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200, Minneapolis, MN 55401, or

such other time and place as may be agreed upon by counsel. Pursuant to Federal Rule of

Civil Procedure 34(b), unless otherwise specified, all documents must be organized and

labeled to correspond to the categories in the associated document request. Corrections

and supplemental answers and production of documents are required as provided for in

the Federal Rules of Civil Procedure.

                                        DEFINITIONS

           The following definitions shall apply to these document requests:

           1.    “And” and “or” are to be read interchangeably so as to give the broadest

possible meaning to a particular request in which either or both is used.

           2.    “Communication” or “Communicated” means, without limitation, any

exchange of thoughts, messages, or information, as by speech, signals, writing, or

behavior, including but not limited to, any advice, advisement, announcement,


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articulation, assertion, contact, conversation, written or electronic correspondence,

declaration, discussion, dissemination, elucidation, expression, interchange, memoranda,

notes, publication, reception, revelation, talk, transfer, transmission, or utterance. The

phrase “communication between” is defined to include instances where one party

addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output,

capacity, sales, demand, supply, imports, exports, or market shares.

           4.   “Complaints” means Direct Purchaser Plaintiffs’ First Amended and

Consolidated Class Action Complaint, Case No. 18-cv-1803 (ECF No. 83); Consumer

Indirect Purchaser Plaintiffs’ Consolidated Class Action Complaint, Case No. 18-cv-1776

(ECF No. 74); and Commercial and Institutional Indirect Purchasers Plaintiffs’ First

Amended and Consolidated Class Action Complaint, Case No. 18-cv-1891 (ECF No. 63).

           5.   “Creditor Conference” means a conference or event relating to Pork that is

organized or hosted by a company that provides credit or loan financing for Pork

Integrators or a Pork Integrator’s contract farmers.

           6.   “Creditor Representative” means an employee of a non-Defendant

company that provides credit or loan financing to a Pork Integrator for its Pork-related

business or to a Pork Integrator’s contract farmers for the contract farmers’ Pork-related

business who has a direct role in providing financing to a Pork Integrator for its Pork-

related business or a Pork Integrator’s contract farmers for the contract farmers’ Pork-

related business on behalf of that company.




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           7.   “Defendant” means any company, organization, entity or person presently

or subsequently named as a Defendant in this litigation including its predecessors, wholly

owned or controlled subsidiaries or affiliates, successors, parents, other subsidiaries,

departments, divisions, joint ventures, other affiliates and any organization or entity

managed or controlled by a named Defendant, including those merged with or acquired,

together with all present and former directors, officers, employees, agents, attorneys,

representatives or any persons acting or purporting to act on behalf of a Defendant. The

currently named Defendants in this litigation are: Agri Stats, Inc.; Clemens Food Group,

LLC; The Clemens Family Corporation; Hormel Foods Corporation; Hormel Foods,

LLC; Indiana Packers Corporation; Mitsubishi Corporation (Americas); JBS USA Food

Company; JBS USA Food Company Holdings; Seaboard Foods LLC; Seaboard

Corporation; Smithfield Foods, Inc.; Triumph Foods, LLC; Tyson Foods, Inc.; Tyson

Prepared Foods, Inc.; and Tyson Fresh Meats, Inc.

           8.   “Document” shall have the same meaning as used in Rule 34 of the Federal

Rules of Civil Procedure, and shall be construed in its broadest sense to include, without

limitation, the final form and all drafts and revisions of any paper or other substance or

thing, original or reproduced, and all copies thereof that are different in any way from the

original, on which any words, letters, numbers, symbols, pictures, graphics, or any other

form of information is written, typed, printed, inscribed, or otherwise visibly shown, and

also every other form of stored or recorded information, whether on film, tape, disks,

cards, computer memories, cloud storage, mobile phones or devices, or any other medium

and/or device whereby stored information can, by any means whatsoever, be printed or


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otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not

to limit) the breadth of this definition, “document” in this sense includes papers or objects

bearing handwritten notes, material written in Braille, contracts, letters, bills, telegrams,

notes, email, voice mail, text messages, books, desk calendars, memoranda, envelopes,

drafts or partial copies of anything, signs, photographic negatives and prints, video and

audio recordings of all kinds, and the contents of storage media used in data-processing

systems. Documents include ESI as defined in these requests. Each and every draft of a

Document is a separate Document for purposes of these document requests.

           9.       “Document Custodian” refers to Your employees and/or representatives

who the parties agree, or the Court orders, must have Documents in Your, the

employee’s, and/or Representative’s possession, custody, or control collected and

produced in this matter.

           10.      “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on

computers, file servers, disks, the cloud, tape, or other real or virtualized devices or

media. Non-limiting examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls,
                    voice mail, text messaging, instant messaging, and ephemeral messaging
                    (SnapChat, Confide, Signal, etc.));
                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange
                    .EDB);
                   Word processed documents (e.g., MS Word or WordPerfect files and
                    drafts);



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                    Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);
                    Accounting Application Data (e.g., QuickBooks, Money, Peachtree data);
                    Image and Facsimile Files (e.g., .PDF, .TIFF, .JPG, .GIF images);
                    Sound Recordings (e.g., .WAV and .MP3 files);
                    Video and Animation (e.g., .AVI and .MOV files);
                    Unstructured Data;
                    Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);
                    Contact and Relationship Management Data (e.g., Outlook, ACT!);
                    Calendar and Diary Application Data (e.g., Outlook PST, blog entries);
                    Online Access Data (e.g., Temporary Internet Files, History, Cookies);
                    Presentations (e.g., PowerPoint, Corel Presentations);
                    Network Access and Server Activity Logs;
                    Project Management Application Data;
                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of
                     iPhone content); and
                    Cloud based or other virtualized ESI, including application, infrastructure
                     and data.
           11.       “Employee” means, without limitation, any Person that You employ or

employed during the Relevant Time Period.

           12.       “Including” is used to emphasize certain types of Documents requested and

should not be construed as limiting the request in any way. Including therefore means

“including, but not limited to,” or “including without limitation.”

           13.       “Industry Analyst” means a Person, other than an employee of a Defendant,

a Defendant’s parent, a Defendant’s subsidiary, or another Pork Integrator, who analyzes

Pork Integrators for the purpose or with the effect of advising clients on investment in

Pork Integrators.




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           14.   “Industry Meeting” means a meeting for companies in the Pork industry

and at which the Pork industry is discussed, organized or hosted by an entity other than a

named Defendant, a Defendant’s parent, a Defendant’s subsidiary, or another Pork

Integrator, and attended by two or more Pork Integrators, including at least one named

Defendant.

           15.   “Management” means a Defendant’s (a) Board of Directors, (b) officers, (c)

CEO, CFO, COO, or President, and (d) senior executives.

           16.   “Meeting” means, without limitation, any assembly, convocation,

encounter, communication or contemporaneous presence (whether in person or via any

electronic, computer-assisted, digital, analog, video, or telephonic method of

communication) of two or more persons for any purpose, whether planned or arranged,

scheduled or not.

           17.   “Named Plaintiffs” means those individuals or entities listed as plaintiffs in

the Complaints, and any entities subsequently added as named plaintiffs in this matter.

           18.   “Person”   means,    without    limitation,   any   individual,   corporation,

partnership or any variation thereof (e.g., limited partnership, limited liability

partnership), limited liability company, proprietorship, joint venture, association, group

or other form of legal entity or business existing under the laws of the United States, any

state, or any foreign country.

           19.   “Plaintiffs” refers to Direct Purchaser Plaintiffs, Consumer Indirect

Purchaser Plaintiffs, and Commercial and Institutional Indirect Purchaser Plaintiffs.




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           20.   “Policy” or “Procedure” means any rule, practice or course of conduct,

guidelines or business methods or traditions whether formal or informal, written or

unwritten, recorded or unrecorded, which was recognized or followed, explicitly or

implicitly, by You.

           21.   “Pork” means pig or swine meat sold or purchased fresh or frozen, smoked

ham, sausage, and bacon.

           22.   “Pork Farm” means any farm where pigs are raised for eventual slaughter

and processing as Pork. This includes farrow-to-finish operations (which raise pigs from

birth to slaughter weight), feeder pig producer operations (which raise pigs from birth to

about 10-60 pounds), and feeder pig finisher operations (which buy feeder pigs and grow

them to slaughter weight).

           23.   “Pork Grower” means any person or facility that raises pigs for eventual

slaughter and processing as Pork. This includes farrow-to-finish operations (which raise

pigs from birth to slaughter weight), feeder pig producer operations (which raise pigs

from birth to about 10-60 pounds), and feeder pig finisher operations (which buy feeder

pigs and grow them to slaughter weight).

           24.   “Pork Integrator” means Defendants (except Agri Stats) and any non-

Defendant entity that raises, buys, slaughters, and processes pigs to make Pork.

           25.   “Pork Processing Facility” means a slaughter and/or packing facility where

pigs are slaughtered, processed, or prepared to be sold as Pork.

           26.   “Pork Supply Factors” refers to the ways in which Defendants control the

supply of Pork, including capacity reductions, controlling slaughter rates, and exports.


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           27.   “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning”

mean without limitation the following concepts: concerning, constituting, discussing,

describing, reflecting, dealing with, pertaining to, analyzing, evaluating, estimating,

constituting, studying, surveying, projecting, assessing, recording, summarizing,

criticizing, reporting, commenting, or otherwise involving, in whole or in part, directly or

indirectly. Documents are considered relating to the subject matter whether they are

viewed alone or in combination with other Documents.

           28.   “Representative” shall mean any and all agents, employees, servants,

consultants, officers, directors, or other persons authorized to act on Your behalf.

           29.   “Sales Personnel” refers to an employee of a Defendant whose primary job

responsibilities include selling that Defendant’s Pork to customers in the United States or

from the United States to customers outside the United States, as well as any agent or

representative authorized by that Defendant to sell its Pork on its behalf.

           30.   “Structured Data” or “Structured Database” refers to data stored in a fixed

field within a database or other structured record or file according to specific form and

content rules as defined by each field.

           31.   “Studies” or “Analyses” include written presentations or summaries of

researched information and/or compiled data and conclusions derived from such

information and/or data.

           32.   “Telephone Record” means any record of the originating and terminating

phone numbers for a particular phone call or facsimile transmission, such as the monthly




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bill that telephone carriers such as AT&T, CenturyLink, and numerous other telephone

carriers provide on a monthly basis.

           33.   “Trade Association” means an association of business organizations that

promotes the interests of Pork Integrators relating to Pork and in which two or more Pork

Integrators are members, including the Pork Act Delegate Body, the National Pork

Board, the National Pork Producers Council (“NPPC”), the National Conference

(“NPIC”), the 21st Century Pork Club, the North American Meat Institute (“NAMI”),

and the American Meat Institute (“AMI”).

           34.   “United States” or “U.S.” means each of the 50 states, the District of

Columbia, and the commonwealths, territories, and possessions of the United States.

           35.   “Unstructured Data” is data that does not conform to a specific, pre-defined

data model, it may be human generated and in various formats that fit into structured

database tables and columns. Common examples include, but not are limited to, word

processing documents, emails, blogs, social media extracts, tweets, picture captions, GPS

data, and others of similar variable formats.

           36.   “You,” “Your” or “Your company” mean the responding Defendant,

including its predecessors, wholly owned or controlled subsidiaries or affiliates,

successors, parents, other subsidiaries, departments, divisions, joint ventures, other

affiliates and any organization or entity that the responding Defendant manages or

controls, including those merged with or acquired, together with all present and former

directors, officers, employees, agents, attorneys, representatives or any persons acting or

purporting to act on their behalf.


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                           SPECIFIC DOCUMENT REQUESTS

           The “Relevant Time Period” for these requests is January 1, 2008, through and

including August 17, 2018, unless otherwise noted.

 REQUEST NO. 1:            All Documents relating to competition in the Pork industry

produced to the Department of Justice, Federal Trade Commission, U.S. Department of

Agriculture, U.S. Securities & Exchange Commission, states’ attorneys general, or other

government agencies or regulators voluntarily or pursuant to any civil investigative

demand, grand jury subpoena, or other investigative request.

 REQUEST NO. 2:            Documents sufficient to show Your corporate organizational

structure throughout the Relevant Time Period, including, but not limited to, departments,

divisions, parents, subsidiaries, joint ventures, affiliates, units or other subdivisions that

had any role at any time during the Relevant Time Period in the production, processing,

distribution, marketing, pricing or sale of Pork.

 REQUEST NO. 3:            All Documents or Communications between You and any other

Defendant or Pork Integrator, relating to Competitive Conditions in the Pork Industry.

 REQUEST NO. 4:            All Communications and Documents relating to the scheduling,

attendance, or otherwise referencing any in-person, telephonic, or other meeting between

You and any other Defendant or Pork Integrator.

 REQUEST NO. 5:            For each Document Custodian, all:

           a)    electronic and hard copy diaries, calendars, appointment books or notes,
                 notebooks, or to-do lists ;

           b)    contact information maintained in electronic or hard copy format, for any
                 Person who is or was: (i) an owner, employee, consultant, officer, board


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                member, Representative, or agent of a Pork Integrator or Agri Stats; (ii) a
                Creditor Representative or Industry Analyst; (iii) an employee of a Trade
                Association; or (iv) an employee of any entity that falls within the
                definition of Industry Meeting.

           c)   trip and travel logs and records, expense reports, and entertainment reports,
                including any other supporting Documents;

           d)   bills, statements, records, and supporting Documents concerning local, long
                distance, and cellular telephone calls by such employees, including calls
                made using telephones not paid for by You (such as home office, fax, and
                personal telephone numbers, personal cellphones, and temporary pay-as-
                you go cellphones) if such telephones were used for business purposes;

           e)   Documents relating to membership in any Trade Association or industry
                group or attendance at any Trade Association, Industry Meeting or Creditor
                Conference, including announcements, membership lists, presentations
                (including speaker notes), agendas, minutes, notes, attendance lists, and
                correspondence;

           f)   a copy of the Person’s most recently created resume or curriculum vitae
                (CV);

           g)   copies of any transcripts or recordings of prior testimony relating to
                Competitive Conditions in the market for Pork, such as testimony at a
                deposition, trial, or public hearing;

           h)   Documents sufficient to show the Document Custodian’s complete contact
                information, including all phone numbers, social media user names or
                “handles,” and email addresses used by such persons for any business
                purposes, even if only sparingly; and

           i)   Any severance agreements in connection with the Document Custodian
                ceasing employment or changing employment status with You (without
                time limitation).

 REQUEST NO. 6:           Copies of all Telephone Records in your possession, custody, or

control, including Telephone Records of your main phone number(s), main fax

number(s), and any phone number used as a switchboard for any of your relevant




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facilities such as your headquarters, administrative offices, Pork Farms, Pork Processing

Facilities, and Pork sales offices.

 REQUEST NO. 7:           All Documents relating to Communications with investors,

Industry Analysts, benchmarking services, and/or Creditor Representatives regarding

Competitive Conditions in the Pork industry.

 REQUEST NO. 8:           All Documents and Communications regarding the terms of all

purchases, sales, trades, exchanges, or swaps of Pork between You and any other Pork

Integrator, including any contracts, co-packing agreements, joint ventures, other

agreements (whether formal or informal), and any contemplated, proposed, or actual bids.

 REQUEST NO. 9:           All Documents relating to budgets, projections, estimates, or

related studies, presentations, or reports regarding Pork regularly prepared or received by

Your current or former directors, officers, or Management on a regular basis (weekly,

monthly, quarterly, or annually) regarding the following topics:

           a.   cost and/or cost accounting reports (including, production, sale and
                distribution);

           b.   audited or unaudited financial statements (including all appendices);

           c.   cost and supply of raw material and/or inputs, including any back-
                integration of raw materials, swaps or sales of raw materials with other
                Pork Integrators, or hedging of purchased raw materials and/or inputs for
                Pork;

           d.   distribution channels for Pork;

           e.   export markets for Pork including a breakdown of country of destination
                and product form;

           f.   Pork product information regarding the types and product forms of Pork
                sold by You;



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           g.   forecasted, projected, estimated, planned, or actual demand for Pork;

           h.   demand changes or demand fluctuations for Pork sold in the U.S.; and

           i.   profits, revenues, and loss information on Pork produced or sold in the U.S.
                identified on a (i) consolidated basis; (ii) product line or product category
                basis; and/or (iii) facility-by-facility basis (including, but not limited to,
                gross profits, operating profits, net profits, cash flow reports, and
                EBITDA).

REQUEST NO. 10:            Documents sufficient to show industry-wide standards of

products and definitions or descriptions of standards for Pork.

REQUEST NO. 11:            Documents sufficient to show actual or potential substitutes for

Pork, or the elasticity of supply, demand, or price of Pork, analyzed by You during the

Class Period (including the effect of such substitutes’ prices upon Pork pricing, purchase

terms, or profits).

REQUEST NO. 12:            All Documents concerning the costs of and potential obstacles to

entering the Pork market, including, but not limited to, capital costs, environmental

regulations, production costs, marketing costs and difficulties, contractual supply

relationships, market conditions, brand loyalty or differentiation, start-up costs, and any

other difficulties or obstacles to entry into the market for producing and selling Pork.

REQUEST NO. 13:            All Documents concerning the identity of any actual or potential

entrant(s) into the Pork market and any barriers, obstacles or difficulties facing the actual

or potential entrant(s).

REQUEST NO. 14:            All Documents utilized or generally referred to by Your

Management or Sales Personnel for quoting, changing, or setting the prices or the terms

and conditions for sale of Pork, including pricing guidelines, pricing methods, pricing


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formulas, procedures or authorization procedures for Sales Personnel to quote a price,

price changes, price lists, pricing policies, violations of pricing policies and Documents

providing guidance to Sales Personnel about implementation of price changes.

REQUEST NO. 15:          All Documents relating to or communicating Pork price

announcements, price changes, explanations of the reasons for price changes, price lists,

pricing policies, pricing guidelines, pricing methods, pricing formulas, analysis of market

prices, monitoring of competitor pricing, price changes of Pork produced or sold in the

U.S. (including price announcements or explanations of the reasons for price changes),

price increase and surcharge announcements, and any other Communications concerning

Pork price increases or the imposition of surcharges.

REQUEST NO. 16:          All Documents or Communications relating to or exchanged with

Agri Stats or its affiliates (including Express Markets, Inc.), including any consideration

of the risks and/or benefits of providing information to or receiving information from

Agri Stats, the anonymity of individual Pork Integrator data received from Agri Stats, any

reverse-engineering processes employed by You to de-anonymize Agri Stats data, any

contracts or agreements with Agri Stats, any presentations, Communications, or meeting

minutes received from or provided to Agri Stats, and all copies of reports received from

Agri Stats.

REQUEST NO. 17:          All Documents or Communications relating to meetings with

Agri Stats or its affiliates (including Express Markets, Inc.).

REQUEST NO. 18:          All Documents relating to Competitive Conditions in the market

for Pork, including reports, presentations, industry publications, business plans, studies,


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analyses, or other Documents concerning forecasted, projected, estimated, planned or

actual: (i) market shares; (ii) consolidation, mergers, acquisitions, or joint ventures; (iii)

production or processing capacity, capacity reduction, capacity utilization, or operating

rates; (iv) fixed or variable costs; (v) pricing; (vi) inventories; (vii) entry or exit

conditions; (viii) inventories; (ix) supplies/supply trends; (x) data, publications, or other

sources used in the regular course of business by You to monitor Pork demand in the

United States; (xi) substitute products; (xii) exports; (xiii) raw materials; (xiv) Pork

Supply Factors; or (xv) other industry statistics.

REQUEST NO. 19:          All Documents concerning Pork supply rationalization, industry

leadership, industry discipline, production discipline, supply discipline, capacity

discipline, or other so-called disciplined approaches or practices relating to the Pork

industry.

REQUEST NO. 20:          Documents concerning the porcine epidemic diarrhea virus and

its impact on Pork production.

REQUEST NO. 21:          All   Documents      and    Communications       relating   to   any

benchmarking or information sharing services relating to Pork industry profitability,

pricing, production, or supply other than Agri Stats or Express Markets, Inc.

REQUEST NO. 22:          Documents sufficient to identify any tentative, proposed or

consummated sale, acquisition, merger, joint venture, divestiture, transfer of assets, spin-

off, or any other form of change of ownership or control or business combination

concerning any Pork-related business, production facilities, product lines, or other assets

(including both businesses or assets owned or controlled by You and those owned or


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controlled by other Persons), and any minutes, notes, reports, studies, analysis,

presentations, expert or market participant comments, and any analysis or other

information submitted to or received from any governmental agency.

REQUEST NO. 23:         All Documents and Communications relating to the immediately

prior Request that reflect the disclosure of any non-public information to another Pork

Integrator concerning Pork Supply Factors, Pork pricing, or any future Pork supply plans,

including documents made available to You or by You through an electronic “data room”

associated with a proposed transaction.

REQUEST NO. 24:         All Documents relating to public announcements, press releases,

or corporate Communications by You concerning Competitive Conditions for Pork.

REQUEST NO. 25:         All Documents relating to compliance policies, whether

implemented, adopted, used or considered, concerning federal, state, or international

antitrust laws, competition laws, anti-monopoly laws, anti-cartel laws, unfair competition

laws, anti-bribery laws and any similar laws or regulations, or contacts and/or

Communications with Your competitors (including current and former versions of

compliance policies and procedures, presentations, seminars, programs, memos,

statements signed by Your employees with responsibility for Pork that acknowledge

receipt of or compliance with such policies arising from or relating to any prior legal

proceedings), and all Documents relating to any inquiries or investigations concerning

compliance with such policies including those listed in the prior Request.

REQUEST NO. 26:         All Documents relating to the Named Plaintiffs.




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REQUEST NO. 27:          Documents relating to actions to conceal or avoid detection of

any potential violations of federal, state, or international antitrust laws, competition laws,

anti-monopoly laws, anti-cartel laws, unfair competition laws, anti-bribery laws and any

similar laws, rules or regulations (including the use of code words or otherwise masking

the identity of any Person or entity, meeting in locations or communicating at times or via

methods with the intent to avoid detection by any Person or entity, using non-traceable

prepaid calling cards or cellphones, non-contract or disposable cell phones, placing calls

from public phones, and destroying, secreting, altering or forging Documents).

REQUEST NO. 28:          All Documents necessary to understand the operation of any of

the computer hardware and systems, software, Structured Databases, ESI, database,

storage, backup and archiving systems and Communications systems and devices

information requested herein (including, but not limited to, Documents describing or

defining the fields contained in any such database file naming conventions and

standards); user manuals; Help features or documentation; password, encryption, and

other security protocols; diskette, CD, DVD, and other removable media labeling

standards; email storage conventions, e.g., limitations on mailbox sizes/storage locations;

schedule and logs for storage; software and hardware upgrades (including patches) for the

Relevant Time Period (including who and what organization conducted such upgrades);

and Backup tape rotation.

REQUEST NO. 29:          Documents sufficient to identify and describe Your computer

hardware and systems (including email systems), software, ESI, Structured Databases,

storage, backup and archiving systems and Communications systems and devices used in


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connection with Documents called for by production of these Requests for Production,

including data maps, data dictionaries, explanations of information contained in each

system or database, and document retention policies.

REQUEST NO. 30:         All Documents referenced or relied upon in responding to any

Interrogatory served by any party in this Action.

REQUEST NO. 31:         Documents sufficient to show all forms of Your contracts and

invoices, and any summaries of the terms, with contract farmers or Pork Growers.

REQUEST NO. 32:         All contracts, and any summaries of the terms (including

duration, price protection, terms for price modification, surcharges, discounts, or rebates)

for the sale of Pork in the U.S. to Your customers.

REQUEST NO. 33:         All Documents relating to any decision to change the pricing

terms for Your customers’ contracts for Pork, including any analyses regarding changes

from fixed-price to adjustable price provisions.

REQUEST NO. 34:         All Documents relating to complaints received from any Pork

customer regarding prices, pricing, or terms or conditions of sale or the refusal or failure

to supply Pork and any responses thereto, and all Documents reflecting any policy of

Your company concerning the handling of such complaints.

REQUEST NO. 35:         For the period January 1, 2005 through the present, Documents

sufficient to identify all of Your Pork Growers, Pork Farms, and Pork Processing

Facilities.

REQUEST NO. 36:          Structured Data regarding the terms of all purchases, sales,

trades, exchanges, or swaps of Pork between You and any other Pork Integrator,


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including any contracts, co-packing agreements, joint ventures, and/or other agreements,

whether formal or informal.

REQUEST NO. 37:          For the time period from January 1, 2003 through the present,

Structured Data sufficient to show, for each U.S. Pork sale, the categories of information

listed below, and Documents sufficient to understand all data fields, codes, or other fields

on the invoice. Plaintiffs request this information in the most disaggregated form

(meaning at the transactional level, not aggregated by month or quarter) in which it is

kept, and Defendants should produce the data in a comma-delimited text file (e.g., a file

with a file extension of .csv or .txt). If You maintain separate or distinct sets of such data

for internal purposes, Agri Stats reporting purposes, or any other purpose, Plaintiffs’

request is for each separate set of data for the categories of information listed below.

              a.     the terms of each sale;

              b.     the invoice number;

              c.     the purchase order number;

              d.     the location from which the Pork was shipped;

              e.     the customer’s name, phone number(s), address(es), email
                     address(es), including the identity of the customer that was billed
                     and the location to which the Pork was shipped;

              f.     the date You shipped the Pork, the date You billed for the Pork, and
                     the date the customer took delivery;

              g.     the grade, cut, product form, and/or type of Pork, including any
                     product numbers, unique purchaser-specific identifier, any
                     description of characteristics, and product descriptions sold for each
                     transaction;

              h.     the quantity (and units of measure) for each sale;



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             i.    all pricing information concerning the sale, including shipping, tax,
                   or similar charges, and the gross and net unit price for each item in
                   the sale;

             j.    the currency in which the sale was billed and paid;

             k.    any discounts, rebates, credits, freight allowances, returns, free
                   goods, and/or services or any other pricing adjustment for each sale,
                   with sufficient information to attribute these adjustments to
                   individual sales;

             l.    if a resale, the Supplier of each Pork sold in connection with each
                   sale;

             m.    the price You paid Your Supplier for each type of Pork sold in
                   connection with each sale, including gross and net aggregate and
                   per-unit prices;

             n.    any fixed or variable costs or costs of goods sold concerning the sale
                   (including freight charge and transportation cost, sales and
                   distribution cost, raw materials, intermediates, marketing or sales
                   cost, and any other cost attributed or allocated to the sale);

             o.    for any sale or purchase from another Pork Integrator, Electronic
                   Data Interchange fields for which the user can freely enter text, such
                   as “comments” or similar fields;

             p.    any Structured Database field summarizing terms of sale or
                   agreements or contracts for customers;

             q.    any other data available in Your database Concerning the purchase,
                   sale or distribution of the Pork for each sale.

REQUEST NO. 38:         Documents sufficient to show Your policies regarding rebates,

surcharges, credits, discounts, or other special price arrangements relating to pork,

including:

             a.    Structured Data of any marketing funds or rebate payments made to
                   downstream purchasers of Pork, including:

                   1.      Date of payment;
                   2.      Period over which payment applies;



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                     3.     Name and description of program (e.g., volume rebate or
                     discounts);
                     4.     Payment amount;
                     5.     Information pertaining to which customer the rebate applied
                     to;
                     6.     Total purchase dollars and volume of Pork on which basis the
                     rebate is paid.

              b.     Any supplier agreements or other Documents describing the terms of
                     the program.

REQUEST NO. 39:         Documents sufficient to describe in detail the Pork products You

sold, marketed, or distributed from January 1, 2003 through the present, including any

variations relating to brand name, physical properties and characteristics, packaging,

product form, cut, further processing, grade, specialty products and any other factors

influencing price.




Dated: November 1, 2018                  Respectfully submitted,


                                                 /s/ Brian D. Clark
                                         W. Joseph Bruckner (MN #0147758)
                                         Elizabeth R. Odette (MN #0340698)
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                                     Interim Co-Lead Class Counsel for Direct
                                     Purchaser Plaintiffs


DATED: November 1, 2018              HAGENS BERMAN SOBOL SHAPIRO LLP
                                     By:     /s/ Shana Scarlett
                                            Shana E. Scarlett

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                                     Telephone: (510) 725-3000


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                                     Interim Co-Lead Counsel for Consumer
                                     Indirect Purchaser Plaintiffs




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DATED: November 1, 2018              LARSON • KING, LLP
                                     By:    /s/ Shawn M. Raiter
                                           Shawn M. Raiter

                                     Shawn M. Raiter (MN# 240424)
                                     LARSON • KING, LLP
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                                     30 East Seventh Street
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                                     Joel Davidow
                                     Blaine Finley
                                     CUNEO GILBERT & LADUCA, LLP
                                     4725 Wisconsin Ave. NW, Suite 200
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                               CERTIFICATE OF SERVICE

           I, Brian D. Clark, hereby affirms that on November 1, 2018, I caused a true and

correct copy of ALL PLAINTIFFS’ FIRST SET OF REQUESTS FOR

PRODUCTION             OF     DOCUMENTS            TO   THE    PORK      INTEGRATOR

DEFENDANTS to be served on counsel listed on the attached schedule via email.

Dated: November 1, 2018                    Respectfully submitted,


                                           s        /s/ Brian D. Clark
                                           W. Joseph Bruckner (MN #0147758)
                                           Elizabeth R. Odette (MN #0340698)
                                           Brian D. Clark (MN #0390069)
                                           Arielle S. Wagner (MN #0398332)
                                           LOCKRIDGE GRINDAL NAUEN P.L.L.P.
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                                           erodette@locklaw.com
                                           bdclark@locklaw.com
                                           aswagner@locklaw.com

                                           Interim Co-Lead Class Counsel for Direct
                                           Purchaser Plaintiffs




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                                                 IN RE PORK ANTITRUST LITIGATION DEFENDANTS' SERVICE LIST

Agri Stats, Inc.                               Jennifer Fleury               jennifer.fleury@hoganlovells.com
                                               Justin Bernick                justin.bernick@hoganlovells.com
                                               Kim M Schmid                  kim.schmid@bowmanandbrooke.com
                                               William Leitzsey Monts, III   william.monts@hoganlovells.com
                                               Anne Lee                      alee@cov.com
Clemens Food Group                             Bethany D. Krueger            bkrueger@greeneespel.com
                                               Christa C Cottrell            ccottrell@kirkland.com
                                               Daniel E Laytin               daniel.laytin@kirkland.com
                                               Mark L. Johnson               mjohnson@greeneespel.com
                                               Virginia R McCalmont          vmccalmont@greeneespel.com
Hormel Foods Corporation and Hormel Foods, LLC Aaron D Van Oort              aaron.vanoort@faegrebd.com
                                               Bryan K. Washburn             bryan.washburn@faegrebd.com
                                               Craig S Coleman               craig.coleman@faegrebd.com
                                               Emily Elizabeth Chow          emily.chow@FaegreBD.com
                                               Isaac B Hall                  isaac.hall@faegrebd.com
                                               Richard A Duncan              richard.duncan@faegrebd.com
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                                               Jaime Stilson                 stilson.jaime@dorsey.com
                                               Robert Entwisle               rentwisle@mayerbrown.com
                                               William Stallings             wstallings@mayerbrown.com
JBS USA                                        Donald G Heeman               dheeman@felhaber.com
                                               Jessica J. Nelson             jnelson@felhaber.com
                                               Randi J Winter                rwinter@felhaber.com
Seaboard Foods LLC                             Jon M. Woodruff               jon.woodruff@stinson.com
                                               Peter J Schwingler            peter.schwingler@stinson.com
                                               William L. Greene             william.greene@stinson.com
Smithfield Foods, Inc.                         Brian Edward Robison          brobison@gibsondunn.com
                                               John A Cotter                 jcotter@larkinhoffman.com
                                               John Anders Kvinge            jkvinge@larkinhoffman.com
                                               Joshua Lipton                 jlipton@gibsondunn.com
                                               Richard G. Parker             rparker@gibsondunn.com
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Triumph Foods LLC                              Aaron B Chapin               aaron.chapin@huschblackwell.com
                                               Vollis Gene Summerlin, Jr    gene.summerlin@huschblackwell.com

Tyson Foods, Inc. Tyson Prepared Foods, Inc.
and Tyson Fresh Meats, Inc.                    David P Graham               dgraham@dykema.com
                                               Felix Gilman                 fgilman@axinn.com
                                               Jonathan Justl               jjustl@axinn.com
                                               Rachel Johanna Adcox         radcox@axinn.com
                                               Tiffany Rider Rohrbaugh      trider@axinn.com
JBS USA Food Company                           Daniel Robert Moses Haller   dhaller@felhaber.com
Clemens Family Corporation                     Mark L. Johnson              mjohnson@greeneespel.com
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                      EXHIBIT 6
                                CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 210 of 639
Archived: Tuesday, August 17, 2021 3:34:14 PM
From: Hall, Isaac B.
Sent: Friday, April 23, 2021 5:01:50 PM
To: Wagner, Arielle S.; Blaine Finley; Duncan, Richard A.; Coleman, Craig S.; Chow, Emily E.
Cc: Clark, Brian D.; Bourne, Joseph C.; Michelle J. Looby Esq. (mlooby@gustafsongluek.com); riop@hbsslaw.com; benh@hbsslaw.com
Subject: RE: Pork Antitrust - Hormel Priority Custodians
Sensitivity: Normal


Arielle:

I write in response to your email on April 21, 2021.

Hormel Foods has complied with the parties’ Agreed Protocol for Preservation of Phone Records (“Preservation Protocol”) with respect to the cellphone records for Mr. Bollum and Mr. Peil.
Contrary to your email, the Preservation Protocol—which relates to “the preservation of telephone records pertaining to Defendants’ document custodians in the possession of their
respective telephone service providers”—does not require Hormel Foods to provide any notice to Plaintiffs regarding whether it has possession, custody, or control over the personal
devices of its employees.

Nonetheless, Hormel Foods has, at various times in correspondence and discovery responses, indicated that it does not have possession, custody, or control over the personal devices of its
employees. For example,

         In a letter dated October 26, 2018, Hormel Foods informed Plaintiffs’ counsel that “Hormel does not purchase or otherwise pay for cell phones or other personal devices of Company
         employees.” That letter also stated that, “Hormel has no reason to believe that any information potentially relevant to this lawsuit uniquely resides on any personal devices of the
         Identified Senior Executives.”

         In its March 29, 2019 Responses to All Plaintiffs’ First Set of Requests for Production of Documents, Hormel Foods noted, in response to Request 5(d), that it was not in possession,
         custody, or control of documents related to “personal cell phones.”

         In its January 20, 2021 Answers to Plaintiffs’ Interrogatories, Hormel Foods objected to Interrogatory No. 9 because it sought “information outside of Hormel Foods’ possession,
         custody, or control” and reiterated that “it is not aware of Document Custodians using their cell phones for substantive external communications ‘regarding or relating to [their] work’
         for the Company, beyond sending work-related emails and making and receiving telephone calls.” Similarly, Hormel Foods objected to providing information about the cellphone
         devices of Document Custodians in response to Interrogatory 10 because it sought “information outside of Hormel Foods’ possession, custody or control.”

Given that Plaintiffs intend to serve subpoenas on Mr. Bollum and Mr. Peil regarding text messages and cell phones, we remind Plaintiffs that the Preservation Protocol also specifically provides that, “[n]othing
in this protocol shall be construed as a concession that any information addressed by any preservation request is relevant, admissible, or will be produced to Plaintiffs in this litigation . . . .” The Preservation
Protocol is not a license to pursue discovery that is not relevant or proportionate to the needs of the case.

The Faegre attorneys representing Hormel Foods in this case have not been authorized to accept service of any subpoena on behalf of Mr. Bollum or Mr. Peil. We are working to confirm the
method of service, but may not have such confirmation by April 27. We ask that Plaintiffs wait to attempt service until we have confirmation or April 30—whichever comes first.

Kind regards,

Isaac B. Hall
Associate
isaac.hall@faegredrinker.com
Connect: vCard

+1 612 766 7266 direct


Faegre Drinker Biddle & Reath LLP
2200 Wells Fargo Center, 90 South Seventh Street
Minneapolis, Minnesota 55402, USA


From: Wagner, Arielle S. <aswagner@locklaw.com>
Sent: Wednesday, April 21, 2021 5:35 PM
To: Hall, Isaac B. <isaac.hall@faegredrinker.com>; Blaine Finley <bfinley@cuneolaw.com>; Duncan, Richard A. <richard.duncan@faegredrinker.com>; Coleman, Craig S.
<craig.coleman@faegredrinker.com>; Chow, Emily E. <emily.chow@faegredrinker.com>
Cc: Clark, Brian D. <bdclark@locklaw.com>; Bourne, Joseph C. <jcbourne@locklaw.com>; Michelle J. Looby Esq. (mlooby@gustafsongluek.com) <mlooby@gustafsongluek.com>;
riop@hbsslaw.com; benh@hbsslaw.com
Subject: RE: Pork Antitrust - Hormel Priority Custodians


This Message originated outside your organization.



Isaac,

I write in response to your April 21, 2021 email regarding the documents and content on Messrs. Bollum and Peil’s personal devices, including telephone and text message data. Specifically,
you state, in pertinent part:

           “As we have stated in previous correspondence and discovery responses, Hormel Foods does not have possession, custody, or control of Mr. Peil’s or Mr. Bollum’s personal devices
           and accordingly will not be producing documents or content from those devices.”

Please identify the “previous correspondence and discovery responses” referenced in your email, as we have no record of any such communication or discovery response.

Under the Parties’ Agreed Protocol For Preservation of Phone Records (attached), Hormel was obligated to provide notice by June 1, 2019 if there were any personal cell phones of an
agreed-to custodian that Hormel asserted were not within its possession, custody, or control. Again, we have no record of receiving any such notice and are concerned that we are only just
now finding this out, as data is nearly certain to have been lost in the intervening two years.

Although your email from earlier today pertained to Messrs. Peil and Bollum specifically, you’ve now caused us concern that there is an overall preservation issue with all Hormel custodian
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personal devices. Please confirm as soon as possible that Hormel has preserved the telephone and text message data on the agreed-to custodians’ personal devices.

Please also advise by no later than Friday, April 23 whether Hormel will accept service of subpoenas on Messrs. Bollum and Peil.

Best,
Arielle

Arielle S. Wagner | she/her/hers | Attorney
LOCKRIDGE GRINDAL NAUEN P.L.L.P.
100 Washington Avenue S | Suite 2200 | Minneapolis MN 55401
V: 612-596-4055 | F: 612-339-0981 | www.locklaw.com


From: Hall, Isaac B. <isaac.hall@faegredrinker.com>
Sent: Wednesday, April 21, 2021 8:16 AM
To: Blaine Finley <bfinley@cuneolaw.com>; Duncan, Richard A. <richard.duncan@faegredrinker.com>; Coleman, Craig S. <craig.coleman@faegredrinker.com>; Chow, Emily E.
<emily.chow@faegredrinker.com>
Cc: Wagner, Arielle S. <aswagner@locklaw.com>; Clark, Brian D. <bdclark@locklaw.com>; Bourne, Joseph C. <jcbourne@locklaw.com>; Michelle J. Looby Esq. (mlooby@gustafsongluek.com)
<mlooby@gustafsongluek.com>; riop@hbsslaw.com; benh@hbsslaw.com
Subject: RE: Pork Antitrust - Hormel Priority Custodians

Blaine:

As of the April 15, 2021 deadline, we have substantially completed the production of documents for the priority custodians Paul Peil and Corwyn Bollum.

As we have stated in previous correspondence and discovery responses, Hormel Foods does not have possession, custody, or control of Mr. Peil’s or Mr. Bollum’s personal devices and
accordingly will not be producing documents or content from those devices.

Kind regards,

Isaac B. Hall
Associate
isaac.hall@faegredrinker.com
Connect: vCard

+1 612 766 7266 direct


Faegre Drinker Biddle & Reath LLP
2200 Wells Fargo Center, 90 South Seventh Street
Minneapolis, Minnesota 55402, USA


From: Blaine Finley <bfinley@cuneolaw.com>
Sent: Monday, April 19, 2021 9:43 PM
To: Hall, Isaac B. <isaac.hall@faegredrinker.com>; Duncan, Richard A. <richard.duncan@faegredrinker.com>; Coleman, Craig S. <craig.coleman@faegredrinker.com>; Chow, Emily E.
<emily.chow@faegredrinker.com>
Cc: Wagner, Arielle S. <aswagner@locklaw.com>; Clark, Brian D. <bdclark@locklaw.com>; Bourne, Joseph C. <jcbourne@locklaw.com>; Michelle J. Looby Esq. (mlooby@gustafsongluek.com)
<mlooby@gustafsongluek.com>; riop@hbsslaw.com; benh@hbsslaw.com
Subject: Pork Antitrust - Hormel Priority Custodians


This Message originated outside your organization.



Isaac,

Can you please confirm that you produced all documents for Hormel’s two priority custodians (Corwyn Bollum and Paul Peil), including cell phone and text message content?

Best regards,

Blaine Finley
Cuneo Gilbert & LaDuca, llp
4725 Wisconsin Avenue, NW
Suite 200
Washington, DC 20016
Office: (202) 789-3960
Mobile: (202) 495-8992


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*****************************
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                      EXHIBIT 7
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                                                                              MINNEAPOLIS
                                                                              Suite 2200
 Joseph C. Bourne                                                             100 Washington Avenue South
 jcbourne@locklaw.com                                                         Minneapolis, MN 55401-2179
 Phone: 612.339.6900                                                          T 612.339.6900
                                                                              F 612.339.0981




                                          April 30, 2021

VIA E-MAIL

Isaac B. Hall
Faegre Drinker Biddle & Reath LLP
2200 Wells Fargo Center
90 South Seventh Street
Minneapolis, MN 55402
isaac.hall@fagredrinker.com

           Re:   In Re Pork Antitrust Litigation, Case No. 0:18-CV-01776-JRT-HB

Dear Isaac:

        I write in response to your email dated April 23, 2021. That email raises several serious
concerns about Hormel’s failure to identify, preserve, and produce relevant and responsive
information on its document custodians’ personal mobile devices. See Fed. R. Civ. P. 37(e) (if ESI
“that should have been preserved in the anticipation or conduct of litigation is lost because a party
failed to take reasonable steps to preserve it,” court may order measures necessary to cure
prejudice, including adverse evidentiary presumption).

        Your April 23 email makes two core claims: (1) the Phone Preservation Protocol did “not
require Hormel Foods to provide any notice to Plaintiffs regarding whether it has possession,
custody, or control over the personal devices of its employees”; and (2) Hormel previously
“indicated that it does not have possession, custody, or control over the personal devices of its
employees.” These claims fall flat given the history and needs of this case and the apparent facts
related to Hormel’s document custodians’ personal mobile devices.

        First, the parties long ago negotiated phone record preservation measures in order to avoid
exactly the situation in which we now find ourselves—with serious questions about Hormel’s
adherence to its preservation obligations and a lost opportunity for Plaintiffs to seek document
preservation or production from the personal mobile devices of employees that Hormel claims are
not in its possession, custody, or control. See generally ESI Protocol § V(E)(1) (producing party
must take reasonable steps to determine if “any unique responsive communications” are located
on mobile devices in its possession, custody, or control, and if so, to preserve the data); Status
Conf. Tr. 33-37 (ECF No. 331) (discussing identification of custodians’ phone records because of
carriers’ rolling seven-year retention policy in order to ensure no relevant data is deleted); Phone
Preservation Protocol (for phone records in Defendants’ possession, custody, or control,
Defendants to send preservation letters to carriers; for phone records not in Defendants’



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April 30, 2021
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possession, custody, or control, Defendants to help send preservation letters to carriers or notify
Plaintiffs that such a letter would not be sent).

        There are two types of important information that can be found on document custodians’
personal mobile devices: phone call and text message log data (“log data”) and text message
content or content from a messaging application such as iMessage (“text message content”). Log
data can be obtained from personal mobile devices, from carriers, or both—if it has been preserved.
Text message content, however, can be obtained only through the custodians’ personal mobile
devices or data they have backed up to the cloud; it cannot be obtained from the carriers. Thus, if
text message content has not been preserved by Hormel’s document custodians, the ability to
obtain such relevant information will likely be lost to Plaintiffs.

         Hormel should have clearly and expressly notified Plaintiffs that it did not intend to
produce log data or text message content for any of its document custodians. The communications
cited in your April 23, 2021, email do not do that. A statement buried in interrogatory answers that
was not served until January 20, 2021, is too late and inconspicuous. And statements such as
“Hormel does not purchase or otherwise pay for cell phones” and “Hormel has no reason to believe
that any information potentially relevant to this lawsuit uniquely resides on any personal devices”
fail to fully inform. This is particularly true because case law has expressly recognized employers’
obligation to preserve employees’ ESI, whether on work-issued devices or personally owned
devices. See, e.g., Alter v. Rocky Point Sch. Dist., No. 13-1100 JS AKT, 2014 WL 4966119, at *10
(E.D.N.Y. Sept. 30, 2014) (rejecting argument that employer was “not obliged to preserve work-
related ESI” from employees’ “personal computers” because, “to the extent that the . . . employees
had documents related to this matter, the information should have been preserved on whatever
devices contained the information (e.g. laptops, cellphones, and any personal digital devices
capable of ESI storage).” (emphasis added)).

        The appropriate course would have been to err on the side of disclosure so Plaintiffs could
do what Hormel apparently failed to do: ensure log data and text message content were preserved.
Whether documents are within a party’s “possession, custody, or control” for purposes of Rule 34
is a legal conclusion. That legal conclusion requires close factual analysis; your claim that they
were not in Hormel’s possession, custody, or control is unsupported by critical facts here. Further,
Hormel could have worked with its employees and former employees to voluntarily preserve and
produce their ESI even if it claimed that was not required.

        Second, Hormel’s “possession, custody, or control” claim is contrary to case law.
Documents are within a party’s control within the meaning of Rule 34 if it has “the legal right or
practical ability to demand the documents.” Damgaard v. Avera Health, No. CV 13-2192
(RHK/JSM), 2014 WL 12599853, at *2 (D. Minn. June 9, 2014). In other words, “‘control’ is
determined by the nature of the relationship between the parties.” Afremov v. Sulloway & Hollis,
P.L.LC., No. CV0903678PSJJSM, 2011 WL 13199154, at *3 (D. Minn. Dec. 2, 2011). Thus,
courts routinely find that “corporations have control over their officers and employees and that
corporations may be required to produce documents in their possession.” Royal Park Invs. SA/NV
v. Deutsche Bank Nat’l Tr. Co., No. 14CV04394AJNBCM, 2016 WL 5408171, at *6 (S.D.N.Y.
Sept. 27, 2016) (collecting cases).



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        That is enough to end this argument. Hormel can require its document custodians to
produce documents in their possession, and so it must. Hormel has the “practical ability” to
produce these documents based on the nature of its relationship with its employees. It also very
likely has the “legal right” via its employee handbook, bring-your-own-device policy, or similar
employment policies. See id. at *7 (“[A] number of courts in this District and elsewhere apply the
most ‘practical’ test of all: whether the party has asked the non-party to turn over the documents
at issue and, if so, whether the non-party is willing to do so.”); H.J. Heinz Co. v. Starr Surplus
Lines Ins. Co., No. 2:15-CV-00631-AJS, 2015 WL 12791338, at *4 (W.D. Pa. July 28, 2015)
(concluding employer has control of work-related “data on employee-owned personal mobile
devices under its BYOD program”).

        Further, Hormel acknowledges its custodians used their personal mobile devices for
“sending and receiving work-related e-mails and making and receiving telephone calls.” See
Hormel’s Answers to First Set of Interrogatories, Answer to Interrogatory No. 9 (Jan. 20, 2021);
Apr. 23, 2021 Email from I. Hall. In other words, the document custodians used their personal
mobile devices for work in exactly the way that one would expect an employee to do so—for
phone calls and emails. Although Hormel was silent on text messages, these likely exist, too, given
trends in mobile phone usage and changing work norms in recent years. Hormel cannot simply
make conclusory statements, with no objective analysis or inquiry, that no document custodians
send or receive work-related text message content, then allow all of that data to be deleted through
a failure to preserve it. See In re Pradaxa (Dabigatran Etexilate) Prod. Liab. Litig., No.
312MD02385DRHSCW, 2013 WL 6486921, at *18 (S.D. Ill. Dec. 9, 2013), order rescinded on
other grounds sub nom. In re Boehringer Ingelheim Pharms., Inc., 745 F.3d 216 (7th Cir. 2014)
(“It is certainly common knowledge that texting has become the preferred means of
communication.”).

        Hormel’s admission that its document custodians use their personal mobile devices for
work defeats its suggestion that its employees’ personal mobile devices do not “uniquely” contain
relevant information. While the emails may be located on Hormel’s email servers, log data is not.
Nor is text message content. This is particularly troubling because the language cited in your email
suggests Hormel and its counsel do not know to what extent the custodians’ personal mobile
devices were used for work. Noncommittal, less-than-straightforward phrases such as “Hormel
has no reason to believe” and “it is not aware of” imply that the use of personal mobile devices
has not been thoroughly investigated.

         Hormel’s apparent failure to preserve this data, coupled with its failure to notify Plaintiffs
that it did not intend to preserve or produce log data or text message content for any of its document
custodians, raises serious spoliation concerns that cannot be abated simply by suggesting that the
log data and text message content are not likely to present “unique” information relevant to
Plaintiffs’ claims. See, e.g., Passlogix, Inc. v. 2FA Tech., LLC, 708 F. Supp. 2d 378, 417 (S.D.N.Y.
2010) (finding failure to preserve text messages, Skype messages, and emails “constitutes gross
negligence” and that defendant “engaged in the spoliation of evidence” by failing to preserve such
written communications). Rather than allow further potentially relevant information to be lost, we
will promptly subpoena Hormel’s remaining document custodians, reserving all rights and
remedies for Hormel’s conduct with respect to personal mobile devices. We do not concede this



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information was ever outside Hormel’s control or ability to obtain, but further delay here makes it
even more likely data will be lost. However, we still need to discuss Hormel’s efforts to (1)
determine whether relevant and responsive data exists (or existed) on its custodians’ mobile
devices, (2) preserve such data, and (3) whether such data has been lost. For instance, did you
interview the document custodians to investigate whether, when, how frequently, and under what
circumstances they sent or received text messages for work? Did they search their mobile devices
to confirm? Did you ask them or instruct them to cooperate in providing log data and text message
content from their mobile devices? What do Hormel’s applicable policies, such as an employee
handbook or bring-your-own-device policy, say about employees’ obligations to make their
personal mobile devices available to Hormel for inspection? Did you ask them or instruct them to
preserve all potentially relevant data or documents (including log data and text message content)
that can be found on their mobile devices?

       We need to discuss these issues promptly. Please let us know when you are available to
meet and confer next week.

                                                Very truly yours,

                                                LOCKRIDGE GRINDAL NAUEN P.L.L.P.

                                                /s/Joseph C. Bourne

                                                Joseph C. Bourne

JCB/dms

cc:        Co-Lead Counsel for Class Plaintiffs (via email)
           Richard A. Duncan (via email)
           Craig Coleman (via email)
           Emily E. Chow (via email)




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                      EXHIBIT 8
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Craig S. Coleman                                                                Faegre Drinker Biddle & Reath LLP
Partner                                                                         2200 Wells Fargo Center
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+1 612 766 6981 direct                                                          Minneapolis, Minnesota 55402
                                                                                +1 612 766 7000 main
                                                                                +1 612 766 1600 fax




May 5, 2021

VIA E-MAIL

Joe Bourne
Lockridge Grindal Nauen P.L.L.P
Suite 2200
100 Washington Ave. South
Minneapolis, MN 55401


Re:       In re Pork Antitrust Litigation, Case No. 18-cv-01776-JRT-HB (D. Minn.)

Dear Joe:
        I write to respond to the unfounded accusations set forth in your April 30, 2021 letter
regarding the personal mobile devices owned and used by Hormel Foods employees. Your letter
is based upon the false and unwarranted assumption that Hormel Foods has not satisfied its
preservation obligations with respect to mobile devices. It is not appropriate to level accusations
of spoliation with no factual basis.
        Your letter purports to respond to our April 23, 2021 email, while ignoring the lead
sentence of that email: “Hormel Foods has complied with the parties’ Agreed Protocol for
Preservation of Phone Records (‘Preservation Protocol’) with respect to the cellphone records of
Mr. Bollum and Mr. Peil.” As you know, paragraph 2 of the Preservation Protocol addresses
Defendants’ obligations with respect to “personal cell phones that a Defendant asserts are not
within its possession, custody, or control.” (Preservation Protocol ¶ 2) In particular, if a Defendant
has ascertained that a document custodian uses a personal cell phone not within the Defendant’s
possession, custody, or control for work purposes, that Defendant
          will either:
               a. Assist that document custodian in sending a letter to their telephone carrier
                  asking that carrier to preserve telephone records related to their phone
                  number; or
               b. If the Defendant or document custodian will not agree to the sending of such
                  a letter, inform Plaintiffs that such a letter will not be sent with regard to
                  that document custodian.
(Id. (emphasis in original)) Consistent with our April 23 email, Hormel Foods confirms that it has
complied with this provision by assisting in the sending of preservation letters to the telephone-
service providers responsible for personal cell phones used for any work purpose by Mr. Bollum,
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Joe Bourne                                     -2-

Mr. Peil, and the other Hormel Foods employees who Plaintiffs have noticed their intent to
subpoena. Such letters fully satisfy Hormel Foods’ obligations under the Preservation Protocol
that was negotiated by Plaintiffs’ counsel, and we do not see how Plaintiffs can claim to have
“serious spoliation concerns” based upon our correspondence stating that Hormel Foods complied
with that protocol.
        Moreover, while Plaintiffs have provided no factual basis to question the preservation
measures that Hormel Foods has taken and Hormel Foods does not waive attorney-client privilege
regarding the content of its legal communications with employees, Hormel Foods has fulfilled its
obligations to take reasonable measures to ensure that relevant documents and ESI are preserved
in all formats. Those measures include legal-hold notices issued to all custodians who are
employees. You cite no facts suggesting that Hormel Foods and/or its employees have failed to
preserve relevant documents.
        Additionally, Hormel Foods disagrees with your assertion that information in Hormel
Foods’ interrogatory responses—which were served on January 20, 2021—is somehow
“inconspicuous” or “buried.” Plaintiffs’ Interrogatory No. 9 requests information about cell phones
and phone carriers used by custodians, and, in response, Hormel Foods specifically objected that
the interrogatory seeks information “outside of Hormel Foods’ possession, custody, or control.” If
Plaintiffs had any questions or concerns about answers to Plaintiffs’ interrogatory on the exact
subject giving rise to their supposed “serious concerns,” Plaintiffs could have raised the issue at
any time.
        Finally, Hormel Foods’ response to Interrogatory No. 9, as well as Plaintiffs’ third-party
discovery, negates the remaining issues argued in your letter. In that response, Hormel Foods also
noted that it is not aware of its custodians using personal mobile phones for any work purpose
other than telephone calls and emails, which have been preserved. Hormel Foods provided the
telephone numbers, and Plaintiffs have issued subpoenas to both the carriers and relevant
employees. Thus, Hormel Foods has provided Plaintiffs with all information needed to obtain
discovery regarding personal mobile phones used for work-related purposes, and Plaintiffs have
done so.
        In short, your letter fails to establish any basis for maintaining that Hormel Foods has not
complied with the Preservation Protocol or any other applicable preservation obligation. And your
letter fails to provide any basis to maintain that relevant documents have not, in fact, been
preserved. I question the value of meeting and conferring to discuss concerns lacking any factual
basis, but I am available should Plaintiffs continue to think discussion is necessary.


Very truly yours,



Craig S. Coleman

cc:    Plaintiffs’ counsel of record (via e-mail)
       Richard A. Duncan (via e-mail)
       Emily E. Chow (via e-mail)
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                      EXHIBIT 9
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                                                                             MINNEAPOLIS
                                                                             Suite 2200
    Joseph C. Bourne                                                         100 Washington Avenue South
    jcbourne@locklaw.com                                                     Minneapolis, MN 55401-2179
    Phone: 612.339.6900                                                      T 612.339.6900
                                                                             F 612.339.0981




                                                     May 10, 2021

VIA ELECTRONIC MAIL

Craig S. Coleman
Faegre Drinker Biddle & Reath LLP
2200 Wells Fargo Center
90 South Seventh Street
Minneapolis, MN 55402
craig.coleman@faegredrinker.com

           Re:      In Re Pork Antitrust Litigation, Case No. 0:18-CV-01776-JRT-HB

Dear Craig:

           Thank you for your letter dated May 5, 2021.

         Your letter and prior correspondence focus on log data, but not text message content. While
we appreciate the confirmation that Hormel helped Hormel’s employee custodians send
preservation letters to phone carriers and provided those employees with “legal-hold notices,” this
still leaves open the question of whether text message content (which can be obtained only from
the devices or, in some instances, cloud backup) has in fact been preserved. Please confirm whether
Hormel’s employee custodians have preserved text message data, including text message content.

        Although your letter again states that Hormel “is not aware of its custodians using personal
mobile phones for any work purpose other than telephone calls and emails,”1 you do not address
whether they in fact sent or received text messages related to work. It is difficult to imagine they
did not; they used their personal mobile devices for work purposes, and text messages have become
a dominant form of communication in recent years. Please confirm Hormel investigated whether
its employee custodians sent or received text messages as part of their work for Hormel and its
determination as to each custodian.

        Last, your letter implies that the personal mobile devices owned by Hormel’s employees,
which they used for work purposes, are outside of Hormel’s possession, custody, or control.
However, as the authorities in my April 30 letter make clear, the mere fact of employee (rather
than employer) ownership is not enough, on its own, to establish this legal contention. We are now
seeking log data and text message content via subpoenas to the carriers and the custodians in an
effort to mitigate the potential loss of documents and to obtain documents that Hormel should be
producing itself. But serving a subpoena to ensure further data is not destroyed in no way absolves

1
    See I. Hall May 5, 2021 letter at p. 2 (emphasis added).


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Craig S. Coleman
May 10, 2021
Page 2

Hormel of its obligation to preserve relevant data. This is instead a stop-gap measure necessitated
by Hormel’s failure to abide by its obligations. We maintain our position that the personal mobile
devices owned by Hormel’s employees are within Hormel’s possession, custody, or control for
discovery purposes, and Hormel had duties to ensure the preservation of relevant log data and text
message content and to produce it. Although our immediate focus is on ensuring the preservation
and production of extant relevant log data and text message content, we will address Hormel’s
failure to abide by its obligations in due course, and we reserve all rights.

           We look forward to hearing from you soon.

                                              Very truly yours,

                                              LOCKRIDGE GRINDAL NAUEN P.L.L.P.

                                              /s/Joseph C. Bourne

                                              Joseph C. Bourne

JCB/dms




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                     EXHIBIT 10
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May 12, 2021

VIA E-MAIL

Joe Bourne
Lockridge Grindal Nauen P.L.L.P
Suite 2200
100 Washington Ave. South
Minneapolis, MN 55401

Re:       In re Pork Antitrust Litigation, Case No. 18-cv-01776-JRT-HB (D. Minn.)

Dear Joe:
        The repeated accusation in your May 10 letter that Hormel Foods has “fail[ed] to abide by
its obligations” regarding custodian cell phones is improper and ignores the Agreed Protocol for
Preservation of Phone Records (“Preservation Protocol”), even while acknowledging Hormel
Foods’ explanation as to how it complied with the protocol that Plaintiffs negotiated.
        Because Plaintiffs continue to levy factually erroneous and unsubstantiated accusations
about Hormel Foods’ conduct in discovery, it is necessary to review the parties’ correspondence
on this subject. On April 21, Plaintiffs invoked, and attached, the Preservation Protocol as the legal
standard setting forth Hormel Foods’ obligations regarding employee cell phones. Indeed, the
Preservation Protocol opens by stating that “[t]he Parties agree that Defendants are to use the
following protocol regarding ‘the preservation of telephone records pertaining to Defendants’
document custodians in the possession of their respective telephone service providers.’”
         Although Plaintiffs’ April 21 e-mail subsequently misrepresented what the Preservation
Protocol requires and your May 10 letter now wishes it away entirely, that protocol permits a
Defendant to “assert” that personal cell phones are not within its possession, custody, or control.
As quoted in my May 5 letter, the Preservation Protocol then specifies preservation procedures
that arise based on that assertion—none of which require a Defendant to provide notice to Plaintiffs
or otherwise prove lack of possession, custody, or control to Plaintiffs’ satisfaction.
        Hormel Foods has explained how it complied with the Preservation Protocol despite the
absence of any basis for Plaintiffs to question Hormel Foods’ fulfillment of its obligations.
Plaintiffs should desist in making unwarranted accusations.
Very truly yours,



Craig S. Coleman
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Joe Bourne                                     -2-


cc:    Plaintiffs’ counsel of record (via e-mail)
       Richard A. Duncan (via e-mail)
       Emily E. Chow (via e-mail)
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                     EXHIBIT 11
                           CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 228 of 639
Archived: Tuesday, August 17, 2021 3:35:58 PM
From: Kathryn Stephens
Sent: Thursday, July 22, 2021 10:53:16 AM
To: Owen, Stephen M.
Cc: John Rock; Clark, Brian D.; Bourne, Joseph C.
Subject: RE: In re Pork Antitrust Litigation, No. 18-CV-01776-JRT-HB
Sensitivity: Normal


Steve,

Thank you for your e-mail. To be clear, my letter of July 16 was an appropriate response to your letter of June 30 which was inconsistent with the message you gave us during the June 1 meet
and confer—that your primary concern was preservation of relevant and responsive data, and that you understood the cost burden imaging would place on our individual third-party clients.

We have not taken the position that all imaging and searches based on a reasonably targeted list of search terms is completely unavailable, at least for some portion of our clients. In fact, as
we have acknowledged, some of our clients’ devices have previously been imaged. We do contend, however, that as third parties to the underlying litigation, our clients should not have to
bear the costs associated with any of these processes.

In addition, the list of proposed search terms you provided is extremely overbroad and would necessarily capture information completely unrelated to anything remotely relevant to the
underlying litigation.

If you would like to discuss these issues further, please advise as to your availability to conduct a meet and confer in the next couple of weeks.

Best,
Kathy

Kathy Stephens
Senior Attorney


120 South Sixth Street
Suite 2050 Canadian Pacific Plaza
Minneapolis, MN 55402
Tel. 612-573-3661
Fax 612-330-0959
Email kstephens@rockhutchinson.com
Web www.rockhutchinson.com




From: Owen, Stephen M. <smowen@locklaw.com>
Sent: Monday, July 19, 2021 3:23 PM
To: Kathryn Stephens <kstephens@rockhutchinson.com>
Cc: John Rock <jrock@rockhutchinson.com>; Clark, Brian D. <bdclark@locklaw.com>; Bourne, Joseph C. <jcbourne@locklaw.com>
Subject: RE: In re Pork Antitrust Litigation, No. 18-CV-01776-JRT-HB

Kathryn,

Thank you for your correspondence. We disagree with your characterization of our June 1 meet and confer and disagree that Plaintiffs would be responsible for costs associated with the
subpoenas. Further, we contend that we have sufficiently explained why your clients could have information highly relevant to this litigation. In light of your correspondence, we
understand you do not intend to image the devices and run search terms on the imaged devices or cloud backup of any messaging apps used by your clients, which we continue to maintain is
necessary to conduct a reasonable search.

Best,
Steve

From: Kathryn Stephens <kstephens@rockhutchinson.com>
Sent: Friday, July 16, 2021 10:29 AM
To: Owen, Stephen M. <smowen@locklaw.com>
Cc: John Rock <jrock@rockhutchinson.com>; Clark, Brian D. <bdclark@locklaw.com>; Bourne, Joseph C. <jcbourne@locklaw.com>
Subject: In re Pork Antitrust Litigation, No. 18-CV-01776-JRT-HB

Mr. Owen,

Please see the attached correspondence.

Best,

Kathy Stephens
Senior Attorney


120 South Sixth Street
Suite 2050 Canadian Pacific Plaza
Minneapolis, MN 55402
Tel. 612-573-3661
Fax 612-330-0959
                               CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 229 of 639
Email kstephens@rockhutchinson.com
Web www.rockhutchinson.com

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                     EXHIBIT 12
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                                             Canadian Pacific Plaza                    Kathryn Stephens
                                             Suite 2050                                  (612) 573-3661
                                             120 South Sixth Street                  FAX (612) 330-0959
                                             Minneapolis, MN 55402         kstephens@rockhutchinson.com




July 16, 2021

 VIA E-MAIL
 Joe Bourne
 Lockridge Grindal Nauen PLLP
 100 Washington Ave. S. #2200
 Minneapolis, MN 55401-2179
 smowen@locklaw.com

       Re:      Case No. 18-CV-01776-JRT-HB, In re Pork Antitrust Litigation

Dear Mr. Bourne:

Thank you for your time on the phone this morning; however, we were surprised and
disappointed by your unwillingness to negotiate or compromise in any way as to the scope
and proposed method for the cell phone subpoenas issued to our clients.

As we understand your current position, Plaintiffs are (1) refusing to identify any sub-set of
the broad spectrum of our thirty individual clients who might be most likely to have
potentially relevant communications in their current cell phones as a starting point for any
further discovery; (2) refusing to provide the justification or basis for inclusion of all thirty
of our clients; and (3) unwilling to narrow the extremely broad and inclusive list of
proposed search terms beyond your initial proposal.

If our understanding is incorrect, please advise.


                                            Sincerely,

                                            Kathy Stephens


cc:    Stephen Owen
       John Rock
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Archived: Tuesday, August 17, 2021 3:36:56 PM
From: Kathryn Stephens
Sent: Monday, August 2, 2021 12:36:57 PM
To: Bourne, Joseph C.; Owen, Stephen M.
Cc: John Rock
Subject: In re Pork Antitrust Litigation, No. 18-CV-01776-JRT-HB
Sensitivity: Normal
Attachments:
20210802 LTR to Bourne- meet and confer.pdf ;




Counsel,

Please see the attached correspondence summarizing this morning’s meet and confer call.

Best,

Kathy Stephens
Senior Attorney


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Web www.rockhutchinson.com
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                     EXHIBIT 13
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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


    In re Pork Antitrust Litigation                  Case No. 18-cv-01776-JRT-HB

    This Document Relates To: All Actions         DEFENDANT HORMEL FOODS
                                                   CORPORATION’S INITIAL
                                                OBJECTIONS AND RESPONSES TO
                                                 ALL PLAINTIFFS’ FIRST SET OF
                                                          REQUESTS


         Pursuant to the Court’s February 7, 2019 Order, Defendant Hormel Foods

Corporation 1 (“Hormel Foods” or the “Company”), by and through its undersigned

counsel, hereby serves these Initial Objections and Responses (“Objections and

Responses”) to the twenty-eight agreed-upon requests 2 from All Plaintiffs’ First Set of

Requests for Production of Documents to the Pork Integrator Defendants (“Requests”).

         Hormel Foods’ General Objections below are incorporated by reference in each of

Hormel Foods’ responses as if set forth separately therein, and each response is made

without waiving any of these General Objections. The assertion of additional specific

objections to a particular Request or the repetition of an objection shall not be construed as



1
  As stipulated by the parties in their December 12, 2018 Joint Status Report and Letter
Brief, discovery as to holding-company defendant Hormel Foods, LLC is deferred pending
resolution of the motions to dismiss. (See Joint Status Report & Letter Br. 1 [Doc. No.
233])
2
  Pursuant to the Court’s February 7, 2019 Order and the parties’ agreement, Hormel
Foods’ objections and responses to the remaining eleven requests—that is, Request Nos.
9, 12-13, 18, 28-30, and 35-39—are deferred until after the Court rules on the Defendants’
motions to dismiss. (See Order 7 [Doc. No. 289]; Joint Status Report & Letter Br. 1 [Doc.
No. 233])
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waiving any applicable objection with respect to that or any other Request. Hormel Foods

reserves the right to assert additional objections or to supplement the objections set forth

herein.

          Any response by Hormel Foods that it will produce documents, if any, indicates that

Hormel Foods will (1) conduct a reasonable search for nonprivileged, responsive

documents; and (2) produce any such nonprivileged documents in a format consistent with

the Order Regarding Production of Electronically Stored Information and Paper

Documents (“ESI Protocol Order” [Doc No. 292]). Hormel Foods reserves (a) the right to

object to the use of documents and information obtained during discovery in any

subsequent proceedings in this or any other action on the grounds of competency, privilege,

relevance, materiality, and/or any other proper grounds; (b) the right to object, at any time,

to requests or other discovery procedures involving or relating to the subject of these

Requests; and (c) the right to revise, correct, supplement, or clarify any of the written

responses provided herein.

          These Objections and Responses have been prepared prior to the Court’s ruling on

the Defendants’ motions to dismiss, and prior to the completion of Hormel Foods’

investigation, discovery, and preparation for trial. It is not possible to respond completely

or reasonably estimate the burden or expense of the proposed discovery at this time

because, among other things, the parties have not agreed on—and the Court has not issued

any orders regarding—Document Custodians, noncustodial data sources, search terms, and

other aspects of discovery. Hormel Foods anticipates that the Court’s ruling on the

Defendants’ motions to dismiss will provide guidance regarding the proper scope of


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discovery, and that further discovery, independent investigation, and analysis may supply

additional facts, add meaning to known facts, and establish new factual conclusions and

legal contentions—all of which could lead to modifications and/or additions to the

responses set forth herein. Hormel Foods reserves the right to supplement and/or amend

these Objections and Responses, and the right to raise any additional objections deemed

necessary and appropriate.

                               GENERAL OBJECTIONS

       1.     Hormel Foods objects to these Requests on the grounds that the scope of

the claims and defenses in this litigation depends on the outcome of Defendants’ pending

motions to dismiss. Hormel Foods reserves the right to amend its objections and

responses to these Requests based upon the Court’s ruling on those motions.

       2.     Hormel Foods objects to these Requests to the extent they seek to impose

obligations beyond what is required by the Federal Rules of Civil Procedure, the Local

Rules of this Court, and any Orders which may be entered in this case—including the

February 7, 2019 Order (see Doc. No. 289) and the February 20, 2019 ESI Protocol

Order (see Doc. No. 292). Hormel Foods further objects to the Requests’

mischaracterization of Rule 34(b)(2)(E) of the Federal Rules of Civil Procedure, which

permits the production of documents as they are kept in the usual course of business.

       3.     Hormel Foods objects to these Requests to the extent they seek discovery

that is not proportional to the needs of the case, considering the importance of the issues

at stake in the action, the amount in controversy, the parties’ relative access to relevant

information, the parties’ resources, the importance of the discovery in resolving the


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issues, and whether the burden or expense of the proposed discovery outweighs its likely

benefit.

       4.       Hormel Foods objects to these Requests to the extent they seek discovery

that is not directly related to the claims or defenses at issue in this litigation. Any Request

that encompasses time periods, activities, or locations beyond those at issue in this case is

overly broad.

       5.       Hormel Foods objects to the production of any electronically stored

information that is not reasonable accessible, or that cannot be compiled or produced

without unreasonable investments in time and expense. Hormel Foods further objects to

these Requests to the extent they purport to require a search beyond the scope of

permissible discovery contemplated by Federal Rule of Civil Procedure 26(b)(2)(C) and

the ESI Protocol Order.

       6.       Hormel Foods objects to these Requests to the extent they attempt or

purport to seek documents and/or information that is not within the Company’s

possession, custody, or control.

       7.       Hormel Foods objects to these Requests—and the “Relevant Time Period”

defined therein—to the extent they seek documents and/or information generated after

the agreed-upon end-date for processing discoverable information of June 30, 2018. (See

Joint Status Report & Letter Br. 2-3 [Doc. No. 233]; Letter from Brian D. Clark, to All

Defense Counsel (Mar. 15, 2019) [hereinafter, “Plaintiffs’ March 15 Letter”]) Hormel

Foods also objects to the start date of the “Relevant Time Period” of January 1, 2008, and




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anticipates responding further in this regard following the Courts’ ruling on the motions

to dismiss.

       8.     Unless expressly stated otherwise in a response to a Request, as by

referring to noncustodial sources of data, Hormel Foods objects to any search for

production of nonprivileged, responsive documents beyond documents in the files of

identified Document Custodians.

       9.     Hormel Foods objects to these Requests to the extent they attempt or

purport to seek documents and/or information unrelated to U.S. pork production and

sales. Any Request that encompasses activities or locations beyond those at issue in this

case and/or entities that do not sell pork into the United States or export pork out of the

United States is overly broad, unduly burdensome, and disproportionate to the needs of

this case.

       10.    Hormel Foods objects to these Requests to the extent they attempt or

purport to seek documents and/or information protected by the attorney-client privilege,

the work-product doctrine, or any other applicable privilege held by Hormel Foods. The

inadvertent production of any document shall not constitute a waiver of Hormel Foods’

rights or privileges. Hormel Foods reserves the right to seek the return of any

inadvertently produced documents in accordance with paragraph 18 of the Protective

Order. (See Protective Order 17-20 [Doc. No. 212]) If production of a document is

deemed to be a waiver of a right or privilege, that waiver shall be a limited waiver

pertaining to that document only.




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       11.    Hormel Foods objects to these Requests to the extent they seek confidential

business information, proprietary information, commercially sensitive information,

competitively significant information, protected health information, personal information

related to Hormel Foods’ employees, and/or trade secrets of Hormel Foods, its

predecessors, and/or third-parties.

       12.    A statement by Hormel Foods that it will produce documents in response to

a particular Request does not mean that any such documents exist; it means only that, if

nonprivileged, responsive documents exist and can be located through a diligent search of

Hormel Foods’ reasonably accessible records, Hormel Foods will produce them—subject

to the General Objections, specific objections, and responses herein.

                            OBJECTIONS TO DEFINITIONS

       1.     Hormel Foods objects to Plaintiffs’ definition of the term “Communications”

on the grounds that the definition is overly broad, and, as worded, encompasses matters

that are not reasonably understood as a “communication” (for example, “behavior,”

“contact,” or “revelation”). Hormel Foods will interpret the term “Communication[]” as

transmitting information.

       2.     Hormel Foods objects to Plaintiffs’ definition of the term “Competitive

Conditions” as vague, ambiguous, overly broad, unduly burdensome, and disproportionate

to the needs of the case to the extent the term includes every document in the possession,

custody, or control of the Company, as an entity involved in pork production.

       3.     Hormel Foods objects to Plaintiffs’ definition of the term “Creditor

Conference” as vague and ambiguous because the phrase “contract farmers” is not defined.


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Hormel Foods will interpret the term “contract farmers” to mean “someone who is

contracted to raise hogs for [the Company], rather than a farmer who may independently

raise hogs and sell to whomever they wish to sell to,” as clarified by the Plaintiffs’ March

15 Letter. In addition, the definition is overly broad, unduly burdensome, and

disproportionate to the needs of the case, and calls for information outside of Hormel

Foods’ possession, custody, or control because it calls for information regarding a credit

or loan financing entity’s dealings with other Pork Integrators and/or their “contract

farmers.”

       4.     Hormel Foods objects to Plaintiffs’ definition of the term “Creditor

Representative” for the same reasons it objects to the definition of the term “Creditor

Conference” above.

       5.     Hormel Foods objects to Plaintiffs’ definition of the term “Defendant” as

overly broad because it includes “predecessors, wholly-owned or controlled subsidiaries

or affiliates, successors, parents, other subsidiaries, departments, divisions, joint ventures,

other affiliates and any organization or entity managed or controlled by a named

Defendant.” Hormel Foods further objects to the definition as vague and ambiguous

because (a) “managed” and “controlled” are undefined and unclear; and (b) it is unclear

who may be “subsequently named as a Defendant in this litigation,” and thus this definition

may change over time. Hormel Foods also objects to the definition as overly broad, unduly

burdensome, and disproportionate to the needs of the case because it includes persons

“purporting to act on behalf of a Defendant,” which would require the Company to have

knowledge of matters beyond its custody or control. Hormel Foods will interpret


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“Defendant” to mean a named Defendant as of the date of these Objections and

Responses—excluding holding companies and entities that do not sell pork into the United

States or export pork out of the United States, consistent with the clarification in Plaintiffs’

March 15 Letter. See also the below Objection to the definitions of the terms “You,”

“Your,” and “Your company.”

       6.     Hormel Foods objects to Plaintiffs’ definition of the term “Document” as

overly broad, unduly burdensome, vague, ambiguous, and not in compliance with the

Federal Rules of Civil Procedure or applicable local rules. Hormel Foods will interpret

“Document” to be synonymous in meaning and equal in scope to the usage of the term in

Rule 34(a) of the Federal Rules of Civil Procedure.

       7.     Hormel Foods objects to Plaintiffs’ definition of the term “Document

Custodian” as vague, ambiguous, overly broad, unduly burdensome, and disproportionate

to the needs of the case. Hormel Foods will collect and produce documents in this litigation

from the individuals agreed to by the Parties and/or so ordered by the Court. Hormel Foods

further objects to this definition to the extent it purports to extend the Company’s

possession, custody, or control as defined by the Federal Rules of Civil Procedure to each

and every “employee[’s] and/or representative[’s]” possession, custody, or control. In

addition, the word “representative” as used in the definition of “Document Custodian” is

vague and ambiguous.

       8.     Hormel Foods objects to Plaintiffs’ definition of the term “ESI” to the extent

such definition departs from its plain and ordinary meaning, and seeks to impose burdens

or obligations on the Company beyond those imposed by the Federal Rules of Civil


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Procedure, or any applicable local rules, case law, or court orders. Hormel Foods further

objects to the definition of the term “ESI” as vague, ambiguous, overly broad, unduly

burdensome, and disproportionate to the needs of the case of the case to the extent Requests

incorporating this term seek (a) material not in the possession, custody, or control of

Hormel Foods; (b) production of ESI from sources that are not reasonably accessible in

light of the burdens or costs required to locate, restore, review, and produce whatever

responsive information may be found; or (c) seek information that is not relevant to the

claim or defense of any party to this action.

       9.     Hormel Foods objects to Plaintiffs’ definition of the term “Employee”

because by incorporating the definitions of “Person” and “You” “without limitation,” that

definition includes individuals and entities who are not employed by the Company, and

seeks information beyond the Company’s possession, custody, or control. Hormel Foods

will interpret any references to an “employee” or “employees” to mean the Company’s

employees.

       10.    Hormel Foods objects to Plaintiffs’ definition of the term “Industry Analyst”

on the grounds that this definition seeks information not within the Company’s possession,

custody, or control, and that it is vague and ambiguous as the Company cannot identify all

people possibly falling within this definition.

       11.    Hormel Foods objects to Plaintiffs’ definition of the term “Industry Meeting”

as vague, ambiguous, overly broad, unduly burdensome, and disproportionate to the needs

of the case to the extent it seeks discovery of meetings with entities other than other

Defendants—including untold, undefined and unspecified third parties.


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          12.   Hormel Foods objects to Plaintiffs’ definition of the term “Management” on

the grounds that this definition includes individuals who do not maintain information that

is relevant to this dispute and because the reference to “senior executives” is vague, is

subject to multiple interpretations, and may include individuals who are not a part of the

Company’s “management.” Hormel Foods interprets “management” to include its

executive-level employees at the Hormel Foods vice-president level and higher, but not its

Board of Directors.

          13.   Hormel Foods objects to Plaintiffs’ definition of the term “Person” as vague,

ambiguous, overly broad, unduly burdensome, and disproportionate to the needs of the

case. Hormel Foods further objects to the definition of this term on the grounds that it

purports to include individuals and entities beyond the named Defendants that are

irrelevant and outside the scope of the case, and that it purports to impose a burden on the

Company to obtain information from third parties outside of its control.

          14.   Hormel Foods objects to Plaintiffs’ definitions of the terms “Policy” or

“Procedure” on the grounds that, in referring to courses of conduct, business methods, or

traditions that may be “informal” or “unwritten” or followed by some unidentified person

“implicitly,” they include matters that are not Hormel Foods’ policies or procedures.

Hormel Foods will interpret these terms to mean formal practices, methods, or courses of

action.

          15.   Hormel Foods objects to Plaintiffs’ definitions of the terms “Pork Farm” and

“Pork Grower” as vague and ambiguous as the definition for “Pork Grower” appears to

encompass the term “Pork Farm.” Plaintiffs’ March 15 Letter proposes meet-and-confers


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with individual Defendants to further refine these terms. Hormel Foods reserves all rights

with respect to any revised definitions that Plaintiffs may propose, and notes that Plaintiffs’

March 15 Letter does not address the above-referenced concern regarding the apparent

overlap between the defined terms.

       16.    Hormel Foods objects to Plaintiffs’ definition of the term “Pork Integrator”

on the grounds that this definition is vague, ambiguous, overly broad, unduly burdensome,

and disproportionate to the needs of the case; seeks information not within the Company’s

possession, custody, or control; and would require the Company to guess at whether any

non-Defendant entity fits within the scope of this definition. Defendants requested

clarification from Plaintiffs about whether this definition is conjunctive (that is, to qualify

as a “Pork Integrator” one must not only process pork, but also raise hogs) or disjunctive

(that is, to qualify as a “Pork Integrator” one need only buy hogs or process pork).

Plaintiffs’ March 15 Letter states that “the integrator decision would apply to the slaughter

or process of pork regardless of whether the hogs were bought, raised, or acquired through

other means.” Hormel Foods objects to the definition of “Pork Integrator” as clarified by

Plaintiffs’ March 15 Letter as unduly burdensome, disproportionate to the needs of the

case, lacking in particularity, and seeking information that is not relevant to the claim or

defense of any party to this action—especially to the extent it seeks “all” documents

concerning non-Defendant entities that process pork, and/or are not in the possession,

custody, or control of the Company. Plaintiffs’ counsel also stated that they intend to

supply a list of purported “Pork Integrators” for Defendants’ consideration. Hormel Foods

will consider such a list but reserves its objections.


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       17.    Hormel Foods objects to Plaintiffs’ definition of the term “Pork Processing

Facility” as overly broad and unduly burdensome because the definition is not limited to

facilities within the United States.

       18.    Hormel Foods objects to Plaintiffs’ definition of the term “Pork Supply

Factors” to the extent that it suggests that “Defendants control the supply of Pork” or that

engaging in “capacity reductions, controlling slaughter rates, and exports” equates to

“control[ing] the supply of Pork.” Hormel Foods is a net purchaser of hogs. Hormel Foods’

Responses to these Requests should not be construed as an admission that Hormel Foods

controlled the supply of Pork or has the ability to do so.

       19.    Hormel Foods objects to Plaintiffs’ definitions of the terms “relating to,”

“referring to,” “regarding,” “with respect to,” and “concerning” as vague, ambiguous,

overly broad, unduly burdensome, and disproportionate to the needs of the case to the

extent they purport to impose upon Hormel Foods obligations greater than those set forth

in the Federal Rules of Civil Procedure. Hormel Foods further objects to the definitions to

the extent they incorporate other defined terms to which the Company objects.

       20.    Hormel Foods objects to Plaintiffs’ definition of the term “Representative”

as vague, ambiguous, overly broad, unduly burdensome, and disproportionate to the needs

of the case. Hormel Foods further objects to the definition to the extent it incorporates other

defined terms to which Hormel Foods objects. Hormel Foods further objects to the

definition of this term on the grounds that it purports to include individuals and entities that

are irrelevant and outside the scope of the case, and that it purports to impose a burden on

the Company to obtain information from third parties outside of its control.


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       21.    Hormel Foods objects to Plaintiffs’ definition of the term “Sales Personnel”

to the extent that it includes any “agent or representative” whose documents are not within

the possession, custody, or control of the Company (such as a downstream seller), and also

objects on the grounds that the responsibilities of another Defendant’s employees are

unknown to Hormel Foods. Hormel Foods will interpret “any agent or representative

authorized by that Defendant to sell its Pork on its behalf” to mean only documents in the

possession, custody, and control of the Company’s entities and operations that sell pork

into the United States or export pork out of the United States.

       22.    Hormel Foods objects to Plaintiffs’ definition of the term “Structured Data”

as vague and ambiguous, overly broad, and unduly burdensome. Hormel Foods will

interpret these terms consistent with the ESI Protocol Order and related agreements already

in place or ultimately reached by the parties, or, as necessary, further ordered by the Court.

       23.    Hormel Foods objects to Plaintiffs’ definitions of the terms “studies” or

“analyses” as overly broad because they could include almost any Company document or

file, structured or unstructured.

       24.    Hormel Foods objects to Plaintiffs’ definition of the term “Trade

Association” as vague, ambiguous, overly broad, unduly burdensome, and disproportionate

to the needs of the case because the term is defined as any “association or business

organization that promotes the interest of Pork Integrators,” without limitation. Hormel

Foods does not have knowledge of whether an “association or business organization” of

which it was not a participant “promote[d] the interest of Pork integrators.”




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       25.    Hormel Foods objects to Plaintiffs’ definition of the term “Unstructured

Data” as vague, ambiguous, overly broad, unduly burdensome, and disproportionate to the

needs of the case. Hormel Foods further objects to the definition on the grounds that it

purports to impose a burden on Hormel Foods to obtain information from third parties

outside of its control. Hormel Foods will interpret the term consistent with the ESI Order

and related agreements already in place or ultimately reached by the parties, or, as

necessary, further ordered by the Court.

       26.    Hormel Foods objects to Plaintiffs’ definitions of the terms “You,” “Your,”

and “Your company” as vague, ambiguous, overly broad, unduly burdensome, and

disproportionate to the needs of the case. Hormel Foods further objects to the definitions

of these terms on the grounds that they purport to include individuals and entities beyond

the named Defendants that are irrelevant and outside the scope of the case, and that they

purport to impose a burden on Hormel Foods to obtain information from third parties

outside of its control. Hormel Foods interprets these terms to mean a named Defendant in

Ire Pork Antitrust Litigation only as of the date of these Objections of Responses; it does

not interpret these terms to include any other predecessors, wholly owned or controlled

subsidiaries or affiliates, successors, parents, other subsidiaries, joint ventures, other

affiliates, and any organization or entity managed or controlled by a named Defendant. As

specifically applied to Hormel Foods, Hormel Foods interprets these terms to mean the

operations of Hormel Foods in its purchasing, manufacturing, processing, and sale of Pork.




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     SPECIFIC INITIAL OBJECTIONS AND RESPONSES TO DOCUMENT
                             REQUESTS

REQUEST NO. 1: All Documents relating to competition in the Pork industry produced
to the Department of Justice, Federal Trade Commission, U.S. Department of Agriculture,
U.S. Securities & Exchange Commission, states’ attorneys general, or other government
agencies or regulators voluntarily or pursuant to any civil investigative demand, grand jury
subpoena, or other investigative request.

RESPONSE TO REQUEST NO. 1:

       In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 1 on the grounds that it is vague and ambiguous as to scope. Based

upon Plaintiffs’ March 15 Letter, Hormel Foods interprets Request No. 1 to (1) only

include voluntary disclosures made to any government entity focused on pork pricing or

supply as it relates to competition in the Pork industry for investigative purposes; and (2)

not include mandatory submissions to government agencies (for example, submissions to

the USDA required by the Livestock Mandatory Reporting Act of 1999, reports to the SEC

pursuant to the Securities Exchange Act of 1934, and pre-merger notifications to the FTC

and DOJ under the Hart-Scott-Rodino Antitrust Improvements Act of 1976). In accordance

with this interpretation, and subject to and without waiving the above objections, Hormel

Foods will produce nonprivileged, responsive documents that it produced to any U.S.

federal or state agencies and regulators either voluntarily or in response to any investigative

request, if any.

       The outcome of the Defendants’ Motions to Dismiss based on the statute of

limitations—or any other ruling of the Court regarding the relevant time period in which

the alleged unlawful conduct occurred or plausibly supports a claim—may shorten the time



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period for which documents and information responsive to this Request would be relevant

and discoverable.


REQUEST NO. 2: Documents sufficient to show Your corporate organizational structure
throughout the Relevant Time Period, including, but not limited to, departments, divisions,
parents, subsidiaries, joint ventures, affiliates, units or other subdivisions that had any role
at any time during the Relevant Time Period in the production, processing, distribution,
marketing, pricing or sale of Pork.

RESPONSE TO REQUEST NO. 2:

       In response to Request No. 2, Hormel Foods states it has already produced

documents sufficient to show its salaried personnel that had any role in the production,

processing, distribution, marketing, pricing, or sale of Pork for the years 2007 through

2018. No further documents will be produced in response to this Request.


REQUEST NO. 3: All Documents or Communications between You and any other
Defendant or Pork Integrator, relating to Competitive Conditions in the Pork Industry.

RESPONSE TO REQUEST NO. 3:

       In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 3 on the grounds that it is overly broad, unnecessarily cumulative,

and unduly burdensome; calls for the production of documents not relevant to any matter

in dispute; and is duplicative insofar as it seeks the same documents and communications

requested by other Requests. Hormel Foods states that its communications with any other

Defendant relating to the Pork Industry include the reporting and transmitting of data to




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Agri Stats for the Swine Production and Swine Processing books, 3 and the declension of

Agri Stats’ services regarding Swine Sales.

       Subject to and without waiving any of the above objections, Hormel Foods will

produce nonprivileged, responsive communications sent to or received from Agri Stats and

any other Defendant or identified Pork Integrator in its possession, custody, and control,

and noncustodial data sufficient to show its sales to and purchases from other Defendants

and identified Pork Integrators.

       The outcome of the Defendants’ Motions to Dismiss based on the statute of

limitations—or any other ruling of the Court regarding the relevant time period in which

the alleged unlawful conduct occurred or plausibly supports a claim—may shorten the time

period for which documents and information responsive to this Request would be relevant

and discoverable. The outcome of the Defendants’ Motions to Dismiss, including the

Court’s rationale if it denies the motions, may affect the proportionality analysis with

regard to the relevancy of the documents and information sought in this Request as

compared to the expense and burden of production.




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  As set forth in the Company’s March 8, 2019 Limited Disclosures, for the period from
January 1, 2007 to June 30, 2018, Hormel Foods subscribed to Agri Stats reports as
follows: Hormel Foods subscribed to Agri Stats reports for Swine Processing from
January 1, 2007 to October 2010, and from December 2014 to November 2017. Through
the now-divested PFFJ, LLC, the Company also subscribed to Agri Stats reports for
Swine Production. After the divestiture of PFFJ to Smithfield in 2016, Hormel Foods
subscribed to the Agri Stats reports for Swine Production from June 2017 to February
2018. Hormel Foods never subscribed to any other Agri Stats reports (for example, Swine
Sales).


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REQUEST NO. 4: All Communications and Documents relating to the scheduling,
attendance, or otherwise referencing any in-person, telephonic, or other meeting between
You and any other Defendant or Pork Integrator.

RESPONSE TO REQUEST NO. 4:

      In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 4 on the grounds that it is overly broad and unduly burdensome

insofar as it is not limited to communications and documents related to Pork,

unnecessarily cumulative, and duplicative insofar as it seeks the same documents and

communications requested by other Requests. Subject to and without waiving any of the

above objections, Hormel Foods will produce nonprivileged, responsive communications

and documents sufficient to show any meetings with any other Defendant or identified

Pork Integrator to the extent they have not already been produced in response to other

Requests.

      The outcome of the Defendants’ Motions to Dismiss based on the statute of

limitations—or any other ruling of the Court regarding the relevant time period in which

the alleged unlawful conduct occurred or plausibly supports a claim—may shorten the time

period for which documents and information responsive to this Request would be relevant

and discoverable. The outcome of the Defendants’ Motions to Dismiss, including the

Court’s rationale if it denies the motions, may affect the proportionality analysis with

regard to the relevancy of the documents and information sought in this Request as

compared to the expense and burden of production.




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REQUEST NO. 5: For each Document Custodian, all:

      a)    electronic and hard copy diaries, calendars, appointment books or notes,
            notebooks, or to-do lists;

      b)    contact information maintained in electronic or hard copy format, for any
            Person who is or was: (i) an owner, employee, consultant, officer, board
            member, Representative, or agent of a Pork Integrator or Agri Stats; (ii) a
            Creditor Representative or Industry Analyst; (iii) an employee of a Trade
            Association; or (iv) an employee of any entity that falls within the definition
            of Industry Meeting.

      c)    trip and travel logs and records, expense reports, and entertainment reports,
            including any other supporting Documents;

      d)    bills, statements, records, and supporting Documents concerning local, long
            distance, and cellular telephone calls by such employees, including calls
            made using telephones not paid for by You (such as home office, fax, and
            personal telephone numbers, personal cellphones, and temporary pay-as-
            you go cellphones) if such telephones were used for business purposes;

      e)    Documents relating to membership in any Trade Association or industry
            group or attendance at any Trade Association, Industry Meeting or Creditor
            Conference, including announcements, membership lists, presentations
            (including speaker notes), agendas, minutes, notes, attendance lists, and
            correspondence;

      f)    a copy of the Person’s most recently created resume or curriculum vitae
            (CV);

      g)    copies of any transcripts or recordings of prior testimony relating to
            Competitive Conditions in the market for Pork, such as testimony at a
            deposition, trial, or public hearing;

      h)    Documents sufficient to show the Document Custodian’s complete contact
            information, including all phone numbers, social media user names or
            “handles,” and email addresses used by such persons for any business
            purposes, even if only sparingly; and

      i)    Any severance agreements in connection with the Document Custodian
            ceasing employment or changing employment status with You (without
            time limitation).




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RESPONSE TO REQUEST NO. 5:

      In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 5 on multiple grounds:

   " Hormel Foods objects to Request No. 5 on the grounds that its request for “all”

      documents is overly broad, unduly burdensome, and not proportional to the needs

      of this litigation, and calls for the production of information not relevant to any

      matter in dispute to the extent that “all” documents are not limited to

      communications with competitors.

   " Hormel Foods objects to Request Nos. 5(a), 5(b), 5(c), and 5(h) on the grounds that

      those requests conflict with and/or impose burdens in excess of the requirements of

      the ESI Protocol Order. Hormel Foods specifically objects to the production of

      nonbusiness and non-Pork information of an identified Document Custodian—

      including, but not limited to, any nonbusiness contact information from the

      Company’s e-mail systems.

   " Hormel Foods objects to Request No. 5(d) on the grounds that it is overly broad,

      unduly burdensome, and not proportional to the needs of the case, and calls for the

      production of information not relevant to any matter in dispute because it purports

      to seek information related to home telephone and fax numbers and purely personal

      cell phones. Hormel Foods further states that it does not have possession, custody,

      or control over the documents sought by Request No. 5(d).

   " Hormel Foods objects to Request No. 5(e) to the extent it seeks documents related

      to “membership in any Trade Association or industry group or attendance at any


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       Trade Association, Industry Meeting or Creditor Conference” on the grounds that it

       is overly broad, unduly burdensome, and not proportional to the needs of this

       litigation, and calls for the production of information not relevant to any matter in

       dispute.

   " Hormel Foods objects to Request No. 5(f) to the extent it seeks documents that are

       not within the Company’s possession, custody, or control, and information that is

       publicly available.

   " Hormel Foods objects to Request No. 5(g) to the extent it calls for the production of

       information not relevant to any matter in dispute and to the extent that any applicable

       protective order would prevent the production of the transcript of a Document

       Custodian’s testimony, if any.

   " Hormel Foods objects to Request No. 5(h) to the extent it purports to require the

       creation of document that do not exist.

   " Hormel Foods objects to Request No. 5(i) on the grounds that it calls for the

       production of information not relevant to any matter in dispute, and is overly broad

       in that it is not limited as to time.

Subject to and without waiving the above objections, Hormel Foods will produce

nonprivileged, responsive documents that exist; that relate to the Company’s Pork

business; that are relevant to the parties’ claims and defenses as determined by the Court’s

rulings on Defendants’ motions to dismiss; and that are in its possession, custody, and

control.




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       The outcome of the Defendants’ Motions to Dismiss based on the statute of

limitations—or any other ruling of the Court regarding the relevant time period in which

the alleged unlawful conduct occurred or plausibly supports a claim—may shorten the time

period for which documents and information responsive to this Request would be relevant

and discoverable. The outcome of the Defendants’ Motions to Dismiss, including the

Court’s rationale if it denies the motions, may affect the proportionality analysis with

regard to the relevancy of the documents and information sought in this Request as

compared to the expense and burden of production.


REQUEST NO. 6: Copies of all Telephone Records in your possession, custody, or
control, including Telephone Records of your main phone number(s), main fax number(s),
and any phone number used as a switchboard for any of your relevant facilities such as
your headquarters, administrative offices, Pork Farms, Pork Processing Facilities, and Pork
sales offices.

RESPONSE TO REQUEST NO. 6:

       In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 6 on the grounds that it is overly broad insofar as it is not limited to

calls made by Document Custodians, unduly burdensome, and calls for the production of

information not relevant to any matter in dispute because it purports to seek Telephone

Records without regard to whether calls were exchanged with any other Defendant or

identified Pork Integrator. On August 8, 2018, the Company sent letters to its

telecommunications providers—Century Link, Jaguar Communications, and Verizon—

requesting that they preserve the Company’s call records. Hormel Foods states that it does




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not have possession, custody, or control of any Telephone Records of any Company phone

or fax numbers. Thus, no documents will be produced in response to this Request.

       The outcome of the Defendants’ Motions to Dismiss based on the statute of

limitations—or any other ruling of the Court regarding the relevant time period in which

the alleged unlawful conduct occurred or plausibly supports a claim—may shorten the time

period for which documents and information responsive to this Request would be relevant

and discoverable. The outcome of the Defendants’ Motions to Dismiss, including the

Court’s rationale if it denies the motions, may affect the proportionality analysis with

regard to the relevancy of the documents and information sought in this Request as

compared to the expense and burden of production.


REQUEST NO. 7: All Documents relating to Communications with investors, Industry
Analysts, benchmarking services, and/or Creditor Representatives regarding Competitive
Conditions in the Pork industry.

RESPONSE TO REQUEST NO. 7:

       In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 7 on the grounds that it is overly broad, unnecessarily cumulative,

and unduly burdensome to the extent it purports to seek drafts or internal communications;

calls for the production of documents not relevant to any matter in dispute; and is

duplicative insofar as it seeks the same documents and communications requested by other

Requests.    Hormel     Foods     maintains        a   website   for   investor   relations

(https://investor.hormelfoods.com/ir-home), which contains public announcements, press

releases, and earnings releases since 2011 and materials from investor events (for example,



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earnings conference calls) since 2013. Hormel Foods further incorporates its objections

and Response to Request No. 21. Subject to and without waiving the above objections,

Hormel Foods will produce responsive public announcements, press releases, earning

releases, and materials from investor events since the beginning of the Relevant Time

Period (which may be shortened by a ruling of the Court on the Defendants’ Motions to

Dismiss), to the extent those documents are not available through the Company’s investor-

relations website. No further documents will be produced in response to this Request.


REQUEST NO. 8: All Documents and Communications regarding the terms of all
purchases, sales, trades, exchanges, or swaps of Pork between You and any other Pork
Integrator, including any contracts, co-packing agreements, joint ventures, other
agreements (whether formal or informal), and any contemplated, proposed, or actual bids.

RESPONSE TO REQUEST NO. 8:

       In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 8 on the grounds that it is vague and ambiguous insofar as the

Company lacks knowledge of which entities constitute Pork Integrators, overly broad,

unnecessarily cumulative, and unduly burdensome. Subject to and without waiving the

above objections, Hormel Foods will produce nonprivileged, responsive documents and

communications between Document Custodians and identified Pork Integrators, if any, and

noncustodial data sufficient to show the Company’s sales to and purchases from identified

Pork Integrators, if any.

       The outcome of the Defendants’ Motions to Dismiss based on the statute of

limitations—or any other ruling of the Court regarding the relevant time period in which

the alleged unlawful conduct occurred or plausibly supports a claim—may shorten the time


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period for which documents and information responsive to this Request would be relevant

and discoverable. The outcome of the Defendants’ Motions to Dismiss, including the

Court’s rationale if it denies the motions, may affect the proportionality analysis with

regard to the relevancy of the documents and information sought in this Request as

compared to the expense and burden of production.


REQUEST NO. 10: Documents sufficient to show industry wide standards of products
and definitions or descriptions of standards for Pork.

RESPONSE TO REQUEST NO. 10:

       In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 10 insofar as it is vague as to the meaning of “industry wide

standards,” and seeks documents that are publicly available. Hormel Foods states that it

looks to the USDA and that agency’s publicly available reports for industry-wide standards

for Pork. No documents will be produced in response to this Request.


REQUEST NO. 11: Documents sufficient to show actual or potential substitutes for Pork,
or the elasticity of supply, demand, or price of Pork, analyzed by You during the Class
Period (including the effect of such substitutes’ prices upon Pork pricing, purchase terms,
or profits).

RESPONSE TO REQUEST NO. 11:

       In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 11 on the grounds that it is vague and ambiguous insofar as it fails

to adequately define “the elasticity of supply, demand, or price of Pork,” and “actual or

potential substitutes for Pork.” Subject to and without waiving the above objections,




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Hormel Foods will produce nonprivileged, responsive documents, if any, sufficient to show

actual or potential substitutes for Pork, or the elasticity of supply, demand, or price of Pork.

       The outcome of the Defendants’ Motions to Dismiss based on the statute of

limitations—or any other ruling of the Court regarding the relevant time period in which

the alleged unlawful conduct occurred or plausibly supports a claim—may shorten the time

period for which documents and information responsive to this Request would be relevant

and discoverable.


REQUEST NO. 14: All Documents utilized or generally referred to by Your Management
or Sales Personnel for quoting, changing, or setting the prices or the terms and conditions
for sale of Pork, including pricing guidelines, pricing methods, pricing formulas,
procedures or authorization procedures for Sales Personnel to quote a price, price changes,
price lists, pricing policies, violations of pricing policies and Documents providing
guidance to Sales Personnel about implementation of price changes.

RESPONSE TO REQUEST NO. 14:

       In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 14 on the grounds that it is overly broad, unnecessarily cumulative,

and unduly burdensome; and calls for the production of documents not relevant to any

matter in dispute insofar as it purports to seek documents related to the pricing of the

Company’s processed, branded, and packaged products. To the extent Request No. 14

purports to seek information regarding the sale of hogs, Hormel Foods states that it is a net

purchaser of hogs. Subject to and without waiving the above objections, Hormel Foods will

produce noncustodial data sufficient to demonstrate the Company’s sales prices for Pork

products it manufactures.




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       The outcome of the Defendants’ Motions to Dismiss based on the statute of

limitations—or any other ruling of the Court regarding the relevant time period in which

the alleged unlawful conduct occurred or plausibly supports a claim—may shorten the time

period for which documents and information responsive to this Request would be relevant

and discoverable.


REQUEST NO. 15: All Documents relating to or communicating Pork price
announcements, price changes, explanations of the reasons for price changes, price lists,
pricing policies, pricing guidelines, pricing methods, pricing formulas, analysis of market
prices, monitoring of competitor pricing, price changes of Pork produced or sold in the
U.S. (including price announcements or explanations of the reasons for price changes),
price increase and surcharge announcements, and any other Communications concerning
Pork price increases or the imposition of surcharges.

RESPONSE TO REQUEST NO. 15:

       In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 15 on the grounds that it is overly broad, unnecessarily cumulative,

and unduly burdensome; is vague and ambiguous to the extent “price announcements, . . .

pricing policies, pricing guidelines, pricing methods, [and] pricing formulas” are not

defined and are unclear; calls for the production of documents not relevant to any matter

in dispute insofar as it purports to seek documents related to the pricing of the Company’s

processed, branded, and packaged products; and is duplicative insofar as it seeks the same

documents and communications requested by other Requests.

       Subject to and without waiving the above objections, Hormel Foods will produce

noncustodial data sufficient to demonstrate the Company’s sales prices—and thus any price




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changes—for Pork products it manufactures. See also the above Response to Request No.

14.

       The outcome of the Defendants’ Motions to Dismiss based on the statute of

limitations—or any other ruling of the Court regarding the relevant time period in which

the alleged unlawful conduct occurred or plausibly supports a claim—may shorten the time

period for which documents and information responsive to this Request would be relevant

and discoverable.


REQUEST NO. 16: All Documents or Communications relating to or exchanged with
Agri Stats or its affiliates (including Express Markets, Inc.), including any consideration
of the risks and/or benefits of providing information to or receiving information from Agri
Stats, the anonymity of individual Pork Integrator data received from Agri Stats, any
reverse-engineering processes employed by You to de-anonymize Agri Stats data, any
contracts or agreements with Agri Stats, any presentations, Communications, or meeting
minutes received from or provided to Agri Stats, and all copies of reports received from
Agri Stats.

RESPONSE TO REQUEST NO. 16:

       In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 16 on the grounds that it is duplicative insofar as it seeks the same

documents and communications requested by other Requests. Subject to and without

waiving any of the above objections, Hormel Foods will produce nonprivileged, responsive

pork-related documents and communications from Document Custodians who

communicated with or received data from Agri Stats and from any noncustodial data

sources.

       The outcome of the Defendants’ Motions to Dismiss based on the statute of

limitations—or any other ruling of the Court regarding the relevant time period in which


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the alleged unlawful conduct occurred or plausibly supports a claim—may shorten the time

period for which documents and information responsive to this Request would be relevant

and discoverable. The outcome of the Defendants’ Motions to Dismiss, including the

Court’s rationale if it denies the motions, may affect the proportionality analysis with

regard to the relevancy of the documents and information sought in this Request as

compared to the expense and burden of production.


REQUEST NO. 17: All Documents or Communications relating to meetings with Agri
Stats or its affiliates (including Express Markets, Inc.).

RESPONSE TO REQUEST NO. 17:

       In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 17 on the grounds that it is duplicative insofar as it seeks the same

documents and communications requested by other Requests. Subject to and without

waiving any of the above objections, Hormel Foods will produce nonprivileged, responsive

pork-related documents and communications relating to meetings with Agri Stats from

Document Custodians and from any noncustodial data sources.

       The outcome of the Defendants’ Motions to Dismiss based on the statute of

limitations—or any other ruling of the Court regarding the relevant time period in which

the alleged unlawful conduct occurred or plausibly supports a claim—may shorten the time

period for which documents and information responsive to this Request would be relevant

and discoverable. The outcome of the Defendants’ Motions to Dismiss, including the

Court’s rationale if it denies the motions, may affect the proportionality analysis with




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regard to the relevancy of the documents and information sought in this Request as

compared to the expense and burden of production.


REQUEST NO. 19: All Documents concerning Pork supply rationalization, industry
leadership, industry discipline, production discipline, supply discipline, capacity
discipline, or other so-called disciplined approaches or practices relating to the Pork
industry.

RESPONSE TO REQUEST NO. 19:

       In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 19 on the grounds that it is vague and ambiguous insofar as the

terms “supply rationalization” and “discipline” are not defined. Subject to and without

waiving any of the above objections, Hormel Foods will apply “supply rationalization,”

“industry leadership,” “industry discipline,” “production discipline,” “supply discipline,”

and “capacity discipline” as search terms to the Document Custodians’ documents, and

will produce nonprivileged, responsive documents, if any.

       The outcome of the Defendants’ Motions to Dismiss based on the statute of

limitations—or any other ruling of the Court regarding the relevant time period in which

the alleged unlawful conduct occurred or plausibly supports a claim—may shorten the time

period for which documents and information responsive to this Request would be relevant

and discoverable. The outcome of the Defendants’ Motions to Dismiss, including the

Court’s rationale if it denies the motions, may affect the proportionality analysis with

regard to the relevancy of the documents and information sought in this Request as

compared to the expense and burden of production.




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REQUEST NO. 20: Documents concerning the porcine epidemic diarrhea virus and its
impact on Pork production.

RESPONSE TO REQUEST NO. 20:

       In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 20 on the grounds that it is overly broad, unnecessarily cumulative,

and unduly burdensome. Subject to and without waiving any of the above objections,

Hormel Foods will produce copies of nonprivileged, responsive documents sufficient to

demonstrate the impact of the porcine epidemic diarrhea virus on Pork production.

       The outcome of the Defendants’ Motions to Dismiss based on the statute of

limitations—or any other ruling of the Court regarding the relevant time period in which

the alleged unlawful conduct occurred or plausibly supports a claim—may shorten the time

period for which documents and information responsive to this Request would be relevant

and discoverable.


REQUEST NO. 21: All Documents and Communications relating to any benchmarking
or information sharing services relating to Pork industry profitability, pricing, production,
or supply other than Agri Stats or Express Markets, Inc.

RESPONSE TO REQUEST NO. 21:

       In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 21 on the grounds that it is vague and ambiguous insofar as it fails

to adequately define “benchmarking or information sharing services,” unduly burdensome

to the extent it purports to seek all documents and communications relating to the USDA

mandatory-reporting requirements, and calls for the production of documents not relevant

to any matter in dispute because the Complaint’s conspiracy allegations are limited to Agri


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Stats and Express Market, Inc. Hormel Foods states that, since terminating its relationship

with Agri Stats, the Company has not entered into any new agreements for benchmarking

services. Subject to and without waiving any of the above objections, Hormel Foods will

produce nonprivileged, responsive documents related to non-USDA benchmarking or

information-sharing services, if any.

       The outcome of the Defendants’ Motions to Dismiss based on the statute of

limitations—or any other ruling of the Court regarding the relevant time period in which

the alleged unlawful conduct occurred or plausibly supports a claim—may shorten the time

period for which documents and information responsive to this Request would be relevant

and discoverable. The outcome of the Defendants’ Motions to Dismiss, including the

Court’s rationale if it denies the motions, may affect the proportionality analysis with

regard to the relevancy of the documents and information sought in this Request as

compared to the expense and burden of production.


REQUEST NO. 22: Documents sufficient to identify any tentative, proposed or
consummated sale, acquisition, merger, joint venture, divestiture, transfer of assets, spin-
off, or any other form of change of ownership or control or business combination
concerning any Pork-related business, production facilities, product lines, or other assets
(including both businesses or assets owned or controlled by You and those owned or
controlled by other Persons), and any minutes, notes, reports, studies, analysis,
presentations, expert or market participant comments, and any analysis or other
information submitted to or received from any governmental agency.




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RESPONSE TO REQUEST NO. 22:

       In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 22 on the grounds that it is overly broad, unnecessarily cumulative,

unduly burdensome, and duplicative insofar as it seeks the same documents and

communications requested by other Requests; calls for the production of documents not

relevant to any matter in dispute because the Complaint does not allege that the Defendants

used deal negotiations to share nonpublic information and to the extent the Request seeks

documents regarding transactions between affiliated entities; and seeks documents and

communications that are subject to nondisclosure and confidentiality agreements. Hormel

Foods further objects to Request No. 22 insofar as it seeks information regarding “any

tentative [or] proposed” transaction concerning any Pork-related business, facilities, lines,

or other assets because such discovery is disproportionate to the needs of the case. Hormel

Foods states that it has consummated the following transactions related to Pork between

January 1, 2008 and June 30, 2018 which required premerger notification under the Hart-

Scott-Rodino Antitrust Improvements Act of 1976: the acquisition of non-corporate

interests of Applegate Farms, LLC in 2015; the divestiture of PFFJ, LLC and Clougherty

Packing, LLC in 2016; the acquisition of assets of Capitol Wholesale Meats, Inc. in 2017;

and the acquisition of voting securities of Columbus Manufacturing, Inc. in 2017. Subject

to and without waiving the above objections, Hormel Foods will produce the HSR filing

and any other materials submitted to or received from the FTC and DOJ in connection with

the above-listed transactions.




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       The outcome of the Defendants’ Motions to Dismiss based on the statute of

limitations—or any other ruling of the Court regarding the relevant time period in which

the alleged unlawful conduct occurred or plausibly supports a claim—may shorten the time

period for which documents and information responsive to this Request would be relevant

and discoverable. The outcome of the Defendants’ Motions to Dismiss, including the

Court’s rationale if it denies the motions, may affect the proportionality analysis with

regard to the relevancy of the documents and information sought in this Request as

compared to the expense and burden of production.


REQUEST NO. 23: All Documents and Communications relating to the immediately
prior Request that reflect the disclosure of any non-public information to another Pork
Integrator concerning Pork Supply Factors, Pork pricing, or any future Pork supply plans,
including documents made available to You or by You through an electronic “data room”
associated with a proposed transaction.

RESPONSE TO REQUEST NO. 23:

       Hormel Foods denies any implication that it engages in merger-and-acquisition

activity and negotiations in order to share or communicate sensitive information with

competitors. In addition to the General Objections and Objections to Definitions, Hormel

Foods objects to Request No. 23 on the grounds that it is overly broad, unnecessarily

cumulative, and unduly burdensome; calls for the production of documents not relevant to

any matter in dispute because the Complaint does not allege that the Defendants used deal

negotiations to share nonpublic information; and seeks documents and communications

that are subject to nondisclosure and confidentiality agreements. Of the transactions listed

in response to Request No. 22, only the 2016 divestiture of PFFJ, LLC and Clougherty



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Packing, LLC to Smithfield involved a company engaged in the slaughter and processing

of pork. Subject to and without waiving any of the above objections, Hormel Foods will

produce responsive documents provided by the Company in the data room for the PFFJ

transaction to the extent that the data room still exists and the documents provided by the

Company can still be identified.

        The outcome of the Defendants’ Motions to Dismiss based on the statute of

limitations—or any other ruling of the Court regarding the relevant time period in which

the alleged unlawful conduct occurred or plausibly supports a claim—may shorten the time

period for which documents and information responsive to this Request would be relevant

and discoverable. The outcome of the Defendants’ Motions to Dismiss, including the

Court’s rationale if it denies the motions, may affect the proportionality analysis with

regard to the relevancy of the documents and information sought in this Request as

compared to the expense and burden of production.


REQUEST NO. 24: All Documents relating to public announcements, press releases, or
corporate Communications by You concerning Competitive Conditions for Pork.

RESPONSE TO REQUEST NO. 24:

        In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 24 on the grounds that it is overly broad, unnecessarily cumulative,

and unduly burdensome to the extent it purports to seek drafts or internal communications;

and calls for the production of documents not relevant to any matter in dispute. Hormel

Foods        maintains      a      website        for     corporate       communications

(https://www.hormelfoods.com/newsroom/), as well as a website for investor relations


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(https://investor.hormelfoods.com/ir-home), which contains public announcements and

press releases since 2011. Subject to and without waiving the above objections, Hormel

Foods will produce responsive public announcements and press releases since the

beginning of the Relevant Time Period (which may be shortened by a ruling of the Court

on the Defendants’ Motions to Dismiss), to the extent those documents are not available

through the Company’s investor-relations website. No further documents will be produced

in response to this Request.


REQUEST NO. 25: All Documents relating to compliance policies, whether
implemented, adopted, used or considered, concerning federal, state, or international
antitrust laws, competition laws, anti-monopoly laws, anti-cartel laws, unfair competition
laws, anti-bribery laws and any similar laws or regulations, or contacts and/or
Communications with Your competitors (including current and former versions of
compliance policies and procedures, presentations, seminars, programs, memos,
statements signed by Your employees with responsibility for Pork that acknowledge receipt
of or compliance with such policies arising from or relating to any prior legal proceedings),
and all Documents relating to any inquiries or investigations concerning compliance with
such policies including those listed in the prior Request.

RESPONSE TO REQUEST NO. 25:

       In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 25 on the grounds that it is vague and ambiguous to the extent

“inquiries or investigations concerning compliance” is not defined and unclear; and calls

for the production of documents related to compliance policies related to international laws,

antibribery laws, and “any similar laws or regulations” which are not relevant to any matter

in dispute and not proportional to the needs of this litigation. Subject to and without

waiving the General Objections and Objections to Definitions, Hormel Foods will produce

nonprivileged, responsive documents sufficient to show the Company’s antitrust-


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compliance policies and that the Document Custodians’ certifications of compliance with

those policies, if any.


REQUEST NO. 26: All Documents relating to the Named Plaintiffs.

RESPONSE TO REQUEST NO. 26:

       In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 26 on the grounds that it is overly broad and unduly burdensome,

and calls for the production of documents which are equally available to Plaintiffs. Subject

to and without waiving the above objections, Hormel Foods will apply search terms

consisting of the names of Named Plaintiffs to the Document Custodians’ documents and

noncustodial data sources, and will produce nonprivileged, responsive documents, if any.

       The outcome of the Defendants’ Motions to Dismiss based on the statute of

limitations—or any other ruling of the Court regarding the relevant time period in which

the alleged unlawful conduct occurred or plausibly supports a claim—may shorten the time

period for which documents and information responsive to this Request would be relevant

and discoverable.


REQUEST NO. 27: Documents relating to actions to conceal or avoid detection of any
potential violations of federal, state, or international antitrust laws, competition laws, anti-
monopoly laws, anti-cartel laws, unfair competition laws, anti-bribery laws and any similar
laws, rules or regulations (including the use of code words or otherwise masking the
identity of any Person or entity, meeting in locations or communicating at times or via
methods with the intent to avoid detection by any Person or entity, using non-traceable
prepaid calling cards or cellphones, non-contract or disposable cell phones, placing calls
from public phones, and destroying, secreting, altering or forging Documents).




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RESPONSE TO REQUEST NO. 27:

       In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 27 on the grounds that it calls for the production of documents

related to international laws, antibribery laws, and “any similar laws or regulations” which

are not relevant to any matter in dispute and not proportional to the needs of this litigation.

Hormel Foods specifically denies any implication that the Company has ever acted to

conceal or avoid detection of any potential violations of federal, state, or international

antitrust, competition, antimonopoly, anticartel, unfair-competition, antibribery, or other

similar laws, rules, or regulations. Although Hormel Foods is not aware of any documents

relating to such actions, subject to and without waiving the above objections, Hormel Foods

will produce nonprivileged, responsive documents relating to actions to conceal or avoid

detection of any potential violations of federal or state antitrust laws, competition laws,

anti-monopoly laws, anti-cartel laws, and antitrust-related unfair-competition laws, if any.

       The outcome of the Defendants’ Motions to Dismiss based on the statute of

limitations—or any other ruling of the Court regarding the relevant time period in which

the alleged unlawful conduct occurred or plausibly supports a claim—may shorten the time

period for which documents and information responsive to this Request would be relevant

and discoverable. The outcome of the Defendants’ Motions to Dismiss, including the

Court’s rationale if it denies the motions, may affect the proportionality analysis with

regard to the relevancy of the documents and information sought in this Request as

compared to the expense and burden of production.




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REQUEST NO. 31: Documents sufficient to show all forms of Your contracts and
invoices, and any summaries of the terms, with contract farmers or Pork Growers.

RESPONSE TO REQUEST NO. 31:

       Subject to and without waiving any of the General Objections and Objections to

Definitions, Hormel Foods will produce template contracts intended for use by the

Company’s procurement group and contracts with contract farmers or Pork Growers

maintained in noncustodial data sources sufficient to show the forms of contracts and terms

used by the Company and the contract farmers or Pork Growers, if any.

       The outcome of the Defendants’ Motions to Dismiss based on the statute of

limitations—or any other ruling of the Court regarding the relevant time period in which

the alleged unlawful conduct occurred or plausibly supports a claim—may shorten the time

period for which documents and information responsive to this Request would be relevant

and discoverable.


REQUEST NO. 32: All contracts, and any summaries of the terms (including duration,
price protection, terms for price modification, surcharges, discounts, or rebates) for the sale
of Pork in the U.S. to Your customers.

RESPONSE TO REQUEST NO. 32:

       In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 32 on the grounds that it is overly broad, unnecessarily cumulative,

unduly burdensome, and duplicative insofar as it seeks the same documents requested by

other Requests. Subject to and without waiving the above objections, Hormel Foods will

produce noncustodial data sources sufficient to show the Company’s sales (and thus

pricing) of Pork to customers and responsive contracts stored in noncustodial data sources.


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       The outcome of the Defendants’ Motions to Dismiss based on the statute of

limitations—or any other ruling of the Court regarding the relevant time period in which

the alleged unlawful conduct occurred or plausibly supports a claim—may shorten the time

period for which documents and information responsive to this Request would be relevant

and discoverable.


REQUEST NO. 33: All Documents relating to any decision to change the pricing terms
for Your customers’ contracts for Pork, including any analyses regarding changes from
fixed-price to adjustable price provisions.

RESPONSE TO REQUEST NO. 33:

       In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 33 on the grounds that it is overly broad and unduly burdensome,

and calls for the production of documents not relevant to any matter in dispute. Subject to

and without waiving the above objections, Hormel Foods will produce nonprivileged,

responsive documents from noncustodial data sources relating to replacement costs, USDA

market reports, and forecasts, and data sufficient to show the Company’s sales (and thus

pricing) of Pork to customers. See also the Company’s Response to Request No. 32 above.

       The outcome of the Defendants’ Motions to Dismiss based on the statute of

limitations—or any other ruling of the Court regarding the relevant time period in which

the alleged unlawful conduct occurred or plausibly supports a claim—may shorten the time

period for which documents and information responsive to this Request would be relevant

and discoverable.




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REQUEST NO. 34: All Documents relating to complaints received from any Pork
customer regarding prices, pricing, or terms or conditions of sale or the refusal or failure
to supply Pork and any responses thereto, and all Documents reflecting any policy of Your
company concerning the handling of such complaints.

RESPONSE TO REQUEST NO. 34:

       In addition to the General Objections and Objections to Definitions, Hormel Foods

objects to Request No. 34 as overly broad, unduly burdensome, and vague and ambiguous

insofar as it fails to adequately define the term “complaints,” and calls for the production

of documents not relevant to any matter in dispute. Based upon Plaintiffs’ March 15 Letter,

Hormel interprets the term “complaints” to include only “customer complaints regarding

any of the pricing or supply terms of the contract (volume, rebates, discounts, etc.).”

Subject to and without waiving any of the above objections, Hormel Foods will endeavor

to work with Plaintiffs’ counsel to identify custodial search terms that may result in

nonprivileged, responsive documents.

       The outcome of the Defendants’ Motions to Dismiss based on the statute of

limitations—or any other ruling of the Court regarding the relevant time period in which

the alleged unlawful conduct occurred or plausibly supports a claim—may shorten the time

period for which documents and information responsive to this Request would be relevant

and discoverable. The outcome of the Defendants’ Motions to Dismiss, including the

Court’s rationale if it denies the motions, may affect the proportionality analysis with

regard to the relevancy of the documents and information sought in this Request as

compared to the expense and burden of production.




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Dated: March 29, 2019

                                        s/ Emily E. Chow
                                        Richard A. Duncan (#0192983)
                                        Aaron D. Van Oort (#0315539)
                                        Craig S. Coleman (#0325491)
                                        Emily E. Chow (#0388239)
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October 26, 2018

VIA EMAIL AND U.S. MAIL

W. Joseph Bruckner
LOCKRIDGE GRINDAL NAUEN P.L.L.P.
100 Washington Avenue South, Suite 2200
Minneapolis, MN 55401

Re:      In re Pork Products Antitrust Litig. (D. Minn.)

Dear Mr. Bruckner:

This letter constitutes the response of Hormel Foods Corporation ("Hormel" or "Company") to the letter
that plaintiffs' counsel in the above-listed action sent to me on July 19, 2018, requesting that Hormel
take certain information-preservation steps with regard to personal device data of five "Identified Senior
Executives" of the Company. In response to that request, to the extent the Identified Senior Executives
were not previously under a legal hold with regard to this matter, they were placed on legal hold, which
will preserve their communications and data on Company-owned computers and other devices.
Additionally, preservation letters were sent to the Company's telecommunications providers.

Hormel does not purchase or otherwise pay for cell phones or other personal devices of Company
employees, including the Identified Senior Executives. Based on our investigation following receipt of
your July 19 letter, there is no reason to believe that any information potentially relevant to this lawsuit
uniquely resides on any personal devices of the Identified Senior Executives (work-related emails would
also reside on Company data storage devices), and we are aware of no general obligation under the
Federal Rules of Civil Procedure to forensically image personal devices of Company personnel.
Nonetheless, Hormel will work with a vendor to have the personal cell phones of the Identified Senior
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W. Joseph Bruckner                                -2-                                  October 26, 2018


Executives imaged, and anticipates having that work completed by November 15, 2018. This action is
being taken without conceding that there is any data contained on those cell phones that would be
relevant to this case and without waiving any argument or objection about the propriety of discovery
directed to those devices.




liJJ?J~
Richard A. Duncan



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         Telephone Numbers
           (202) 277-6328
           (202) 320-4858
           (202) 680-3820
           (202) 720-1749
           (203) 663-1966
           (209) 988-2940
           (212) 574-7588
           (215) 237-6605
           (215) 237-7472
           (215) 368-2500
           (215) 680-1373
           (215) 896-6408
           (217) 370-7284
           (217) 494-9027
           (217) 547-7109
           (217) 622-2535
           (217) 652-5171
           (217) 871-2166
           (219) 309-4350
           (224) 255-9448
           (224) 500-8285
           (224) 944-7107
           (252) 813-0769
           (252) 813-2669
           (260) 241-0371
           (260) 249-4648
           (260) 249-4833
           (260) 249-9777
           (260) 341-7636
           (260) 407-2700
           (260) 407-2725
           (260) 407-2737
           (260) 407-2738
           (260) 407-2751
           (260) 407-2759
           (260) 407-2772
           (260) 407-2788
           (260) 407-6009
           (260) 409-1538
           (260) 410-3403
           (260) 414-3356
           (260) 416-6538
           (260) 416-7143
           (260) 416-9069
           (260) 417-4999
           (260) 433-7142


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         (260) 433-9957
         (260) 433-9960
         (260) 433-9969
         (260) 433-9992
         (260) 437-3550
         (260) 437-3806
         (260) 437-3808
         (260) 437-3812
         (260) 437-3974
         (260) 437-8678
         (260) 437-9633
         (260) 438-0784
         (260) 438-1997
         (260) 438-2188
         (260) 443-4489
         (260) 571-0914
         (260) 579-6169
         (260) 579-6943
         (260) 579-8470
         (260) 579-8474
         (260) 705-1090
         (262) 305-5032
         (262) 496-5933
         (267) 221-1669
         (267) 347-2481
         (267) 347-9624
         (267) 374-5173
         (267) 374-9576
         (267) 377-5818
         (267) 377-6051
         (267) 421-1264
         (267) 421-4724
         (267) 421-4896
         (270) 776-2533
         (270) 776-2536
         (303) 386-5871
         (303) 517-7630
         (303) 548-9311
         (303) 710-0703
         (305) 491-8491
         (309) 335-4842
         (310) 683-8348
         (312) 246-7617
         (312) 446-1288
         (312) 588-3013
         (314) 276-5406
         (314) 765-2702


560617                                                        Phone Numbers for Text Searches
         CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 282 of 639
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         (316) 200-3040
         (316) 291-3012
         (316) 734-1521
         (317) 225-9976
         (317) 450-5925
         (317) 489-1552
         (317) 518-7433
         (317) 525-1728
         (317) 600-6751
         (317) 730-0918
         (317) 967-1107
         (319) 239-3473
         (319) 256-6912
         (319) 330-9822
         (319) 429-6642
         (319) 575-5420
         (319) 575-5462
         (319) 575-5485
         (319) 594-4000
         (319) 759-6874
         (319) 766-2230
         (319) 850-9457
         (319) 931-7893
         (319) 931-9303
         (320) 214-5847
         (320) 894-1492
         (320) 963-3307
         (330) 806-6399
         (331) 212-1482
         (336) 430-0443
         (361) 813-9819
         (388) 437-4603
         (402) 202-3431
         (402) 216-9483
         (402) 380-5371
         (402) 490-9370
         (402) 670-9878
         (402) 720-7406
         (402) 720-8638
         (402) 729-7761
         (402) 826-8809
         (402) 928-0635
         (402) 952-0532
         (402) 952-0553
         (402) 952-0560
         (402) 952-0561
         (402) 968-8284


560617                                                        Phone Numbers for Text Searches
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         (402) 983-1681
         (402) 990-2175
         (402) 990-5244
         (404) 229-8910
         (404) 754-6570
         (405) 227-1360
         (405) 550-2195
         (405) 747-4832
         (405) 833-2074
         (407) 952-0553
         (410) 271-1398
         (414) 732-3883
         (414) 918-3293
         (419) 266-1978
         (435) 691-4705
         (440) 225-4854
         (440) 506-8501
         (479) 200-3879
         (479) 200-4576
         (479) 236-1192
         (479) 236-4836
         (479) 236-5157
         (479) 236-5375
         (479) 236-7651
         (479) 236-8706
         (479) 263-0358
         (479) 263-6083
         (479) 263-9890
         (479) 268-5920
         (479) 268-5922
         (479) 273-0128
         (479) 290-2970
         (479) 290-3949
         (479) 290-4001
         (479) 290-4002
         (479) 290-4194
         (479) 290-4235
         (479) 290-4617
         (479) 290-5817
         (479) 290-6338
         (479) 290-6393
         (479) 290-6676
         (479) 290-8094
         (479) 290-8095
         (479) 290-8096
         (479) 387-1749
         (479) 387-6178


560617                                                        Phone Numbers for Text Searches
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         (479) 387-7426
         (479) 435-4974
         (479) 466-9322
         (479) 595-1328
         (479) 601-1584
         (479) 601-3250
         (479) 713-0877
         (479) 713-9779
         (479) 713-9961
         (479) 841-7584
         (479) 871-0563
         (479) 871-1240
         (479) 871-4186
         (479) 871-4959
         (479) 871-8566
         (479) 871-9491
         (479) 879-2864
         (479) 879-7262
         (479) 903-5783
         (479) 957-7801
         (479) 968-5376
         (479) 986-1364
         (502) 552-5341
         (502) 582-0317
         (503) 784-3036
         (505) 220-4796
         (507) 206-7232
         (507) 206-7433
         (507) 206-7544
         (507) 206-7957
         (507) 206-9643
         (507) 206-9833
         (507) 208-3021
         (507) 208-8179
         (507) 215-0474
         (507) 215-3749
         (507) 215-5032
         (507) 219-1048
         (507) 219-6986
         (507) 227-2308
         (507) 227-9485
         (507) 272-9693
         (507) 276-7883
         (507) 279-0216
         (507) 279-0480
         (507) 298-0968
         (507) 301-1089


560617                                                        Phone Numbers for Text Searches
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                                  Pork Antitrust Litigation

         (507) 301-1110
         (507) 301-1160
         (507) 301-2128
         (507) 317-5617
         (507) 344-6466
         (507) 381-0611
         (507) 381-9630
         (507) 383-3062
         (507) 437-5173
         (507) 437-5318
         (507) 437-5691
         (507) 437-5694
         (507) 437-5696
         (507) 437-5697
         (507) 437-5698
         (507) 438-0009
         (507) 438-1119
         (507) 440-4172
         (507) 440-4920
         (507) 440-6811
         (507) 460-8708
         (507) 589-5890
         (507) 774-9655
         (507) 794-8582
         (507) 822-8488
         (507) 822-8489
         (507) 840-0778
         (507) 841-0402
         (507) 841-0931
         (507) 841-4108
         (507) 848-6751
         (507) 993-0346
         (507) 993-2661
         (507) 993-3506
         (507) 993-5185
         (513) 218-5392
         (513) 226-1690
         (513) 235-3414
         (513) 260-4401
         (513) 502-8948
         (513) 672-4520
         (513) 884-5044
         (513) 979-5141
         (515) 203-1325
         (515) 204-7036
         (515) 210-1263
         (515) 210-6907


560617                                                        Phone Numbers for Text Searches
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         (515) 223-2606
         (515) 229-4235
         (515) 230-9272
         (515) 231-2758
         (515) 231-7027
         (515) 238-7389
         (515) 240-0315
         (515) 240-7240
         (515) 250-4505
         (515) 284-4856
         (515) 298-1421
         (515) 320-1343
         (515) 321-5550
         (515) 330-5431
         (515) 333-1092
         (515) 360-6188
         (515) 418-2450
         (515) 450-2029
         (515) 451-6652
         (515) 473-1580
         (515) 480-0370
         (515) 491-5173
         (515) 509-1570
         (515) 520-3299
         (515) 520-9208
         (515) 554-6059
         (515) 556-8964
         (515) 577-0784
         (515) 669-5536
         (515) 681-3445
         (515) 681-6476
         (515) 681-7673
         (515) 689-0500
         (515) 689-0522
         (515) 689-2495
         (515) 689-3632
         (515) 689-6642
         (515) 720-0936
         (515) 720-3332
         (515) 778-7763
         (515) 795-3626
         (515) 817-6065
         (515) 864-1776
         (515) 864-7994
         (515) 864-8848
         (515) 890-2252
         (515) 979-5730


560617                                                        Phone Numbers for Text Searches
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         (515) 984-6046
         (515) 988-2244
         (515) 988-5686
         (520) 582-0317
         (520) 907-8170
         (540) 750-0399
         (540) 896-4043
         (559) 999-1514
         (561) 523-1796
         (563) 212-3475
         (563) 299-6112
         (563) 320-0369
         (563) 343-3545
         (563) 349-8722
         (563) 379-9100
         (563) 412-9208
         (563) 412-9256
         (563) 529-1581
         (563) 940-0600
         (573) 268-1422
         (573) 289-0088
         (580) 334-5750
         (580) 461-7151
         (580) 541-9166
         (580) 651-6299
         (580) 651-6507
         (580) 651-6725
         (580) 651-7141
         (580) 651-7566
         (585) 662-7131
         (602) 430-5105
         (605) 235-2692
         (605) 235-2812
         (605) 235-3081
         (605) 235-3325
         (605) 235-3649
         (605) 295-2406
         (605) 323-3514
         (605) 330-3144
         (605) 330-3300
         (605) 592-0373
         (605) 660-8944
         (608) 243-0776
         (608) 279-2160
         (608) 588-5405
         (608) 588-5407
         (608) 588-5409


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         (608) 588-5884
         (610) 405-4985
         (610) 504-9078
         (612) 202-3143
         (612) 747-0943
         (612) 805-4735
         (612) 963-8092
         (614) 783-9800
         (615) 476-0808
         (617) 560-9351
         (618) 301-2051
         (618) 301-2055
         (618) 322-5315
         (618) 335-0555
         (618) 335-0883
         (618) 335-1359
         (618) 335-1557
         (618) 335-1940
         (618) 335-2022
         (618) 335-8663
         (618) 335-8933
         (618) 401-3572
         (618) 525-8824
         (618) 541-2286
         (618) 791-3560
         (618) 792-8082
         (618) 792-8320
         (618) 830-1041
         (618) 830-2077
         (618) 830-5821
         (618) 830-7676
         (618) 830-8362
         (618) 844-7471
         (618) 844-7527
         (619) 980-9962
         (626) 905-5029
         (630) 437-0900
         (630) 453-1024
         (630) 544-7169
         (630) 835-9892
         (641) 229-6170
         (641) 229-6319
         (641) 330-3943
         (641) 364-7844
         (641) 394-6514
         (641) 485-5631
         (641) 485-9363


560617                                                        Phone Numbers for Text Searches
         CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 289 of 639
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         (641) 584-2777
         (641) 660-2469
         (641) 680-2041
         (641) 751-6714
         (641) 757-9300
         (660) 748-5602
         (704) 298-0936
         (704) 330-9171
         (704) 533-2088
         (704) 791-4858
         (712) 212-6127
         (712) 212-6731
         (712) 223-6480
         (712) 229-2102
         (712) 229-8906
         (712) 229-8913
         (712) 229-8915
         (712) 251-2272
         (712) 251-2678
         (712) 251-5243
         (712) 251-6112
         (712) 251-7650
         (712) 252-7650
         (712) 252-9075
         (712) 259-4587
         (712) 259-9054
         (712) 273-5745
         (712) 277-2632
         (712) 299-0891
         (712) 299-3426
         (712) 330-3678
         (712) 371-2150
         (712) 389-7860
         (712) 490-2506
         (712) 490-2809
         (712) 490-3502
         (712) 490-6201
         (712) 490-8076
         (712) 490-8148
         (712) 490-9209
         (712) 490-9777
         (712) 539-2994
         (712) 574-0092
         (712) 574-0284
         (712) 574-1230
         (712) 574-1994
         (712) 574-2069


560617                                                        Phone Numbers for Text Searches
         CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 290 of 639
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         (712) 574-4194
         (712) 574-8736
         (712) 749-5254
         (712) 752-8666
         (712) 830-7745
         (712) 898-1460
         (712) 898-7402
         (712) 898-8812
         (712) 899-6143
         (712) 899-6278
         (712) 899-8961
         (717) 413-8717
         (717) 554-0475
         (717) 725-2781
         (720) 579-4920
         (732) 673-8323
         (757) 274-6172
         (757) 275-4548
         (757) 284-8025
         (757) 323-5025
         (757) 332-0049
         (757) 334-2402
         (757) 345-1146
         (757) 355-2620
         (757) 357-1514
         (757) 365-1986
         (757) 371-1032
         (757) 371-9499
         (757) 375-1648
         (757) 375-2541
         (757) 375-5758
         (757) 377-0989
         (757) 377-3983
         (757) 377-7733
         (757) 377-8730
         (757) 503-6793
         (757) 510-3194
         (757) 535-7703
         (757) 570-2441
         (757) 585-6544
         (757) 593-3144
         (757) 618-9246
         (757) 620-1746
         (757) 620-9438
         (757) 620-9715
         (757) 642-0359
         (757) 687-9664


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         (757) 705-1989
         (757) 771-6418
         (757) 803-3620
         (757) 803-4521
         (757) 803-7452
         (757) 803-8518
         (757) 813-4899
         (757) 846-7077
         (757) 846-8197
         (757) 846-8435
         (757) 876-2475
         (757) 876-6606
         (763) 744-7011
         (765) 210-0658
         (765) 412-1450
         (765) 426-0029
         (765) 489-1387
         (765) 564-3680
         (765) 564-3844
         (765) 564-7269
         (765) 654-9722
         (785) 806-4732
         (800) 626-7424
         (800) 679-7979
         (803) 429-3759
         (804) 382-4697
         (804) 690-5430
         (804) 814-9353
         (806) 252-8156
         (812) 493-2892
         (814) 758-3115
         (815) 275-9018
         (815) 591-4010
         (815) 761-5368
         (815) 848-5158
         (816) 243-2737
         (816) 243-2738
         (816) 243-2739
         (816) 243-2782
         (816) 243-2783
         (816) 243-2786
         (816) 243-2793
         (816) 243-2803
         (816) 243-2804
         (816) 243-2808
         (816) 243-2809
         (816) 243-2822


560617                                                        Phone Numbers for Text Searches
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         (816) 243-2824
         (816) 243-2825
         (816) 243-2827
         (816) 243-2870
         (816) 243-2871
         (816) 243-2876
         (816) 243-2878
         (816) 243-3396
         (816) 243-4312
         (816) 243-4334
         (816) 243-4342
         (816) 243-4355
         (816) 260-0149
         (816) 260-0892
         (816) 260-1209
         (816) 260-1660
         (816) 260-5882
         (816) 260-9231
         (816) 261-4789
         (816) 261-5284
         (816) 266-0040
         (816) 273-8890
         (816) 288-3488
         (816) 289-5501
         (816) 304-1101
         (816) 344-8580
         (816) 396-2701
         (816) 396-2706
         (816) 396-2707
         (816) 396-2736
         (816) 396-2831
         (816) 396-2832
         (816) 396-2856
         (816) 401-7768
         (816) 500-4979
         (816) 500-6184
         (816) 500-9701
         (816) 507-1402
         (816) 507-5940
         (816) 509-0971
         (816) 509-5585
         (816) 509-5657
         (816) 510-3641
         (816) 510-6484
         (816) 510-8476
         (816) 510-9966
         (816) 516-5992


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         (816) 519-6826
         (816) 522-0827
         (816) 536-6046
         (816) 589-8824
         (816) 591-1240
         (816) 591-4010
         (816) 591-8443
         (816) 604-7088
         (816) 665-4308
         (816) 678-5579
         (816) 728-8640
         (816) 728-8659
         (816) 786-0629
         (816) 803-1935
         (816) 805-0156
         (816) 806-3326
         (816) 806-3354
         (816) 807-7303
         (816) 835-7542
         (816) 868-3348
         (816) 868-4139
         (816) 868-7978
         (816) 872-0469
         (816) 876-1086
         (847) 421-6772
         (847) 651-9870
         (847) 757-2842
         (847) 772-5313
         (850) 699-3950
         (860) 208-3342
         (866) 267-4412
         (888) 634-6740
         (901) 647-8453
         (901) 761-8420
         (901) 761-8465
         (910) 289-9155
         (910) 290-1511
         (910) 290-5531
         (910) 293-3434
         (910) 293-5200
         (910) 299-3006
         (910) 301-0072
         (910) 372-8060
         (910) 379-7555
         (910) 385-6229
         (910) 385-6913
         (910) 470-1042


560617                                                        Phone Numbers for Text Searches
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         (910) 506-9411
         (910) 592-2104
         (910) 596-8295
         (910) 862-5246
         (910) 862-5252
         (912) 665-8155
         (913) 205-4234
         (913) 205-7839
         (913) 219-1044
         (913) 229-2335
         (913) 261-2614
         (913) 302-0361
         (913) 302-1480
         (913) 302-1550
         (913) 302-2484
         (913) 302-3057
         (913) 302-4229
         (913) 302-5890
         (913) 302-9638
         (913) 302-9880
         (913) 302-9881
         (913) 302-9882
         (913) 302-9883
         (913) 302-9884
         (913) 302-9885
         (913) 314-1384
         (913) 314-7379
         (913) 314-7501
         (913) 314-8597
         (913) 314-9824
         (913) 314-9907
         (913) 394-9907
         (913) 439-9858
         (913) 449-8764
         (913) 558-2575
         (913) 558-6175
         (913) 558-8141
         (913) 593-3352
         (913) 593-6455
         (913) 660-3463
         (913) 687-2897
         (913) 708-2194
         (913) 709-8881
         (913) 754-6244
         (913) 787-2044
         (913) 851-3269
         (913) 888-5103


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         (913) 957-0163
         (913) 957-6206
         (913) 972-2673
         (913) 991-0290
         (917) 297-3360
         (917) 692-6985
         (918) 964-9729
         (920) 698-0594
         (928) 358-8372
         (928) 386-0544
         (941) 400-1265
         (941) 450-5905
         (949) 794-2241
         (952) 292-7759
         (970) 223-1237
         (970) 237-1273
         (970) 260-5920
         (970) 260-5960
         (970) 301-6181
         (970) 302-5020
         (970) 302-6194
         (970) 302-8191
         (970) 330-7712
         (970) 371-2754
         (970) 373-6261
         (970) 373-8024
         (970) 381-4430
         (970) 506-7595
         (970) 506-7622
         (970) 506-7664
         (970) 506-7904
         (970) 506-8003
         (970) 506-8008
         (970) 506-8235
         (970) 584-9659
         (970) 590-5763
         (970) 590-5886
         (973) 873-4935
         (973) 938-9256
         (262) 587-2410
         (262) 587-2618
         (402) 314-0669
         (910) 267-1870
         (910) 269-2918
         (910) 282-0605
         (910) 282-6605
         (910) 285-2778


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         (910) 285-6865
         (910) 289-2111
         (910) 289-2114
         (910) 289-2263
         (910) 289-2414
         (910) 289-2918
         (910) 289-4211
         (910) 289-4214
         (910) 289-4476
         (910) 289-4493
         (910) 293-2939
         (910) 293-3089
         (910) 293-3139
         (910) 293-3285
         (910) 293-4226
         (910) 293-4344
         (910) 293-4737
         (910) 293-9352
         (910) 296-0107
         (910) 296-1120
         (910) 296-1437
         (910) 296-1524
         (910) 296-1800
         (910) 296-1823
         (910) 296-1860
         (910)265-2778
         (919) 865-3059
         (940) 267-1870
         (940) 843-3487




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Search Terms for Text Messages
Smithfield OR "Farmland" or "MurphyBrown" or "Murphy Brown" or "John Morrell" or
"Farmer John" or farmerjohn
*smithfield.com OR *smithfieldfoods.com OR *farmland.com OR *murphybrownllc.com
OR *sf-fl.com OR *sf.fl.com OR *jmfg.com OR *farmerjohn.com

Copa OR Dubbert OR (Ron* w/2 Knowles) OR ((robert or bo) w/2 manly) OR Phalen OR
(Larry w/2 Pope) OR (Scott w/2 Saunders) OR (Gregg w/2 Schmidt) OR
(Dhamu or Thamodaran) OR Barger OR Bogaard OR Dohlman OR (Su* w/2 Dow) OR
(Vic* w/2 Flemming) OR Kaster OR Lombardo OR ((Robert or Bob*) w/2 Moore)
OR Sabin OR Szaloky OR Luckman OR (Ken* w/2 Sullivan) OR (Keller w/2 Watts) OR ((joe
or joseph) w/2 Weber) OR luter OR Schellpeper OR Nunziata OR Sebring OR Dokken OR
(Arn* w/2 Silver) OR Mallahan OR (Jerry w/2 Lamb) OR Kapella OR (john w/2 french)
or (Darden w/2 Hurt) or (Jacob w/2 Einberger) or ((Benjamin or Benjie or Ben)
w/2 Oates) or (Brian w/2 Gordon)
timshellpeper* OR toschellpeper* OR ebarger* OR ddubbert* OR srphalen* OR
joeweber* OR markcopa* OR dandubbert* OR ronknowles* OR robertmanly* OR
shellyphalen* OR clarrypope* OR larrypope* OR scottsaunders* OR greggschmidt* OR
dhamuthamodaran* OR elizabethbarger* OR robertbogaard*OR jessedohlman* OR
susandow* OR victorflemming* OR collettekaster* OR keiralombardo* OR
robertmoore* OR dansabin* OR joeszaloky* OR jeffluckman* OR kennethsullivan* OR
kellerwatts* OR josephluter* OR glennnunziata* OR josephsebring* OR russelldokken*
OR arnoldsilver* OR karolinamallahan* OR jerrylamb* OR dankapella* OR jfrench* or
dhurt* or jeinberger* or boates* or bgordon*

Tyson or TSN or TYSN
*tyson.com
(Don* w/2 Tyson) OR John* w/2 Tyson) OR ((Thomas or Tom) w/2 Hayes) OR (Don* w/2
Smith) OR (Rich* w/2 Bond) OR (Noel w/2 White) OR Stouffer OR (Todd w/2 Neff) OR
(Shane w/2 Miller) OR Krehbiel OR Solsma OR ((James or Jim) w/2 Schmitz) OR (Steve*
w/2 Billups) OR (Deborah w/2 McConnell) OR Tollett OR Lochner OR (Leah w/2
Anders*) OR Brester OR Machan OR (Jeremy w/2 Dickinson) OR (John* w/2 Thomas) OR
Kathol OR Wisener OR Holbrook OR Leatherby OR (Ray* w/2 McGaugh) OR Sheneman
OR Hollingsworth OR Gingerich OR Glendinning OR Johnk OR Roel or Andriessen or
(melissa w/2 fick) or (donnie w/2 king) or Heffernan

deb.mcconnell* OR noel.white* OR todd.neff* OR shane.miller* OR jason.brester* OR
gary.machan* OR john.c.thomas* OR don.tyson* OR john.h.tyson* OR thomas.hayes*
OR donnie.smith* OR richard.bond* OR stephen.stouffer* OR jay.krehbiel* OR
jason.solsma* OR james.schmitz* OR steve.billups* OR leland.tollett* OR
james.lochner* OR leah.andersen* OR jeremy.dickinson* OR jon.kathol* OR
ruth.wisener* OR ruth.a.wisener* OR jerry.holbrook* OR dennis.leatherby* OR
ray.mcgaugh* OR gary sheneman* OR raymond.hollingsworth* OR mark.gingerich* OR
steward.glendinning* OR lanny.johnk* OR roel.andriessen* or melissa.fick* or
donnie.king* or daniel.heffernan*

Triumph or seaboardtriumphfoods


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*triumphfoods.com OR *seaboardtriumphfoods.com OR *stfmail.com
(Mark w/2 Campbell) OR Papenberg OR (Matt* w/2 England) OR Wedeking OR
Lehenbauer OR ((Tom* or Thomas) w/2 French) OR (Ken* w/2 Grannas) OR Diebold OR
((Rick or Rich*) w/2 Hoffman) OR Kleiniein OR Larimer OR (Pat* w/2 Lilly) OR (Dan* w/2
Marlow) OR Schmerbach OR McClain OR Southwell OR (Clay w/2 Swan) OR Conaway OR
Reeder OR (Misty w/2 Taylor)
kgrannas* OR mengland* OR alarimer* OR mcampbell* OR fpapenberg* OR
kwedeking* OR jlehenbauer* OR tfrench* OR jdiebold* OR rhoffman* OR jkleiniein* OR
plilly* OR dmarlow* OR dschmerbach* OR msouthwell* OR cswan* OR kconaway* OR
jreeder* OR mtaylor*
Seaboard or "sea board" or SBF or seaboardtriumphfoods
*seaboardfoods.com OR *seaboardtriumphfoods.com OR *stfmail.com
Blumhardt OR Brenneman OR (Mel w/2 Davis) OR Dye OR Getzel OR Ginther OR Hast
OR (Kevin w/2 Henn) or (Ter* w/ Holton) OR Hunderdosse OR (Gary w/2 Lewis) OR
(Duke w/2 Sand) OR (Kevin w/2 Smith) OR (Josh* w/2 Stewart) OR Summerlin OR
Taphorm OR (Joan w/2 Contreras) OR Lecluyse OR (Lesa w/2 Tuley) OR Brandi w/2
McClure
stephen_summerlin* OR damon_ginther* OR rod_brenneman* OR terry_holton* OR
marty_hast* OR thomas_blumhardt* OR mel_davis* OR tom_dye* OR bret_getzel* OR
kevin_henn* OR aaron_hunderdosse* OR gary_lewis* OR duke_sand* OR kevin_smith*
OR josh_stewart* OR brian_taphorn* OR joan_contreras* OR anna_lecluyse* OR
lesa_tuley* OR brandi.mcclure* or brandi_mcclure*

"Agri Stats" or agristat* or agstat* or "A-stat" OR "agri-stats" OR "agri-metrix" or
agrimetrix OR "agri metrix" OR "agri tech" OR “AG-stats” OR agsts OR astats OR agst OR
agrimetric* OR "agri metric" OR "agri metrics" OR "agri-metrics" "Express Market” OR
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*agristats.com OR *expressmarketsinc.com OR *emianalytics.com
(Brian w/2 Synder) OR Grismore OR Scholer OR Bilbrey OR (Stac* w/2 Edwards) OR
(Stac* w/2 Brooks) OR Dess OR Agne OR (Josh* w/2 Edwards) OR Feitz OR (Steve* w/2
Meyer) OR Stegall OR Neff OR (Blair w/2 Synder) OR Matt w/2 McNeal
dgrismore* OR sedwards* OR bhsnyder* OR escholer* OR gbilbrey* OR gdess* OR
cagne* OR jedwards* OR jfeitz* OR smeyer* OR cstegall* OR tneff* OR bsnyder* OR
sbrooks* OR mmcneal*
Hormel or PFFJ*
*hormel.com
Bogle OR Bollum OR Chenoweth OR Hoefflin OR Peil OR (Jose w/2 Rojas) OR Temperley
OR Adwell OR Annis OR (Steve* w/2 Binder) OR ((Tom or Thomas) w/2 Day) OR Ettinger
or Farnsworth OR Feragen OR (Jana w/2 Haynes) OR Hyland or Lieberum OR ((Jim OR
James) w/2 Sheehan) OR ((William or Bill) w/2 Snyder) OR Coffey OR Fiala OR Leitch OR
Meiergerg OR Snee OR Gyarmarty OR (Neal w/2 Hull) OR ((Jennifer or Jenny) w/2
Johnson) OR LaVallie OR Steinbach OR Venenga OR (Rebecca w/2 Roddy)

jnsheehan* OR cdbollum* OR paul_l_peil* OR RMRoddy*
Clemens or CFG or CVF or "country view family farms" or Hatfield or cvff or hqm



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*cvff.com OR *clemensfoodgroup.com OR *clemensdevelopment.com OR
*clemensfamilycorp.com OR *cvff.com OR *hqm.com
(Doug* w/2 Clemens) OR Edsill OR (Eric w/2 Patton) OR Rennells OR ((Rob* OR Bob) w/
Ruth) OR Groff OR Masotta OR Schmberbeck OR Budnick OR (Phil* w/2 Clemens) OR
((Ronald or Ron) w/2 Freed) or ((Thomas or Tom) w/2 Clemens)
dgroff* or dclemens* OR cedsill* or epatton* OR jrennells* OR rruth* OR jmasotta* OR
jschmerbeck* OR dbudnick* OR pclemens* OR ron@clemens* or tom@hqm*

JBS* or Cargill
*jbssa.com OR *JBSunited.com OR *cargill.com
(wesley w/2 batista) OR (joesley w/2 batista) OR (Don* w/2 Jackson) OR Nogueira OR
Bruett OR Denilson OR (Garry w/2 Albright) OR (Kevin w/2 Arnold) OR (Ed* w/2 Bick)
OR (Jerry w/2 Bick) OR (Jerry w/2 Brooks ) OR Dooley OR Goulding OR (Tim* w/2 Hiller)
OR ((Bob OR Robert) w/2 Krebs) OR (Kristina w/2 Lambert) OR Lorenger OR (Matt* w/2
Turner) OR (Eric w/2 Wallin) OR Andersland OR Fosbery OR Huebner OR (Rob* w/2
Kearns) OR Kupfer OR (Ron* w/2 Ott) OR (Lisa w/2 Peters) OR (George w/2 Price) OR
((Mike OR Michael) w/2 Swanson) OR (Joe* w/2 Newhart) OR ((Mike or Michael) w/2
McCarthy) OR (Sara w/2 Armstrong) OR (Beth w/2 Foss) OR (Jeannie w/2 Foster) OR
(Jeff* w/2 Greene) OR (Tim* w/2 Uber)
kevin.arnold* OR wesley.batista* OR joesley.batista* OR don.jackson* OR
andre.nogueira* OR cameron.bruett* OR denilson.molina* OR garry.albright* OR
ed.bick* OR jerry.brooks* OR martin.dooley* OR roger.goulding* OR tim.hiller* OR
bob.krebs* OR kristina.lambert* OR brad.lorenger* OR matthew.turner* OR
eric.wallin* OR ryan.andersland* OR jamie.fosbery* OR pat.huebner* OR
robbie.kearns* OR joh.kupfer* OR ron.ott* OR lisa.peters* OR george.price* OR
michael.swanson* OR joe.newhart* OR mike.mccarthy* OR sara.armstrong* OR
beth.foss* OR jeannie.foster* OR jeff.greene* OR tim.uber*
IPC or "Indiana Packers"
*inpac.com OR *indianapackerscorp.com
(Gary w/3 Jacobson) OR (Russ* w/3 Yearwood) OR (Dav* w/3 Murray) OR (Galen w/3
Stiverson) OR (Mark w/3 McCain) OR ((James or Jim) w/3 Allen)
Gary.Jacobson OR Russell.Yearwood OR David.Murray OR Galen.Stiverson OR
Mark.McCain OR James.Allen
(agro w/2 bauer) OR (aspen w/2 pork) OR (cottonwood w/2 river) OR (eichelberger w/2
farm*) OR (IC w/2 pork) OR (kronseder w/2 farm*) OR (nfp w/2 west) OR (oak w/2
research) OR (southern w/2 minnesota w/2 farm*) OR hanor OR trioak OR (upper w/2
midwest w/2 swine) OR (allied w/2 producer*) OR (christensen w/2 farm*) OR (crown
w/2 prairie) OR (ewington w/2 farm*) OR (new w/2 fashion w/2 pork) OR (roberts w/2
ranch) OR ((daily's OR dailys) w/2 premium)


*eichelbergerfarms@gmail.com OR *eichfarms.com OR *eichelbergerfarms.com OR
*hanorusa.com OR *hanorcompany.com OR *trioak.com OR *alliedproducers.com OR
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(allied w/2 producer*) OR christensen OR eichelberger OR hanor OR "Iowa Select" OR
*iowaselect OR *jkerns OR "Joe Kerns" OR (maple w/2 leaf) OR (pork w/2 king w/2
packing) OR (Premium w/2 Iowa w/2 Pork) OR (sara w/2 lee) OR (swift w/2 pork) OR
pigsrus OR Maschhoffs OR themaschhoffs OR trioak OR (wakefield w/2 pork)

*christensenfarms.com OR *farmtel.net OR *hanorusa.com OR *iowaselect.com OR
*mapleleaf.ca OR *mapleleaf.com OR *porkkingpacking.com OR
*premiumiowapork.com OR *saralee.com OR *jbssa.com OR *pigsrus.net OR
*trioak.com OR *wakefieldpork.com
"National Pork Producers Council" OR (neil w/2 dierks) OR NPPC OR *@nppc.org OR
"PORK Academy" OR "National Pork" OR "Fall Legislative Action Conference" OR
"National Pork Industry Forum" OR "Spring Legislative Conference" OR "World Pork
Expo" OR PORKPAC OR LEADR OR "Pork Leadership Institute" OR "Food Marketplace
Inc." OR (Leslie w/2 sarasin) OR "Food Marketing Institute" OR *fmi.org OR "21st
Century Strategic Forums" OR *porkconference.com OR *21stforums.com OR "National
Pork Industry Conference" OR NPIC OR "Graham Strategic Partners" OR "Larry Graham"
OR "Lawrence Graham" OR "National Pork Board" OR (dav* w/2 newman) OR (gene
w/2 noem) OR *@pork.org OR "21st Century Pork Club" OR "Pork Checkoff" OR "North
American Meat Institute" OR (pat* w/2 boyle) OR jpboyle* OR (barry w/2 carpenter) OR
bcarpenter* OR *meatami OR (cristl w/2 (mccarthy or cmccarthy*)) OR NAMI OR
*@meatinstitute.org OR "American Meat Institute" OR NAMI OR AMI OR (animal w/2
care w/2 handling w/2 conference) OR "Annual Meat Conference"
(International w/2 Meat /2 Poultry w/2 Seafood w/2 Convention w/2 Expo) OR "Meat
Industry Management Conference" OR "Meat Industry Summit" OR "Outlook and
Industry Management Conference*" OR "Meat Institute" or meatinstitute or
*meatinstitute.org OR (julie w/2 potts) OR "Worldwide Food Expo" OR IFDA OR "Center
of the Plate Training" OR "Environmental Conference" OR "Fall Forum" OR IPPE OR
"Meat Pavilion" OR "Meat Industry Food Safety Conference" OR "International Meat
Secretariat" OR *meat-ims.org OR "World Meat Congress" OR IMS OR "United States
Meat Export Federation" OR "U.S. Meat Export Federation" OR USMEF OR *@usmef.org
OR (phil* w/2 (seng OR pseng*)) OR *usmef.org OR jhaggard* OR "World Meat
Congress" OR "American Feed Industry Assoc*" OR ((constance or connie) w/2 cullman)
OR AFIA OR *@afia.org OR "International Production and Processing Expo" OR IPPE




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(Justin w/2 Sherrard) OR (sawyer w/2 (will* OR WR OR W.R.)) OR (don* w/2 close) or
Cordingley OR (Chenjun w/2 Pan) OR (Ben w/2 santoso) OR (Christine w/2 McCracken)
OR or (Weststrate or westrate or Adriaan) or (juan 2/ manual w/2 fernandez) OR ((jm
or j.m.) w/2 fernandez) OR CoBank* OR tamen* OR lsahling* OR *cobank.com OR
BMO* OR bmocm or *bmo.com or zaslow or kzaslow OR (ken* /2 zaslow) OR
Compeer* OR *kerns-associates.com OR (Kerns w/2 Assoc*) OR (steve w/2 meyer) OR
(Meredith* w/2 Corp*) OR (Jefferies w/2 LLC) OR Jagdale* OR Akshay* OR (Stephens
w/2 Inc) OR bienvenu* or *stephens.com or faslam* Farha or Aslam OR "Goldman
Sachs" OR GoldmanSachs or *gs.com OR "JP Morgan*" OR JPMorgan* or JPM or
"Basic Materials Conference" or *jpmorganchase.com or *jpmchase.com or *jpmorgan
or (Ken* w/2 Goldman) or *jpmresearchmail.com or jpmchase or (Hinsdale w/2 Palmer)
or (alan w/2 alanis) OR "Merrill Lynch" OR ml.com OR (Bank w/2 America) OR
bankofamerica or BOA or "Global Agriculture Conference" or *bankofamerica.com or
*baml.com OR "b of a" OR bofa OR boa OR "bottom line" OR agstar or (Graham w/2
Dee) OR (Aaron w/2 Knewston) OR (Craig w/2 Nelson) OR (Mark w/2 Greenwood) OR
"Deutsche Bank*" OR db.com or (Christina w/2 McGlone) OR (Vertical w/2 Group) OR
(Heather w/2 Jones) OR hljones* or vertgrp* OR *bbandtcm.com or
bbtcapitalmarkets.com or "BB&T Capital" OR "Morgan Stanley" or morganstanley* or
Colantuoni* OR "Credit Suisse" or ((bob OR Robert) w/2 Moskow) OR "Cleveland
Research" or OR "cleveland-research" or cmccracken* or (Christine w/2 McCracken) OR
"pork outlook" OR "outlook conference" or "pork conference" OR (Nielsen OR IRI OR
iriworldwide OR nielsen.com) AND (supply* OR Inventor* OR Pric*) OR "Urner Barry"
OR UrnerBarry* or Urner* or UB OR (BAIN OR Mckinsey OR Deloitte OR "hudson
river group" OR "charles river") AND (pork or swine or hog* or sow*)


pork OR hog* OR swine OR porcine OR pig* OR sow OR shoat* OR boar* OR
gilt OR bacon* OR sausage OR ham OR shoulder OR loin* OR backloin* OR tenderloin*
OR chop* OR hock* OR picnics OR butt OR butts OR rib OR ribs OR backrib* OR bellies
OR primal* OR “sub-primal” OR subprimal OR brisket OR jowl* OR lard OR herd OR drift
OR drove OR litter* OR passel OR sounder OR singular
pric* OR demand OR suppl* OR head OR kill* OR cut* OR tight* OR capacity OR
market* OR industry OR compet* OR slaughter OR quantity OR courage* OR disciplin*
OR coordinat* OR produc* OR inventor* OR cost* OR rational* OR irrational* OR
benchmark OR index OR indic* OR share OR monitor* OR manual OR lead* OR
intelligence OR deanonym* OR anonym* OR "de-anonymize" OR "de-anonymization"

constrain* OR restrain* OR increas* OR expand* OR grow* OR grew* OR spik* OR
climb* OR increment* OR fluctuat* OR decreas* OR shrink* OR reduc* OR restrict* OR
reced* OR recession* OR slow* OR drop* OR dips* OR fall* OR chang* OR adjust* OR
modif* OR add* OR subtract* OR amend* OR revis* OR rework* OR refin* OR alter OR
chang* OR adjust* OR modif* OR decrease* OR lower* OR raise*

 export* OR "relief valve" OR dump OR foreign OR territor* OR international OR
import*




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Civil investigative demand OR CID or "Department of Justice" OR USDOJ OR DOJ OR
"Federal Trade Commission" OR FTC OR "the feds" OR *doj.gov OR "Securities Exchange
Commission" OR *sec.gov OR antitrust OR “anti-trust” OR “anti trust” OR collu* OR
cartel OR "anticartel" OR "Sherman Act" OR monop* OR "anti compet*" OR conspir* OR
"unfair competition"
do not forward or "don't forward" or "dont forward" or "do not circulate" or "don't
circulate" or "dont circulate" or "do not distribute" or "don't distribute" or "dont
distribute" or "destroy after reading" or "read and delete" or "delete after reading" or
"do not save" or "do not share" or "don't share" or "dont share" or "handle with care"
or discretion or evidence or "paper trail" or papertrail or "call me" or "not over email"
or "not over email" or "against the law" or laws or illegal or "not legal" or "in person" or
"fill you in" or "keep to yourself or "keep to your self" or "keep confidential" or
"downlow" or "down low" or "down-low" or "close to the vest" or "do not tell" or
"don't tell" or "dont tell" or CYA or "cover your ass" or "go to jail" or stripes or sensitive
or confidential or paranoi* or "someone is talking" or "wrong message" or "wrong
signal" or rumor or rumour or "our friend" or "our friends" or "your friend" or "your
friends" or
tour or swap OR "co pack*" OR "co-pack*" OR copack* OR due-diligence OR "M&A" OR
"spin off " OR "spun off" OR "joint venture" OR "joint ventures"
"pass through" "pass-through" or "pass thru" or "pass along" or "pass-along" or "pass
on" or distribut* OR channel* OR ship* OR truck* OR freight* OR retail* OR
wholesale* OR MSRP OR FS OR foodserv! OR "food serv*” OR supermarket* or "super
market" or "super markets" or grocery or customer* or consumer*
warehous*
"21st century club"
"21st century group"
"apple cart"
"back off"
"bacon report"
"Big Stone Marketing"
"blue book"
"cost plus"
"cut out"
"difficult times"
disappearance
"Econ 101"
"green book"
"hold the line"
"Joe Christiana Foods"
"john gross"
"lifts all boats"
"madison project"
"mandatory price report"
"national average"
"new entry"
"operations planning"
"our fair share"


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"our part"
"our share"
"parts of whole"
"pay grade"
"prop up"
"pull back"
"quid pro quo"
"red book"
"reliable source"
"rising tide"
"rock da boat"
"rock the boat"
"senior mgmt"
"senior mgt"
"sold out"
"Stein Incident"
"target list"
"top 25"
"under pressure"
"USDA mandatory"
"weather the storm"
"weathering the storm"
"worst performing"
"yellow book"
“Olean Wholesale"
“operating efficiency”
“powers that be"
“push back"
“rough shape"
“Senior management"
“swine sales analysis"
*agstar.com
*bigstonemarketing.com
*ferraro.com
*ferrarofoods.com
*ferrarofoods.net
*jgrossco.com
*mcvean.com
*meatfyi.com
*metafarms.com
*oleanwholesale.com
*reicksview.com
acquir*
action
adjust*
advantage
advertis*


560617                                                          Text Message Search Terms
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                                  Pork Antitrust Litigation

agreement
alternativ*
analy*
announcement*
approv*
asset*
authorit*
availab*
balanc*
barrier*
behav*
bid*
bottom
bought*
brand*
"break even"
breakeven
budget*
buil*
bulletin*
buy*
capacit*
challenge*
charg*
cheap
collectively
command*
complain*
complex
component
consolid*
construction
contract*
control*
cost-plus
credit*
crosswalk
curv*
customer*
cut-out
cutout
cycle
data
de-pop*
decision
delay
depop*


560617                                                          Text Message Search Terms
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direct*
disadvantage
discount*
Divest*
drive*
econom*
efficien*
elasticit*
elimin*
entrant*
ES&OP
ESOP
estimate*
excess
expand*
expansion
expensive
facilit*
farm*
ferraro*
financ*
fixed
flat
floor
focus
follow*
forecast*
formula*
friend*
future*
graph*
grow*
guid*
guideline*
harvest*
hedg*
idl*
imbalance*
inelastic*
internal
jgrossco
label*
landscape
letter*
liquidat*
loss*
mafia


560617                                                          Text Message Search Terms
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                                  Pork Antitrust Litigation

manipulat*
mapleview*
margin*
"mark up"
mark-up
mark.greenwood*
markup
match*
matrix
mcvean
meat
Metafarms
method*
metric
metrix
mill*
mothball*
offset
operating
operation*
opportunit*
order*
outlook*
P&L
participant*
paygrade
plan
plant*
PnL
polic*
practice*
priorit*
problem*
procedur*
process*
profit*
program*
project*
protein
protocol*
pull-back
pullback
purchas*
pushback
quot*
rank*
ratchet


560617                                                          Text Message Search Terms
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react*
rebate*
reduc*
reference*
region*
reicksview
report*
request*
resale*
resell*
respect*
restrain*
retire
return*
revenue*
review
Robert.A.Brown@cox.net
RTC
rumor*
S&OP
sale*
Sell*
sensitiv*
shape
share
sheet*
shelf
shift
shut*
situation
smeyer*
sold-out
soldout
SOP
standard*
strategy
strength
studies
study
substitut*
surcharg*
surcharge*
surplus
sustain*
swap*
target*
term*


560617                                                          Text Message Search Terms
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territor*
together
track*
trade*
trading
transfer*
tray
trend*
turbulen*
upcharg*
utlilization
variable
varian*
volume*
weight
whisper*
withdraw*
yield*
"brown book"
"brown profit book"




560617                                                          Text Message Search Terms
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                     EXHIBIT 17
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Corwyn Bollum, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: May 27, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: April 27, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                  TO CORWYN BOLLUM

           Pursuant to the foregoing subpoena duces tecum, Corwyn Bollum is required to produce,

by the date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.

           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST NO. 7: If any text messages requested in Request No. 1 above have been

deleted or otherwise lost since June 29, 2018, then produce all documents relating to the

circumstances surrounding such deletion or loss.




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                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 321 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Paul Peil, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: May 27 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: April 27, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 322 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 323 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                      TO PAUL PEIL

           Pursuant to the foregoing subpoena duces tecum, Paul Peil is required to produce, by the

date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.

           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 331 of 639




           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 332 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Donald Temperley, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: May 31, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 3, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 334 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                TO DONALD TEMPERLEY

           Pursuant to the foregoing subpoena duces tecum, Donald Temperley is required to produce,

by the date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Jessica Chenoweth, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: May 31, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 3, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 345 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                TO JESSICA CHENOWETH

           Pursuant to the foregoing subpoena duces tecum, Jessica Chenoweth is required to produce,

by the date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Lance Hoefflin, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: May 31, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 3, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                  TO LANCE HOEFFLIN

           Pursuant to the foregoing subpoena duces tecum, Lance Hoefflin is required to produce, by

the date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Paul Bogle, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: May 31, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 3, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                     TO PAUL BOGLE

           Pursuant to the foregoing subpoena duces tecum, Paul Bogle is required to produce, by the

date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Steven Binder, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                   TO STEVEN BINDER

           Pursuant to the foregoing subpoena duces tecum, Steven Binder is required to produce, by

the date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 383 of 639




                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Alan Meiergerd, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 388 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 389 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                  TO ALAN MEIERGERD

           Pursuant to the foregoing subpoena duces tecum, Alan Meiergerd is required to produce,

by the date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 398 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Albert Lieberum Jr., Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                          SCHEDULE A

                        PLAINTIFFS’ REQUESTS FOR PRODUCTION
                              TO ALBERT LIEBERUM, JR.

           Pursuant to the foregoing subpoena duces tecum, Albert Lieberum, Jr. is required to

produce, by the date stated on the subpoena, the documents requested herein.

                                         INSTRUCTIONS

           1.    Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.    Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.    The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                          DEFINITIONS

           1.    “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.    “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Bryan Farnsworth, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                TO BRYAN FARNSWORTH

           Pursuant to the foregoing subpoena duces tecum, Bryan Farnsworth is required to produce,

by the date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Eric Steinbach, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                  TO ERIC STEINBACH

           Pursuant to the foregoing subpoena duces tecum, Eric Steinbach is required to produce, by

the date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Glenn Leitch, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                   TO GLENN LEITCH

           Pursuant to the foregoing subpoena duces tecum, Glenn Leitch is required to produce, by

the date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


559433.1                                               5
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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 440 of 639




           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 441 of 639




           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Holly LaVallie, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 443 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 444 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                  TO HOLLY LAVALLIE

           Pursuant to the foregoing subpoena duces tecum, Holly LaVillie is required to produce, by

the date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 449 of 639




                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 452 of 639




           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 453 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      James Fiala, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 454 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                            SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                     TO JAMES FIALA

           Pursuant to the foregoing subpoena duces tecum, James Fiala is required to produce, by the

date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      James Snee, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                     TO JAMES SNEE

           Pursuant to the foregoing subpoena duces tecum, James Snee is required to produce, by the

date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Jana Haynes, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                    TO JANA HAYNES

           Pursuant to the foregoing subpoena duces tecum, Jana Haynes is required to produce, by

the date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Jeffrey Ettinger, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                 TO JEFFREY ETTINGER

           Pursuant to the foregoing subpoena duces tecum, Jeffrey Ettinger is required to produce,

by the date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Jennifer Johnson, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                 TO JENNIFER JOHNSON

           Pursuant to the foregoing subpoena duces tecum, Jennifer Johnson is required to produce,

by the date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 507 of 639




           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 508 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Jerry Adwell, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 509 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 510 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                   TO JERRY ADWELL

           Pursuant to the foregoing subpoena duces tecum, Jerry Adwell is required to produce, by

the date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 517 of 639




           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




559412.1                                          7
      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 518 of 639




           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 519 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Jesse Hyland, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 520 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                   TO JESSE HYLAND

           Pursuant to the foregoing subpoena duces tecum, Jesse Hyland is required to produce, by

the date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Jim Sheehan, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                    TO JIM SHEEHAN

           Pursuant to the foregoing subpoena duces tecum, Jim Sheehan is required to produce, by

the date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Jody Feragen, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 543 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                   TO JODY FERAGEN

           Pursuant to the foregoing subpoena duces tecum, Jody Feragen is required to produce, by

the date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Jose Rojas, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                     TO JOSE ROJAS

           Pursuant to the foregoing subpoena duces tecum, Jose Rojas is required to produce, by the

date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Mark Coffey, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                   TO MARK COFFEY

           Pursuant to the foregoing subpoena duces tecum, Mark Coffey is required to produce, by

the date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 571 of 639




           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




559429.1                                         8
                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 574 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Michael Gyarmarty, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 575 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 576 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                          SCHEDULE A

                        PLAINTIFFS’ REQUESTS FOR PRODUCTION
                              TO MICHAEL GYARMARTY

           Pursuant to the foregoing subpoena duces tecum, Michael Gyarmarty is required to

produce, by the date stated on the subpoena, the documents requested herein.

                                         INSTRUCTIONS

           1.    Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.    Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.    The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                          DEFINITIONS

           1.    “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.    “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 585 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Nathan Annis, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                   TO NATHAN ANNIS

           Pursuant to the foregoing subpoena duces tecum, Nathan Annis is required to produce, by

the date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Neal Hull, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                      TO NEAL HULL

           Pursuant to the foregoing subpoena duces tecum, Neal Hull is required to produce, by the

date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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      CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 606 of 639




           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Steven Venenga, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
                  CASE 0:18-cv-01776-JRT-JFD Doc. 888-2 Filed 08/18/21 Page 609 of 639
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                  TO STEVEN VENENGA

           Pursuant to the foregoing subpoena duces tecum, Steven Venenga is required to produce,

by the date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      Thomas Day, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                    TO THOMAS DAY

           Pursuant to the foregoing subpoena duces tecum, Thomas Day is required to produce, by

the date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


559417.1                                               5
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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Minnesota

                                                                                      )
IN RE PORK ANTITRUST                                                                  )         Civil Action No. 0:18-CV-01776-JRT-HB
LITIGATION                                                                            )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:      William Snyder, Hormel Foods, 1 Hormel Place, Austin, MN 55912
          (Name of person to whom this subpoena is directed)


               Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
following documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material: As described in the attached Schedule A.



 Place: Lockridge Grindal Nauen P.L.L.P.                                                  Date and Time: June 24, 2021, 9:00 a.m.
        100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401

                Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land,
or other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting
party may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                   Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: May 25, 2021
                                    CLERK OF COURT
                                                                                             OR

                                                                                                s/ Brian D. Clark
                                       Signature of Clerk or Deputy Clerk                                             Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Class Plaintiffs, who
issues or requests this subpoena, are:
Brian D. Clark, Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200 Minneapolis, MN 55401
(612) 339-6900 bdclark@locklaw.com


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:16-CV-08637-TMD

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                                             .


                    I served the subpoena by delivering a copy to the named person as follows:

                     I returned the subpoena unexecuted because:



             Unless the subpoena was issued on behalf of the United State, or one of its officers or agents, I have also tendered
             to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                               for services, for a total of $            .


             I declare under penalty of perjury that this information is true.


Date:
                                                                                                    signature



                                                                                                  Server’sPrinted name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                            (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed,                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
 or regularly transacts business in person; or                                    modifying a subpoena, order appearance or production under
   (B) within the state where the person resides, is employed, or                 specified conditions if the serving party:
 regularly transacts business in person, if the person                                  (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                    be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur                          (ii) ensures that the subpoenaed person will be reasonably compensated.
 substantial expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides,         procedures apply to producing documents or electronically stored
 is employed, or regularly transacts business in person; and                      information:
    (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or must
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                      organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form.
 enforce this duty and impose an appropriate sanction—which may include           The person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who          information in more than one form.
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place        reasonably accessible because of undue burden or cost. If that showing is
 of production or inspection unless also commanded to appear for a                made, the court may nonetheless order discovery from such sources if the
 deposition, hearing, or trial.                                                   requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or          (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to         (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-
 The objection must be served before the earlier of the time specified for        preparation material must:
 compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
 the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications,
       (i) At any time, on notice to the commanded person, the serving            or tangible things in a manner that, without revealing information itself
 party may move the court for the district where compliance is required for       privileged or protected, will enable the parties to assess the claim.
 an order compelling production or inspection.                                    (B) Information Produced. If information produced in response to a
       (ii) These acts may be required only as directed in the order, and         subpoena is subject to a claim of privilege or of protection as trial-
 the order must protect a person who is neither a party nor a party’s officer     preparation material, the person making the claim may notify any party that
 from significant expense resulting from compliance.                              received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                     information if the party disclosed it before being notified; and may
       (i) fails to allow a reasonable time to comply;                            promptly present the information under seal to the court for the district
       (ii) requires a person to comply beyond the geographical                   where compliance is required for a determination of the claim. The person
 limits specified in Rule 45(c);                                                  who produced the information must preserve the information until the
       (iii) requires disclosure of privileged or other protected matter, if      claim is resolved.
 no exception or waiver applies; or
       (iv) subjects a person to undue burden.                                    (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may,           motion is transferred, the issuing court—may hold in contempt a person
 on motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
 development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                         PLAINTIFFS’ REQUESTS FOR PRODUCTION
                                  TO WILLIAM SNYDER

           Pursuant to the foregoing subpoena duces tecum, William Snyder is required to produce,

by the date stated on the subpoena, the documents requested herein.

                                          INSTRUCTIONS

           1.     Counsel for Direct Purchaser Plaintiffs, Commercial and Institutional Indirect

Purchaser Plaintiffs, End-User Consumer Plaintiffs, and the Commonwealth of Puerto Rico

(“Plaintiffs”) will discuss with you the format and manner in which electronic and paper

documents shall be produced. Unless otherwise agreed, all documents shall be provided in

compliance with all provisions of the ESI Protocol Order in place for this matter (Dkt. No. 292,

attached). However, Plaintiffs are willing to receive native productions of documents from You

and Bates number those documents on Your behalf to minimize the burden and expense associated

with processing and labeling the documents.

           2.     Pursuant to Section II.J of the November 26, 2018, Protective Order (Dkt. No. 212,

attached), You are entitled to the protections of the Protective Order as a third party receiving a

subpoena in this matter.

           3.     The Relevant Time Period for each request below is January 1, 2008 through

August 17, 2018, unless otherwise noted.

                                           DEFINITIONS

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Communication” or “Communicated means, without limitation, any exchange of

thoughts, messages, or information, as by speech, signals, writing, or behavior, including but not



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limited to, any advice, advisement, announcement, articulation, assertion, contact, conversation,

written or electronic correspondence, declaration, discussion, dissemination, elucidation,

expression, interchange, memoranda, notes publication, reception, revelation, talk, transfer,

transmission, or utterance. The phrase “communication between” is defined to include instances

where one party addresses the other party but the other party does not necessarily respond.

           3.   “Competitive Conditions” means Pork costs, pricing, production/output, capacity,

sales, demand, supply, imports, exports, or market shares.

           4.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments, divisions,

joint ventures, other affiliates and any organization or entity managed or controlled by a named

Defendant, including those merged with or acquired, together with all present and former directors,

officers employees, agents, attorneys, representatives or any persons acting or purporting to act on

behalf of a Defendant. The currently named Defendants in this litigation are Agri Stats, Inc. (“Agri

Stats”), Clemens Food Group, LLC, The Clemens Family Corporation (“Clemens”), Hormel

Foods Corporation, Hormel Foods, LLC (“Hormel”), JBS USA Food Company (“JBS” or “JBS

USA”), Seaboard Foods LLC, Seaboard Corporation (“Seaboard”), Smithfield Foods, Inc.

(“Smithfield”), Triumph Foods, LLC (“Triumph”), Tyson Foods, Inc., Tyson Prepared Foods, Inc.,

and Tyson Fresh Meats, Inc. (“Tyson”).

           5.   “Document” shall have the same meaning as used in Rule 34 of the Federal Rules

of Civil Procedure, and shall be construed in its broadest sense to include, without limitation, the

final form and all drafts and revisions of any paper or other substance or thing, original or

reproduced, and all copies thereof that are different in any way from the original, on which any




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words, letters, numbers, symbols, pictures, graphics, or any other form of information is written,

typed, printed, inscribed, or otherwise visibly shown, and also every other form of stored or

recorded information, whether on film, tape, disks, cards, computer memories, or any other

medium and/or device whereby stored information can, by any means whatsoever, be printed or

otherwise recovered, generated or displayed in the form of visible, audible, or otherwise

perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and not to limit)

the breadth of this definition, “document” in this sense papers or objects bearing handwritten notes,

material written in Braille, contracts, letters, bills, telegrams, notes, e-mail, voice mail, books, desk

calendars, memoranda, envelopes, drafts or partial copies of anything, signs, photographic

negatives and prints, video and audio recordings of all kinds and the contents of storage media

used in data-processing systems. Each and every draft of a document is a separate document for

purposes of these document requests.

           6.     “Identity” or “identify” means:

                          a.      when used with reference to a natural person, to state his or her full

           name, and if known, his or her present home address, present business address, present

           home and business telephone numbers, present or last known position and business

           affiliation and contact information; and

                          b.      when used in reference to any entity, such as a partnership, joint

           venture, trust or corporation, to state the full legal name of such entity, each name under

           which such entity does business, the entity’s street address, the entity’s telephone number,

           the identity of the chief operating officer, manager, trustee or other principal representative

           and the identity of those persons employed by or otherwise acting for such entity who are




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           known or are believed to possess the knowledge or information responsive to the document

           request and for which the entity was identified.

           7.       “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on computers,

file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non-limiting

examples of ESI include:

                   Digital communications (e.g., email, phone calls and logs of phone calls, voice
                    mail, text messaging, instant messaging, and ephemeral messaging (Snap Chat,
                    Confide, Signal, etc.);

                   Email Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange.EDB);

                   Word processing documents (e.g., MS Word or WordPerfect files and drafts);

                   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

                   Accounting Application Data (e.g., Quickbooks, Money, Peachtree data);

                   Image and Fascimile Files (e.g., PDF, .TIFF, .JPG, .GIF images);

                   Sound recordings (e.g., .WAV and .MP3 files);

                   Video and Animation (e.g., AVI and .MOV files);

                   Unstructured Data;

                   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);

                   Contact and Relationship Management Data (e.g., Outlook, ACT!);

                   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);

                   Online Access Data (e.g., Temporary Internet Files, History, Cookies)

                   Presentations (e.g., PowerPoint, Corel Presentations);

                   Network Access and Server Activity Logs;

                   Project Management Application Data;



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                    Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                     content);

                    Cloud based or other virtualized ESI, including application, infrastructure and data.


           8.        “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           9.        “Including” is used to emphasize certain types of Documents requested and should

not be construed as limiting the request in any way. Including therefore means “including, but not

limited to,” or “including without limitation.”

           10.       “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic, computer-

assisted, digital, analog, video or telephonic method of communication) of two or more persons

for any purpose, whether planned or arranged, scheduled or not.

           11.       “Person” means, without any limitation, any individual, corporation, partnership

or any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or business

existing under the laws of the United States, any state, or any foreign country.

           12.       “Policy” or “Procedure” means any rule, practice, or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           13.       “Pork” and “Swine” have the same meaning as the definition in ¶ 2, n.2 of Direct

Purchaser Plaintiffs’ Third Amended and Consolidated Complaint (ECF No. 431), which states:


           For the purposes of this complaint, “pork” includes pig meat purchased fresh or
           frozen, smoked ham, sausage, and bacon. From time to time in this complaint,


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           “pork” and “swine” are used interchangeably, particularly when referring to the
           pork or swine industry.

           14.    “Pork Integrator” means any Defendant (see above) and any non-Defendant entity,

including but not limited to: Abbyland Foods, Inc.; ALL Holding Co., LLC; Allied Producers

Cooperative; Applegate Farms, LLC; BEF Foods, Inc. (a Post Holdings Co.); Boar’s Head;

Butterball, LLC (Gusto Packing Co.); Carthage System; Cargill Pork, LLC; Christensen Farms;

Clougherty Packing LLC; Conestoga Meat Packers; Eichelberger Farms; Farmington Foods;

Fisher Ham and Meat Co.; Golden State Foods; Godshall’s Quality Meats; Granjas Carroll de

Mexico; Greenwood Packing; Hanor; Holden Farms; HyLife; Indiana Packers Corporation; Iowa

Select Farms; J.H. Routh Packing Co.; Johnsonville Sausage; Kayem Foods; Kekén; La Coop

Fédérée (Olymel); Maple Leaf Agri-Farms (Maple Leaf Foods); Maxwell Foods; New Fashion

Pork; OSI Group; Perdue Farms; Pillen Family Farms; Pine Ridge Farms; Pipestone System; Pork

King Packing; Premium Iowa Pork; Prestage Farms; Proteina Animal (PROAN); ProVista

Agriculture; Rantoul Foods; Rose Packing; Sara Lee; Schwartz Farms; Sierra Meat and Seafood;

Sioux-Preme Packing; Specialty Foods Group; SuKarne; Swaggerty Farm; Swift Pork Co. (part of

Swift & Company); Swine Graphics Enterprises; Texas Farm LLC; The Maschhoffs; Trim-Rite

Food Corp. (part of Rantoul Foods); TriOak Foods; Wakefield Pork; Williams Sausage; and

Wolverine Packing Co.


           15.    “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or otherwise

involving, in whole or in part, directly indirectly. Documents are considered relating to the subject

matter whether they are viewed alone or in combination with other Documents.




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           16.    “Representative” shall mean any and all agents, employees, servants, consultants,

officers, directors, or other persons authorized to act on Your behalf.

           17.    “Structured Data” or “Structured Database” refers to data stored in a fixed field

within a database or other structured record or file according to specific form and content rules as

defined by each field.

           18.    “Unstructured data” is data that does not conform to a specific, pre-defined data

model; it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but are not limited to, word processing documents,

emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           19.    All other words have their plain and ordinary meaning.

                                        DOCUMENT REQUESTS

           REQUEST 1: Produce a copy of each Text Message that you sent or received during the

Relevant Time Period with an Employee or Representative of a Pork Integrator, or any other

individual with whom you communicated about supply and demand conditions in the Pork

industry.


           REQUEST 2: Produce a copy of each contact (e.g., the contact “card”) on your cellphone

who is or was an Employee or Representative of a Pork Integrator, or any other individual with

whom you communicated about supply and demand conditions in the Pork industry.


           REQUEST 3: Documents sufficient to show a list of the installed communications-related

applications on Your cellphone, including ephemeral messaging applications (e.g., SnapChat,

Confide, and Signal), Facebook Messenger, and other such applications.




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           REQUEST 4: Documents sufficient to show any steps you took to preserve data on Your

cellphone(s) since the filing of this lawsuit on June 29, 2018.

           REQUEST 5: Documents sufficient to show, and provide access to the forensic vendor

for collection purposes, the location, date, and scope of any archived copies of your cellphone data,

such as iTunes archives or iCloud archives.

           REQUEST 6: Documents sufficient to show the type of cellphone, including brand and

model number, of each cellphone you used from during the Relevant Time Period.

           REQUEST 7: If any text messages requested in Request No. 1 above have been deleted

or otherwise lost since June 29, 2018, then produce all documents relating to the circumstances

surrounding such deletion or loss.




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